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                 Exhibit 5
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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE

                                                     )
IN RE WASHINGTON MUTUAL, INC.                        )   No. 2:08-md-1919 MJP
SECURITIES LITIGATION                                )   Lead Case No. C08-387 MJP
                                                     )
This Document Relates to: ALL CASES                  )
                                                     )


                             DECLARATION OF CHAD COFFMAN

         CHAD COFFMAN declares as follows:

                        I.    QUALIFICATIONS AND BACKGROUND

         1.      I am the President of Global Economics Group, a Chicago-based firm that

specializes in the application of economics, finance, statistics, and valuation principles to

questions that arise in a variety of contexts, including, as here, in the context of litigation. I hold

a Bachelor’s Degree in Economics with Honors from Knox College and a Master’s in Public

Policy from the University of Chicago. I am also a CFA charter-holder. The CFA, or Chartered

Financial Analyst, designation is awarded to those who have sufficient practical experience and

complete a rigorous series of three exams over three years that cover a wide variety of financial

topics including financial statement analysis and valuation.

         2.      I, along with several others, founded Global Economics Group in March 2008.1

Prior to starting Global Economics Group, I was employed by Chicago Partners for over twelve

years where I was responsible for conducting and managing analysis in a wide variety of areas

including securities valuation and damages, labor discrimination and antitrust. I have been

engaged numerous times as a valuation expert both within and outside the litigation context. My


1
    Global Economics Group was formerly known as Winnemac Consulting, LLC.
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experience in class action securities cases includes work for plaintiffs, defendants, D&O insurers

and a prominent mediator (Retired Judge Daniel Weinstein) to provide economic analysis and

opinions in dozens of securities class actions as well as other matters. As a result of my

involvement in these cases, much of my career has been spent analyzing and making inferences

about how quickly and reliably, and to what degree, new information impacts securities prices.

       3.      My qualifications are further detailed in my curriculum vitae, which is attached as

Appendix A.

                                II.     SCOPE OF ASSIGNMENT

       4.      I have been retained by Lead Counsel for Plaintiffs to consult on a variety of

questions in this case. I filed a declaration regarding loss causation that was incorporated in the

Consolidated Class Action Complaint dated August 5, 2008 and the Amended Consolidated

Class Action Complaint dated June 15, 2009. In connection with Lead Plaintiff’s motion for

class certification, I filed an initial report and rebuttal report opining on the market efficiency of

certain WaMu securities, including WaMu Common Stock. I was also asked in the context of the

mediations of this Action to consider potential approaches to per share and aggregate damages.

       5.      After the parties reached the proposed settlements, I was asked by counsel for the

Lead Plaintiff to assist with the design of the plan to allocate the settlement proceeds (the “Plan

of Allocation”) among Class Members who submit valid Proof of Claim forms that are approved

for payment by the Court (“Authorized Claimants”). In my opinion, based on my understanding

of the alleged wrongdoing in this matter and the analyses I have undertaken, the proposed Plan

of Allocation is fair and reasonable.




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              III.   DESCRIPTION OF CLAIMS AND WAMU SECURITIES

        6.      Plaintiffs assert two different sets of claims against defendants: (1) claims for

violations of the Securities Exchange Act of 1934 (the “Exchange Act”), including Section

10(b) of the Exchange Act; and (2) claims for violations of the Securities Act of 1933 (the

“Securities Act”), including Section 11 of the Securities Act.

       7.       Eligible Securities with claims for violations of the Exchange Act (“Section 10(b)

Securities”) are as follows:

       i.       WaMu common stock listed and traded on the New York Stock Exchange

       (“NYSE”) during the Class Period under the ticker “WMI” (CUSIP 939322103); and

       ii.      Capital Trust Unit Preferred Washington Mutual Capital Trust 2001’s 5.375%

       Trust Preferred Income Equity Redeemable Securities (PIERS) Units, maturing July 1,

       2041 (CUSIP 939322848).

The Section 10(b) claims are based on the purchase or acquisition of Section 10(b) Securities

from October 19, 2005 to July 23, 2008 (the “Class Period”).

        8.      Eligible Securities with claims for violations of the Securities Act (“Section 11

Securities”) are as follows:

       i.       Floating Rate Notes Floating Rate Notes due August 24, 2009, offered in August

       2006 (CUSIP 939322AW3);

       ii.      7.250% Notes 7.250% Subordinated Notes due November 1, 2017, offered in

       October 2007 (CUSIP 939322AY9); and

       iii.     Series R Stock 7.75% Series R Non-Cumulative Perpetual Convertible Preferred

       Stock, offered in December 2007 (CUSIP 939322814).




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    The Section 11 claims are based on the purchase or acquisition of Section 11 Securities from

    time they were first offered through the time the first suit was brought with respect to each

    security.2

    IV.    SUMMARY OF PLAINTIFFS’ EXCHANGE ACT (SECTION 10(b)) CLAIMS,
             ALLEGED MISREPRESENTATIONS AND OMISSIONS DURING THE
             CLASS PERIOD, AND SECURITY PRICE REACTIONS TO ALLEGED
                              PARTIAL DISCLOSURES

           9.     The objective of the Plan of Allocation with respect to the Exchange Act claims is

to equitably distribute the settlement proceeds to those Class Members who suffered economic

losses as a result of the alleged fraud. Plaintiffs allege, in general, that throughout the Class

Period (October 19, 2005 up until July 23, 2008), WaMu engaged in four related types of

improper activity: (1) secret efforts to decrease the efficacy of WaMu’s risk management

policies; (2) corruption of WaMu’s appraisal process; (3) abandonment of appropriate

underwriting standards for WaMu loans; and (4) misrepresentation of WaMu’s financial results.3

           10.    In order to have recoverable damages on Exchange Act claims, disclosures

revealing the truth about alleged misrepresentations and omissions must be the cause (at least in

part) of the decline in the price of the security. A technique often relied upon by academics, both

inside and outside of the context of litigation to establish a causal connection between new

company-specific news events and movements in the market price is called the “event study.”

An event study is a well-accepted statistical method utilized to isolate the impact of information




2
 The Series R Stock was offered on December 12, 2007 with a date of suit of August 5, 2008; the
Floating Rate Notes were offered on August 21, 2006 with a date of suit of May 13, 2008; and the
7.250% Notes were offered on October 25, 2007 with a date of suit of May 13, 2008.
3
    Amended Consolidated Class Action Complaint (“Amended Complaint”) at ¶ 1.


                                                    4
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on market prices.4 Event studies have now been used for over 30 years and appear in hundreds, if

not thousands, of academic articles as scientific evidence in evaluating how new information

affects securities prices.5 I performed an event study in my market efficiency report to isolate the

impact of WaMu specific news on the price movement of its securities. I continued to rely on

this model to reasonably determine, under the assumption that plaintiffs would be able to

establish liability, the amount of artificial inflation and damages for the relevant WaMu

securities.6

          11.     Plaintiffs allege a number of partial disclosures that incrementally revealed the

hidden truth regarding the alleged misconduct. In the context of my work in this case, and as a

result of discussions with counsel, I identified six events which were arguably corrective and had

corresponding declines in price that were statistically significant according to my event study.

Each of these dates is detailed below. On most of these dates, there was additional news that was

arguably either unrelated to the alleged misconduct or was a timely disclosure of WaMu’s

condition. In the creation of the Plan of Allocation, I considered the overall movement of the

market on each date, the nature of the news released to the market on each date, as well as both

Defendants’ and Plaintiffs’ arguments with respect to the corrective nature of that news. As

explained below, I discounted the price decline as appropriate to take into account the results of

my analysis.

          12.     On October 17, 2007, after the close of trading, WaMu reported that its third-

quarter net income plummeted 72% resulting from an additional $967 million in loan loss
4
 David I. Tabak and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the Courtroom,”
Ch. 19, Litigation Services Handbook, The Role of the Financial Expert, Third Edition, 2001.
5
 John Binder, “The Event Study Methodology Since 1969,” Review of Quantitative Finance and
Accounting Vol. 11, 1998, pp. 111-137.
6
    My market efficiency report is attached as Appendix B.


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provisions.7 The Company also disclosed that, contrary to the “improved fourth quarter”

described in its prior October 5 press release, it in fact expected its loan loss provision to grow as

much as $1.3 billion in the fourth quarter of 2007.8 In response, on October 18, 2007, the prices

of WaMu Common Stock and Capital Trust Unit Preferred, after adjusting for market and

industry factors, declined by $1.86 per share and $1.82 per share, respectively. In my view, if

plaintiffs had prevailed on proving liability, at least a portion of the abnormal stock price decline

on this day would have been attributable to information in the announcement that was arguably

corrective.

          13.    On November 1, 2007, New York Attorney General (“NYAG”) Andrew Cuomo

filed a Complaint against First American and its eAppraiseIT unit alleging collusion with WaMu

to use a list of preferred appraisers to inflate mortgage appraisals.9 On November 2, 2007, after

WaMu’s appraisal fraud came partially to light through the NYAG Complaint, Keefe Bruyette &

Woods analyst Frederick Cannon questioned WaMu’s assertion that it had no incentive to inflate

appraisal values and stated that the NYAG Complaint “could create big problems” and “raises an

issue of considerable risk to Washington Mutual.” Among other things, the analysis underscored

the enormous significance of WaMu’s practice of inflating appraisals to its financial condition.10

On this same day, WaMu’s regulatory agency, the OTS, disclosed that it was “actively looking




7
 “WaMu Reports Third Quarter Earnings Per Share of $0.23; Declares Cash Dividend of 56 Cents,”
Business Wire, October 17, 2007, 16:05.
8
    “Q3 2007 Washington Mutual Earnings Conference Call – Final,” Voxant FD WIRE, October 17, 2007.
9
 “NY AG Sues First American, Unit In Mortgage Appraisal Probe,” Dow Jones News Service, November
1, 2007, 10:51.
10
  “UPDATE: Analyst Says WaMu Faces Taking Back Securitized Mortgages,” Dow Jones Business
News, November 2, 2007,15:09.


                                                  6
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into” the allegations of appraisal manipulation at WaMu.11 After careful consideration, I decided

to exclude November 1, 2007 as a partial disclosure date because the price movement of WaMu

Common Stock on that date was not statistically significant. However, in response to the partial

disclosure on November 2, 2007, WaMu Common Stock and Capital Trust Unit Preferred

declined by $1.32 per share and $0.35 per share, respectively, after accounting for market and

industry factors.

          14.    I anticipated that defendants would have vigorously objected to the

characterization of the events on either November 1, 2007 or November 2, 2007 as corrective.

The company did not explicitly admit to any wrongdoing or explicitly correct a previous

misstatement. Moreover, WaMu strongly denied any charges of wrongdoing. Nevertheless, if

plaintiffs had succeeded in establishing liability, it is my view that at least a portion of the

decline on November 2, 2007 would have been found to be corrective.

          15.    On November 7, 2007, New York Attorney General Cuomo announced the

expansion of his investigation into WaMu’s fraudulent appraisal practices to include examining

loans WaMu sold to Fannie Mae and Freddie Mac, and that he had subpoenaed Fannie and

Freddie to provide information regarding loans they had purchased from WaMu. WaMu also

announced that it expected the loan loss provision for first quarter 2008 to be similar or slightly

higher than the $1.1 to $1.3 billion range of the Company’s fourth quarter 2007 loan loss

provision.12 On the same day, WaMu announced it expected 2007 credit losses of between $2.7

billion to $2.9 billion because of its exposure to subprime and other risky credits. In response,

WaMu Common Stock and Capital Unit Trust Preferred declined by $2.28 per share and $1.12

11
  “WaMu accused of pushing appraisers to inflate values; Seattle lender disputes claims; New York
lawsuit targets appraisal firm; WaMu cuts ties,” Seattle Times, November 2, 2007.
12
     Amended Complaint at ¶¶ 565-66.


                                                   7
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per share, respectively, after accounting for market and industry factors. In my view, if plaintiffs

succeeded in establishing liability, at least a portion, of the decline observed on November 7,

2007 would have been found to be causally related to corrective information.

        16.     On December 10, 2007, after the close of trading, WaMu issued a press release

announcing, among other things, that it was: (i) reducing the quarterly dividend rate to $0.15 per

share from its most recent quarterly dividend rate of $0.56 per share; (ii) doing a major

“resizing” of its home loans business; and (iii) conducting a $2.5 billion offering of convertible

preferred stock.13 In response, on the next day, December 11, 2007, WaMu Common Stock

declined by $0.91 per share after accounting for market and industry factors. (The price of

Capital Trust Unit Preferred increased $1.03 per share after accounting for market and industry

factors.) In my view, if plaintiffs established liability for their claims, at least a portion of the

decline on this day would have been attributable to corrective information.

        17.     On December 21, 2007, before the open of the market, The Wall Street Journal

reported that the SEC had launched an inquiry into the Company’s mortgage lending practices on

whether “the company properly accounted for its loans in financial disclosures to investors of the

company.”14 In response, WaMu Common Stock and Capital Trust Unit Preferred declined by

$0.81 per share and $2.03 per share, respectively, after accounting for market and industry

factors. In my view, if plaintiffs were successful in establishing liability, this event would be

causally related to the wrongdoing. Unlike the other disclosures, which I believe were


13
  “WaMu to Raise $2.5 Billion in Additional Capital, Reduce Dividend, Resize Home Loans Business
and Cut Expenses to Fortify Capital Base; * Expects Net Loss for Fourth Quarter 2007 With Non-cash
Writedown of Home Loans Segment Goodwill * Non-cash Writedown Will Not Affect Key Capital
Ratios or Liquidity,” Business Wire, December 10, 2007, 16:04.
14
  “SEC Probes WaMu on Appraisals --- Regulator Checks Handling Of Loans Possibly Based On
Inflated Valuations,” The Wall Street Journal, December 21, 2007.


                                                   8
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confounded by earnings-related information that was arguably timely due to the credit crisis,

such confounding information was not present with respect to this disclosure. Instead, it was

specifically related to allegations the company engaged in accounting fraud. For this reason, I

believe the entire decline on this day would have been attributable to corrective information.

          18.    On March 7, 2008, The Wall Street Journal reported that WaMu was approaching

private-equity funds and other investors about possible cash infusions.15 On the same day,

Merrill Lynch stated in a report that it expected the Company to report losses of as much as

$11.2 billion through 2009.16 In response, WaMu Common Stock and Capital Trust Unit

Preferred declined by $1.19 per share and $1.84 per share, respectively, after accounting for

market and industry factors. In my view, if plaintiffs had established liability, at least a portion

of the price decline on this event would be attributed to the wrongdoing because the event moved

the market closer to an understanding of the firm’s true underlying financial condition.

          19.    On July 22, 2008, the Company issued the final disclosure of the Class Period.

On this day, after the close of trading, WaMu held a conference call announcing a second quarter

2008 net loss of $3.33 billion and that it had significantly increased its loan loss reserves by

$3.74 billion to $8.46 billion. WaMu also announced that it “significantly reduced our

production of new mortgages and tightened our underwriting standards against our loan

portfolio.”17 In response, on the next day, July 23, 2008, WaMu Common Stock and Capital

Trust Unit Preferred declined by $1.30 per share and $1.05 per share, respectively, after


15
  “Regulators Push the Banks --- Seek Outside Capital, Market Officials Urge, And WaMu Is Doing So,”
The Wall Street Journal, March 7, 2008.
16
     Amended Complaint at ¶ 596.
17
  “WaMu Reports Significant Build-Up of Reserves Contributing to Second Quarter Net Loss of $3.3
Billion; Company Increases Capital Levels Company Expects to Reduce Expenses by $1 billion,”
Business Wire, July 22, 2008, 16:11.


                                                  9
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accounting for market and industry factors. In my view, if plaintiffs had succeeded in

establishing liability, at least a portion of the abnormal stock price decline on this day would

have been attributable to corrective disclosures related to the alleged fraud.



 V.     PLAN OF ALLOCATION FOR EXCHANGE ACT CLAIMS — RECOGNIZED
                              LOSS AMOUNT

        20.     To share in the distribution of the Net Settlement Fund, an Authorized Claimant

must have purchased or otherwise acquired an eligible security during the Class Period, and must

have suffered a loss resulting from the alleged fraud on his/her/its investments in that security. A

“Recognized Loss Amount” will be calculated for each eligible purchase or acquisition of an

eligible security. The calculation of the Recognized Loss Amount will depend upon several

factors, including when and at what price the eligible security was purchased or otherwise

acquired, whether the security was sold, redeemed or otherwise disposed of, and if sold,

redeemed or otherwise disposed of, when and at what price such security was sold, redeemed or

otherwise disposed of. The fundamental economic principle applied is that the damages should

equal the level of artificial price inflation at time of purchase minus the artificial price inflation at

time of sale after adjusting for chances of success for each relevant disclosure.

        21.     The following Table A summarizes the abnormal price movements (i.e., price

movements after controlling for market and industry factors) of the relevant securities on each of

the partial disclosure dates as detailed above in Section IV:




                                                   10
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                                       Table A
                Abnormal Price Movement of WaMu Common Stock and
                             Capital Trust Unit Preferred
                                                                Capital Trust Unit
                         Date             Common Stock              Preferred
                  October 18, 2007             -$1.86*                 -$1.82*
                  November 2, 2007             -$1.32*                 -$0.35
                  November 7, 2007             -$2.28*                 -$1.12*
                 December 11, 2007             -$0.91*                  $1.03
                 December 21, 2007             -$0.81*                 -$2.03*
                    March 7, 2008              -$1.19*                 -$1.84*
                     July 23, 2008             -$1.30*                 -$1.05

                * indicates abnormal price movement is statistically significant.

       22.     The calculation of Recognized Loss Amounts for Section 10(b) Securities starts

from the change in security prices on the disclosure events described above. However, as

discussed above, with the exception of the disclosure on December 21, 2007, the other

disclosures contained both information that was allegedly corrective of past misstatements as

well as confounding information that affected the price of WaMu securities. Based on my work

in this matter, which included an analysis of both the general market and company-specific news

on each date, as well as conversations with counsel, I felt it was necessary, fair, equitable, and

appropriate to apply a probability to each event to reflect that the events had different relative

probabilities of success at trial. In my view, these probabilities reflect both: (1) the chance that

defendants would succeed in eliminating an event entirely despite a finding of liability; and (2)

the probability that only a portion of the price decline would be found related to corrective

information, rather than confounding timely information. Table B lists the adjusted abnormal

price movements on each of the partial disclosure dates, and Table C gives the resulting artificial

inflation in WaMu Common Stock and Capital Trust Unit Preferred during the Class Period:




                                                  11
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                                             Table B
        Abnormal Price Movement of WaMu Common Stock and Capital Trust Unit Preferred
                     After Accounting for Probability of Full Inclusion at Trial

                                                      Common Stock                 Capital Trust Unit Preferred

                           Estimated            Full               Adjusted                            Adjusted
                          Probability         Abnormal             Abnormal        Full Abnormal       Abnormal
                            of Full             Price                Price              Price            Price
        Date               Inclusion          Movement             Movement          Movement          Movement
October 18, 2007             50%                   -$1.86            -$0.93            -$1.82            -$0.91
November 2, 2007             25%                   -$1.32            -$0.33            -$0.35            -$0.09
November 7, 2007             75%                   -$2.28            -$1.71            -$1.12            -$0.84
December 11, 2007            50%                   -$0.91            -$0.45             $1.03            $0.52
December 21, 2007            100%                  -$0.81            -$0.81            -$2.03            -$2.03
March 7, 2008                50%                   -$1.19            -$0.60            -$1.84            -$0.92
July 23, 2008                75%                   -$1.30            -$0.97            -$1.05            -$0.79



                                                Table C
                WaMu Common Stock and Capital Trust Unit Preferred Estimated Artificial
                     Inflation Per Share After Adjusting for Probability of Success
                                                                                    Capital Trust Unit
                               Date                              Common Stock           Preferred
            October 19, 2005 to October 17, 2007                     $5.80                 $5.06
            October 18, 2007 to November 1, 2007                     $4.87                 $4.15
            November 2, 2007 to November 6, 2007                     $4.54                 $4.06
            November 7, 2007 to December 10, 2007                    $2.83                 $3.22
            December 11, 2007 to December 20, 2007                   $2.38                 $3.74
            December 21, 2007 to March 6, 2008                       $1.57                 $1.71
            March 7, 2008 to July 22, 2008                           $0.97                 $0.79
            July 23, 2008 Onwards                                    $0.00                 $0.00


                   23.   In addition, the calculation of Recognized Loss Amounts for Section 10(b)

          Securities incorporates the 90-day lookback provision of the Private Securities Litigation

          Reform Act of 1995 (“PSLRA”). The limitations on calculation of Recognized Loss Amounts

          imposed by the PSLRA are applied such that losses calculated based on inflation at purchase



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minus inflation at sale on shares purchased during the Class Period and sold after the 90-day

lookback period cannot exceed the difference between the purchase price paid and the average

price during the 90-day lookback period. Losses calculated based on inflation at purchase minus

inflation at sale on shares purchased during the Class Period and sold during the 90-day

lookback period cannot exceed the difference between the purchase price paid during the Class

Period and the rolling average of the closing stock prices during 90-lookback period as of the

date of sale.

        24.     A Recognized Loss Amount will be calculated for each eligible transaction a

Claimant submits, according to the formula set forth in the Plan of Allocation included in the

Notice. The full text of the calculations as they appear in the Plan of Allocation is set forth in

Appendix C. The sum of a Claimant’s Recognized Loss Amounts based on all of his, her or its

purchases or acquisitions of WaMu Common Stock and Capital Trust Unit Preferred during the

Class Period as calculated under the formula is the Claimant’s Exchange Act Loss. See Plan of

Allocation ¶ 57. A pro rata distribution of the Net Settlement Fund created by the D&O/WaMu

Settlement (the “Exchange Act Fund”) will be made to Authorized Claimants based on the

amount of their Exchange Act Losses. See Plan of Allocation ¶¶ 57, 59.



  VI.    SUMMARY OF PLAINTIFFS’ SECURITIES ACT (SECTION 11) CLAIMS
        AND ALLEGED MISREPRESENTATIONS AND OMISSIONS IN OFFERING
                               DOCUMENTS

        25.     In order to have recoverable damages on Securities Act claims, plaintiffs must

have purchased securities relying on misstatements and omissions in the Offering Documents of

the securities. The core allegations in the Securities Act claims focus on improper “lending

standards” and “appraisal and underwriting practices.” More specifically, plaintiffs allege that:



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(i) WaMu concealed “fraudulent” appraisal practices; (ii) WaMu “loosened” its underwriting and

risk management practices; (iii) the impact of these bad practices resulted in a deterioration of

WaMu’s overall credit risk and financial performance; and (iv) WaMu failed to account properly

for this deteriorating performance in its financial statements, and violated Generally Accepted

Accounting Principles (“GAAP”).

           26.     Section 11 of the Securities Act governs liability for false statements and

omissions in a registration statement. The statute defines the measure of damages as the:

                   difference between the amount paid for the security (not exceeding the
                   price at which the security was offered to the public) and (1) the value
                   thereof as of the time such suit was brought, or (2) the price at which such
                   security shall have been disposed of in the market before suit, or (3) the
                   price at which such security shall have been disposed of after suit but
                   before judgment if such damages shall be less than the damages
                   representing the difference between the amount paid for the security (not
                   exceeding the price at which the security was offered to the public) and
                   the value thereof as of the time such suit was brought…18

           27.     In other words, for each eligible security sold prior to date of suit, damages are

the difference between the amount paid for the security (not exceeding the price at which the

security was offered to the public) and the price at which the security was sold. For securities

sold after the date of suit, damages are the difference between the amount paid for the security

(not exceeding the price at which the security was offered to the public) and the higher of the

price at which the security was sold and the “value” of the security as of the date of suit.

           28.     The statute also allows defendants to offset some or all of the financial losses

under the statutory formula to the extent they can prove that the declines in value were not a

result of the alleged securities violations – or “negative causation.” The statute provides:



18
     Securities Act, Sec. 11(e).


                                                   14
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                   if the defendant proves that any portion or all of such damages represents
                   other than the depreciation in value of such security resulting from such
                   part of the registration statement, with respect to which his liability is
                   asserted, not being true or omitting to state a material fact required to be
                   stated therein or necessary to make the statements therein not misleading,
                   such portion of or all such damages shall not be recoverable.19

           29.     Though I expected defendants would have vigorously pursued negative causation

arguments, ultimately we expected it would be difficult to scientifically prove a substantial

portion of the price declines were totally unrelated to the allegations. In addition, at this stage of

the case, I was not aware of a specific model defendants were considering. Therefore,

assumptions as to the arguments defendants would make were speculative, and their probability

of effectiveness, were this case to go to trial, was not reasonably estimable. Moreover, unlike the

Exchange Act claims where the burden of proof rests with the plaintiffs, on the Securities Act

claims the burden rests with defendants to prove that the losses were not caused by the alleged

misrepresentations. Given these considerations and the fact that the Plan of Allocation is only

used to determine the relative position of Class Members for purposes of pro-rating and

allocating the proceeds available for these claims, I determined that no offset for negative

causation was necessary.20 As a result, I determined that the reasonable approach would be to

calculate Recognized Loss Amounts for the Section 11 Securities based on the statutory damage

calculation as defined by the Securities Act. The full text of these Recognized Loss calculations

as they appear in the Plan of Allocation is in Appendix C.




19
     Securities Act, Sec. 11(e).
20
 The use of the statutory damages formula without an adjustment for negative causation for Securities
Act claimants will not have any impact on the amounts available to Exchange Act claimants because I
understand the size of the Securities Act and Exchange Act funds are fixed dollar amounts and they will
be allocated separately.


                                                   15
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       30.     The sum of a Claimant’s Recognized Loss Amounts based on all of his, her or its

purchases or acquisitions of Series R Stock, Floating Rate Notes and 7.250% Notes during the

Class Period is the Claimant’s Securities Act Loss. See Plan of Allocation ¶ 57. The Net

Settlement Funds created by the Underwriters Settlement and Deloitte Settlements (the

“Securities Act Fund”) will be distributed to Authorized Claimants on a pro rata basis based on

the amount of their Securities Act Losses. See Plan of Allocation ¶ 59.



    VII.     THE PLAN OF ALLOCATION IS EQUITABLE AND REASONABLE

       31.     The Plan of Allocation, as described above, is a reasonable methodology for

calculating the Recognized Loss Amounts consistent with Lead Plaintiff’s allegations.

       32.     To the extent a Claimant had a market gain from his, her or its overall transactions

in WMI Class Securities during the Class Period, no loss is recognized under the Plan. Also,

should a Claimant have an actual market loss on the totality of his, her or its transactions in WMI

Class Securities during the Class Period which is less than his, her or its Recognized Claim (the

sum of all Recognized Loss Amounts for every eligible transaction they submit), the Recognized

Claim is limited to the amount of the actual loss and the Claimant’s Securities Act Loss and

Exchange Act Loss will be reduced proportionally. See Plan of Allocation ¶ 66.

       33.     The Plan of Allocation will appropriately distribute the settlement proceeds in

proportion to each Authorized Claimant’s Recognized Claim: “The Distribution Amount paid to

an Authorized Claimant will be the sum of (i) his, her or its pro rata share of the Exchange Act

Fund; and (ii) his, her or its pro rata share of the Securities Act Fund. If an Authorized

Claimant’s Distribution Amount calculates to less than $20.00, no distribution will be made to

that Authorized Claimant.” Plan of Allocation ¶ 61.



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       34.     The calculation of Recognized Loss Amounts in the Plan of Allocation is based

upon estimates for price inflation and damages that I calculated during the course of this

litigation and appropriately takes into account discounts based on the relative probability of

success. In my opinion, the Plan of Allocation treats Class Members who purchased securities at

different times within the Class Period, in an equitable manner, and thus, the Plan is equitable

and reasonable with respect to determining Recognized Loss Amounts. The Plan also treats

purchasers of the different types of securities (common stock, preferred stock, notes, and capital

trust unit preferred) equitably by tailoring the calculation of Recognized Loss Amounts to

correspond with differences in the claims and observed price reactions.

          I declare, under penalty of perjury under the laws of the United States, that the

foregoing facts are true and correct. Executed on September 25, 2011.




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             Appendix A
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                                    CHAD W. COFFMAN, CFA

Global Economics Group, LLC
140 South Dearborn Street, Suite 400
Chicago, IL 60603
Office:       (312) 470-6500
Mobile:       (815) 382-0092
Email:        ccoffman@globaleconomicsgroup.com


EMPLOYMENT:

      Global Economics Group, LLC
            President (2008 - Current)

             Global Economics Group specializes in the application of economics, finance, statistics,
             and valuation principles to questions that arise in a variety of contexts, including
             litigation and policy matters throughout the world. With offices in Chicago, Boston, San
             Francisco and Atlanta, Principals of Global Economics Group have extensive
             experience in high-profile securities, antitrust, labor, and intellectual property matters.

      Market Platform Dynamics, LLC
           Chief Financial Officer & Chief Operating Officer (2010 – Current)

             Market Platform Dynamics is a management consulting firm that specializes in assisting
             platform-based companies profit from industry disruption caused by the introduction of
             new technologies, new business models and/or new competitive threats. MPD’s experts
             include economists, econometricians, product development specialists, strategic
             marketers and recognized thought leaders who apply cutting-edge research to the
             practical problems of building and running a profitable business.

      Chicago Partners, LLC
            Principal (2007 – 2008)
            Vice President (2003 – 2007)
            Director (2000 – 2003)
            Senior Associate (1999 – 2000)
            Associate (1997 – 1999)
            Research Analyst (1995 – 1997)


EDUCATION:

      CFA     Chartered Financial Analyst, 2003

      M.P.P. University of Chicago, 1997
             Masters of Public Policy, with a focus in economics including coursework in Finance,
             Labor Economics, Econometrics, and Regulation
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       B.A.      Knox College, 1995
                 Economics, Magna Cum Laude
                 Graduated with College Honors for Paper entitled “Increasing Efficiency in Water
                 Supply Pricing: Using Galesburg, Illinois as a Case Study”
                 Dean's List Every Term
                 Phi Beta Kappa


SELECTED EXPERIENCE:

Experience in Securities and Valuation Cases:

•   Expert consultant for Citigroup/Salomon Smith Barney in various matters related to Jack
    Grubman’s analyst coverage of various companies. This included supporting multiple experts at
    high-profile arbitration where plaintiffs claimed $900 million in damages. Arbitration panel
    returned a verdict in favor of client (reported in Wall Street Journal).

•   Expert damages consultant in dozens of 10b-5 and Section 11 securities litigation, including, but
    not limited to:
        o WorldCom
        o Enron
        o Tyco
        o Parmalat
        o Sears
        o Atlas Air
        o UnumProvident
        o XL Capital
        o Household Finance/HSBC
        o Dynegy
        o Anicom

•   Expert consultant in multiple cases involving market timing and/or late-trading. Developed models
    to estimate market timing profits.

•   Served as neutral expert for mediator (Judge Daniel Weinstein) in multiple 10(b)-5 securities cases
    as well as futures manipulation case.

•   Expert consultant for the American Stock Exchange (AMEX) where I evaluated issues related to
    multiple listing of options. Performed econometric analysis of various measures of option spread
    using tens of millions of trades.

•   Expert consultant to large hedge fund that owned bonds in WorldCom. Responsible for directing
    analysis that led to favorable settlement of their claim in the bankruptcy.

•   Performed detailed audit of CDO valuation models employed by a banking institution to satisfy
    regulators – non-litigation matter.
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•   Played significant role in highly-publicized internal accounting investigations of two Fortune 500
    companies. One led to restatement of previously issued financial statements and both involved
    SEC investigations.

•   Testifying expert in the matter of Kuo, Steven Wu v. Xceedium Inc, Supreme Court of New York,
    County of New York, Index No. 06-100836. Filed report re: the fair value of Mr. Kuo’s shares.
    Case settled at trial.

•   Testifying expert in the matter of Pallas, Dennis H. v. BPRS/Chestnut Venture Limited Partnership
    and Gerald Nudo, Circuit Court of Cook County, Illinois, County Department, Chancery Division.
    Filed report re: fair value of Pallas shares. Report: July 9, 2008. Deposition August 6, 2008. Court
    Testimony February 11, 2009.

•   Testifying expert in Washington Mutual Securities Litigation, United States District Court,
    Western District of Washington, at Seattle, No. 2:08-md-1919 MJP, Lead Case No. C08-387 MJP.
    Filed declaration August 5, 2008 re: plaintiffs’ loss causation theory. Filed expert report April 30,
    2010. Filed rebuttal expert report August 4, 2010.

•   Testifying expert in DVI Securities Litigation, United States District Court, Eastern District of
    Pennsylvania, 2:03-CV-05336-LDD. Filed expert report October 1, 2008 re: damages. Filed
    rebuttal expert report December 17, 2008. Deposition January 27, 2009.

•   Testifying expert in Syratech Corporation v. Lifetime Brands, Inc. and Syratech Acquisition
    Corporation, Supreme Court of the State of New York, Index No. 603568/2007. Filed expert report
    October 31, 2008.

•   Expert declaration in Jacksonville Police and Fire Pension Fund, et al. v. AIG, Inc., et al., No. 08-
    CV-4772-LTS; James Connolly, et al. v. AIG, Inc., et al., No. 08-CV-5072-LTS; Maine Public
    Employees Retirement System, et al. v. AIG, Inc., et al., No. 08-CV-5464-LTS; and Ontario
    Teachers’ Pension Plan Board, et al. v. AIG, Inc., et al., No. 08-CV-5560-LTS, United States
    District Court, Southern District of New York. Filed declaration February 18, 2009.

•   Expert declaration in Connetics Securities Litigation, Case No. C 07-02940 SI, United States
    District Court for the Northern District of California, San Francisco Division. Filed declaration
    March 16, 2009.

•   Testifying expert in Boston Scientific Securities Litigation, Master File No. 1:05-cv-11934 (DPW),
    United States District Court District of Massachusetts. Filed expert report August 6th, 2009.
    Deposition October 6, 2009.

•   Expert declaration in Louisiana Sheriffs’ Pension and Relief Fund, et al. v. Merrill Lynch & Co,
    Inc., et al., Case Number 08-cv-09063, United States District Court, Southern District of New
    York. Filed declaration October, 2009.

•   Testifying expert in Henry J. Wojtunik v. Joseph P. Kealy, John F. Kealy, Jerry A. Kleven, Richard
    J. Seminoff, John P. Stephen, C. James Jensen, John P. Morbeck, Terry W. Beiriger, and Anthony
    T. Baumann. Filed expert report on January 25, 2010.
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•   Testifying expert in REFCO Inc. Securities Litigation, Case No. 05 Civ. 8626 (GEL), United States
    District Court for the Southern District of New York. Filed expert report February 2, 2010. Filed
    rebuttal expert report March 12, 2010. Deposition March 26, 2010.

•   Expert declaration in New Century Securities Litigation, Case No. 07-cv-00931-DDP, United
    States District Court Central District of California. Filed declaration March 11, 2010.

•   Testifying expert in Louisiana Municipal Police Employees’ Retirement System, et. al. v. Tilman J.
    Fertitta, Steven L. Scheinthal, Kenneth Brimmer, Michael S. Chadwick, Michael Richmond, Joe
    Max Taylor, Fertitta Holdings, Inc., Fertitta Acquisition Co., Richard Liem, Fertitta Group, Inc.
    and Fertitta Merger Co, C.A. No. 4339-VCL, Court of Chancery of the State of Delaware. Filed
    expert report April 23, 2010.

•   Testifying expert in Edward E. Graham and William C. Nordlund, individually and d/b/a Silver
    King Capital Management v. Eton Park Capital Management, L.P., Eton Park Associates, L.P. and
    Eton Park Fund, L.P. Case No. 1:07-CV-8375-GBD. Filed rebuttal expert report July 8, 2010.
    Deposition September 1, 2010. Filed supplemental rebuttal expert report August 22, 2011.

•   Testifying expert in Moody’s Corporation Securities Litigation. Case No. 1:07-CV-8375-GBD.
    Filed rebuttal expert report August 23, 2010. Deposition October 7, 2010. Filed rebuttal reply
    report November 5, 2010.

•   Testifying expert in Minneapolis Firefighters’ Relief Association v. Medtronic, Inc., et al. Civil
    No. 08-6324 (PAM/AJB). Filed expert report January 14, 2011.

•   Testifying expert in In re Schering-Plough Corporation/ENHANCE Securities Litigation Case
    No.2:08-cv-00397 (DMC) (JAD). Filed expert report February 7, 2011.

Experience in Labor Economics and Discrimination-Related Cases:

•   Expert consultant for Cargill in class action race discrimination matter in which class certification
    was defeated.

•   Expert consultant for 3M in class action age discrimination matter.

•   Expert consultant for Wal-Mart in class action race discrimination matter.

•   Expert consultant for Novartis regarding various labor related issues.

•   Expert consultant on various other significant confidential labor economics matters in which there
    were class action allegations related to race and gender.

•   Expert consultant for large insurance company related to litigation and potential regulation
    resulting from the use of credit scores in the insurance underwriting process.

•   Testifying expert in Shirley Cohens v. William Henderson, Postmaster General, United States
    Postal Service. United States District Court for the District of Columbia. C.A 1:00CV-1834 (TFH)
    – Filed report re: lost wages and benefits.
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•   Testifying expert in Richard Akins v. NCR Corporation. Before the American Arbitration
    Association – Filed report re: lost wages.

Selected Experience in Antitrust, General Damages, and Other Matters:

•   Expert consultant in high-profile antitrust matters in the computer and credit card industries.

•   Expert consultant for plaintiffs in re: Brand Name Drugs Litigation. Responsible for managing,
    maintaining and analyzing data totaling over one billion records in one of the largest antitrust cases
    ever filed in the Federal Courts.

•   Served as neutral expert for mediator (Judge Daniel Weinstein) in allocating a settlement in an
    antitrust matter.

•   Expert consultant in Seminole County and Martin County absentee ballot litigation during disputed
    presidential election of 2000.

•   Expert consultant for sub-prime lending institution to determine effect of alternative loan
    amortization and late fee policies on over 20,000 customers of a sub-prime lending institution.
    Case settled favorably at trial immediately after the testifying expert presented an analysis I
    developed showing fundamental flaws in opposing experts calculations.


TEACHING EXPERIENCE:

       KNOX COLLEGE, Teaching Assistant - Statistics, (1995)
       KNOX COLLEGE, Tutor in Mathematics, (1992 - 1993)


PUBLICATIONS:

       Coffman, Chad and Mary Gregson, “Railroad Construction and Land Value.” Journal of Real
          Estate and Finance, 16:2, pp. 191-204 (1998).

       Coffman, Chad, Tara O’Neil, and Brian Starr, Ed. Richard D. Kahlenberg, “An Empirical
          Analysis of the Impact of Legacy Preferences on Alumni Giving at Top Universities,”
          Affirmative Action for the Rich: Legacy Preferences in College Admissions; pp. 101-121
          (2010).


PROFESSIONAL AFFILIATIONS:

       Associate Member CFA Society of Chicago
       Associate Member CFA Institute
       Phi Beta Kappa


AWARDS:

       1994 Ford Fellowship Recipient for Summer Research.
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     1993 Arnold Prize for Best Research Proposal.
     1995 Knox College Economics Department Award.

PERSONAL ACTIVITIES:

     Pro bono consulting for Cook County State’s Attorney’s Office.
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                    UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF WASHINGTON




                                          )
In re Washington Mutual Inc. Securities   )
Litigation                                )
                                          )




                 EXPERT REPORT OF CHAD COFFMAN, CFA
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                                        I.   INTRODUCTION

        1.        My name is Chad Coffman. I am the President of Winnemac Consulting, a

Chicago-based firm that specializes in the application of economics, finance, statistics, and

valuation principles to questions that arise in a variety of contexts, including, as here, in the

context of litigation.

        2.        I have been asked by counsel for the Lead Plaintiff in this matter to examine and

opine on:

             i.   Whether the market for Washington Mutual, Inc. (“WaMu” or the “Company”)

                  common stock (“WaMu Common Stock” or “Common Stock”) was efficient

                  during the Class Period;1 and

         ii.      Whether the markets for WaMu’s 5.375% Series Unit Preferred Stock maturing

                  5/3/2041 (“Capital Trust Unit Preferred Stock”), WaMu’s depositary shares each

                  representing a 1/40,000th ownership interest in a share of Series K Perpetual Non-

                  Cumulative Floating Rate Preferred Stock (“Series K Preferred Stock”), and

                  WaMu’s 7.75% Series R Non-Cumulative Perpetual Convertible Preferred Stock

                  (“Series R Preferred Stock”) (collectively “WaMu Preferred Securities” or

                  “Preferred Securities”) were efficient during the Class Period.

        3.        The materials I have relied upon in forming my opinions are summarized in

Appendix A. Winnemac Consulting is being compensated at an hourly rate of $450 per hour for

my work on this matter and my compensation is in no way contingent on the outcome of this

case. My qualifications are described below.


1
 The putative Class Period is from October 19, 2005 to July 23, 2008 (Amended Consolidated Class
Action Complaint (“Complaint”) at ¶ 1).


                                                  2
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                                     II.   QUALIFICATIONS

       4.      I hold a Bachelors Degree in Economics with Honors from Knox College and a

Masters in Public Policy from the University of Chicago. I am also a CFA charter-holder. The

CFA, or Chartered Financial Analyst, designation is awarded to those who have sufficient

practical experience and complete a rigorous series of three exams over three years that cover a

wide variety of financial topics including financial statement analysis and valuation.

       5.      I, along with several others, founded Winnemac Consulting in March 2008. Prior

to starting Winnemac Consulting, I was employed by Chicago Partners for over twelve years

where I was responsible for conducting and managing analysis in a wide variety of areas

including securities valuation and damages, labor discrimination and antitrust. I have been

engaged numerous times as a valuation expert both within and outside the litigation context. My

experience in class action securities cases includes work for plaintiffs, defendants, D&O insurers

and by a prominent mediator (Retired Judge Daniel Weinstein) to provide economic analysis and

opinions in over a dozen securities class actions as well as other matters. As a result of my

involvement in these cases, much of my career has been spent analyzing and making inferences

about how quickly, reliably and the degree to which new information impacts securities prices.

       6.      My qualifications are further detailed in my curriculum vitae, which is attached as

Appendix B.



                              III.     SUMMARY OF OPINIONS

       7.      After analyzing WaMu Common Stock throughout the Class Period and giving

careful consideration to the efficiency factors described in detail throughout this report, I have




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formed the opinion that the market for WaMu Common Stock was efficient throughout the Class

Period. This opinion is based upon my analysis described in Section VII, below.

         8.    After analyzing WaMu Preferred Securities throughout the Class Period and

giving careful consideration to the efficiency factors described in detail throughout this report, I

have formed the opinion that the markets for the WaMu Preferred Securities were efficient

throughout the Class Period. This opinion is based upon my analysis described in Section VIII,

below.

         9.    The remainder of this report is organized as follows: Section IV of this report

provides an overview of WaMu and the claims in this case. Section V discusses the reliance

requirement and the “fraud on the market” theory. Section VI introduces the Cammer Factors

and other factors for evaluating market efficiency under the “fraud on the market” theory.

Section VII evaluates the Cammer factors and other factors for WaMu Common Stock and

Section VIII evaluates the Cammer factors and other factors for WaMu Preferred Securities.

Section IX discusses loss causation.

         10.   I understand that discovery in this case is ongoing and has not yet been

completed. Therefore, I reserve the right to amend this report to reflect new information

available to me in light of the ongoing discovery process and/or future rulings from the Court. I

have restricted my financial-economic analysis to the issue of market efficiency. If I conduct a

damages analysis and submit a damages report in this matter in the future, I anticipate expanding

the focus of my work at that time to include further analysis of the facts and claims in this

Action, including other possible events during or after the Class Period that may have caused

additional shareholder losses associated with the events and allegations in the Complaint.




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    IV.     OVERVIEW OF WAMU, WAMU’S BUSINESS MODEL AND PLAINTIFFS’
                                  CLAIMS

            11.   WaMu was a Washington-based savings and loan holding company established in

    1889. Before filing for bankruptcy in 2008, it had grown to be the largest savings and loan

    company in the United States and the seventh largest U.S.-based bank and thrift holding

    company.2 Between 2005 and 2007, Washington Mutual employed approximately 50,000

    people or more annually and owned a network of over 2,000 retail bank stores across the

    country.3

            12.   A significant portion of WaMu’s business was originating and servicing home

    loans, including standard mortgages, home equity loans, and lines of credit for both the prime

    and subprime markets. According to the Complaint, residential home lending was WaMu’s

    primary business from 2005 through 2008 and resulted in 70% of WaMu’s net interest income.4

            13.   WaMu’s residential lending business – which, as noted above, included both

    “prime” and “subprime” lending – was not only a main component of WaMu’s business, but

    WaMu’s lending operations during the Class Period were also substantial enough to make

    WaMu one of the most significant and largest originators of residential loans in the country.

    According to analyst reports, other public statements and the Complaint, WaMu was a national

    leader in residential lending and dominated that market segment. More specifically, according

    to a September 27, 2007 analyst report authored by IBISWorld, Inc., WaMu’s Home Loans

    Group “[was] the nation’s leading mortgage lender,” and WaMu commanded a 20% share of the




2
    Complaint at ¶¶ 16, 20; Washington Mutual 10-Ks 2004-2007.
3
    Washington Mutual 10-Ks 2004-2007.
4
    Complaint at ¶ 19.


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    market.5 Similarly, a November 17, 2006 analyst report issued by Citigroup Research stated

    that WaMu was the number three issuer of non-agency mortgage-backed securities (“MBS”) in

    2005, and WaMu rose to become the number two issuer of non-agency MBS in 2006 (behind

    only Countrywide Financial Corp.).6 An April 13, 2010 formal statement by Senator Carl Levin

    also identified WaMu as a key player in the lending market, stating, “WaMu became one of the

    largest originators of [Option ARM] loans in the country. From 2006 until 2008, WaMu securitized

    or sold a majority of the Option ARMs it originated, infecting the financial system with these high

    risk mortgages.”7

           14.     As a result, WaMu’s “peer” companies were other very large financial

    institutions, such as Bank of America, Citibank, Wells Fargo and JPMorgan Chase.8 The

    Complaint identifies WaMu as being a key member of a small “peer” group of other major

    financial institutions that originated very large numbers of residential loans.9

           15.     WaMu, and banks generally, in each accounting period report credit losses (losses

    that have already been realized) and a reserve for future loan losses on their financial

    statements. This “loan loss reserve” is the amount of losses the bank has not yet realized, but

    expects to sustain based upon the nature of the portfolio of loans it holds.10 It is clear that

    credit losses and loan loss reserves are important metrics in evaluating the performance of a
5
    “IBISWorld Company Operational Risk Rating report,” IBISWorld, September 27, 2007.
6
 “WM: Meeting W/ Capital Markets Head Shows WM’s Got Game,” Citigroup Investment Research,
November 17, 2006.
7
 “Opening Statement of Senator Carl Levin (D-Mich) Before the U. S. Senate Permanent Subcommittee
on Investigations on Wall Street and The Financial Crisis: The Role of High Risk Home Loans,” dated
April 13, 2010 at page 9.
8
    See Bear Stearns analyst report, dated October 9, 2006, at page 8.
9
    See Complaint at Appendix D.
10
  See, e.g., Complaint at ¶ 294 and Gay Hatfield and Carol Lancaster, “The Signaling Effects of Bank
Loan—Loss Reserve Additions.” Journal of Financial and Strategic Decisions Volume 13 Number 1
Spring 2000, pp 57-73.


                                                   6
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 lending institution. Even a cursory review of reports issued by securities analysts that covered

 WaMu, and the transcripts of WaMu’s conference calls with securities analysts, reveals that

 analysts focused on credit losses and loan loss reserves as critical metrics in evaluating the

 company’s financial performance and condition.11

         16.    The Complaint details a series of allegations of wrongdoing, but there are two

 primary themes that capture many of them: (1) WaMu unlawfully influenced the appraisal

 process to obtain inflated asset appraisals, and (2) WaMu misrepresented the quality of its

 underwriting and loss reserving process. Plaintiffs assert that these wrongful actions and

 misrepresentations caused the company’s loan loss reserves to be materially and knowingly

 and/or recklessly understated because the company faced materially greater risk of losses than

 disclosed.

         17.    For example, according to the Complaint, throughout the Class Period, WaMu

 and its executives made misleading statements to the public regarding the value and riskiness of

 WaMu’s loan portfolio, the nature of WaMu’s underwriting and risk management processes,

 and produced inaccurate financial statements. More specifically, according to the Complaint,

 these defendants stated that WaMu’s loan portfolio had a low loan-to-value ratio, that WaMu’s

 lending and accounting were managed conservatively, that WaMu had appropriate risk

 management and underwriting procedures, and that WaMu did not pressure appraisers. All of

 these were allegedly materially false statements. According to the Complaint, management


11
   For example, in a report dated October 18, 2007, DA Davidson lowered its purchase recommendation
to “Underperform” from “Neutral” and observed that “Credit quality deterioration was the big news this
quarter, and it appears credit trends will disrupt Q4 results as well”. Following the release of WaMu’s
financial results for the fourth quarter of 2007, Merrill Lynch lowered its estimates of WaMu’s earnings
and reported that “Credit remains the chief concern, likely delaying the return to profitability until Q2’09,
based on our forecast for losses and related provisions.”




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 knew or recklessly disregarded, among other things, that WaMu was pushing loans on

 unqualified buyers and inflating property values.

            18.      The economic link between Plaintiffs’ claims and the value of WaMu and its

 securities is clear. If their claims are proven correct, and WaMu was relying on artificially

 inflated appraisal values, this would have the effect of overstating the value of collateral,

 understating loan to value ratios, and thus mischaracterizing the nature of WaMu’s loan

 portfolio – which would typically affect both the accounting for loan losses and the market

 assessment of risk of loan losses at WaMu. In addition, if WaMu overstated the quality of its

 underwriting and loss reserving standards, the market would underestimate expected credit

 losses.12

            19.      Plaintiffs allege that when the truth regarding WaMu’s lending practices and loan

 portfolio became known to the market through a series of partial disclosures, the prices of

 WaMu’s securities plummeted. In particular, after the market closed on October 17, 2007,

 WaMu announced that it had doubled its estimate for 2007 losses.13 This news surprised the

 market and analysts immediately downgraded WaMu’s Common Stock.14 The following day

 WaMu Common Stock fell 7.7%.15 Plaintiffs allege that this was a partial corrective disclosure

 because the size of the loan losses were larger than the Defendants led the market to believe




12
     See Section IX below for additional discussion of Plaintiffs’ allegations and theory of loss causation.
13
 “WaMu Reports Third Quarter Earnings Per Share of $0.23 ; Declares Cash Dividend of 56 Cents,”
Business Wire, 16:05, 10/17/2007; “Q3 2007 Washington Mutual Earnings Conference Call – Final,”
Voxant FD (FAIR DISCLOSURE) WIRE, 10/17/2007; Complaint at ¶ 557.
14
     Complaint at ¶ 558.
15
     Id. at ¶ 559.




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 they would be because WaMu had previously misled investors into believing that they had

 higher quality loans than they actually held.16

            20.      New York Attorney General (“NYAG”) Andrew Cuomo brought suit against First

 American eAppraiseIT for inflating appraisals on November 1, 2007.17 Evidence from

 eAppraiseIT email messages indicated that WaMu, eAppraiseIT’s largest customer, regularly

 pressured eAppraiseIT to produce higher appraisal values. WaMu selected the appraisers that

 eAppraiseIT and other appraisal companies could use to value WaMu related properties.

 Appraisers who did not comply were removed from WaMu’s list of accepted appraisers.18 On

 November 2, 2007, a former WaMu appraiser confirmed that underwriting standards at WaMu

 had lapsed and that appraisers were chosen based on accepted contracts rather than quality

 analysis. WaMu Common Stock price fell 7.5% on that date.19

            21.      On November 7, 2007, NYAG Cuomo expanded his investigation into WaMu by

 having Freddie Mac and Fannie Mae review the loans WaMu sold to them.20 Ratings agencies

 cut their outlook on WaMu as the company forecast nearly $3 billion in credit losses for the

 upcoming quarter. WaMu Common Stock dropped by more than 17% on that date.21




16
     Id. at ¶ 560.
17
  “NY AG Sues First American, Unit In Mortgage Appraisal Probe,” Dow Jones News Service, 10:51,
11/1/2007. Complaint at ¶ 561.
18
     Id. at ¶ 117.
19
     Id. at ¶ 564.
20
  “NEW YORK ATTORNEY GENERAL CUOMO SENDS LETTERS OF NOTICE AND DEMAND
TO FREDDIE MAC, FANNIE MAE,” US Fed News, 11/7/2007; “UPDATE 5-NY subpoenas Fannie,
Freddie in mortgage probe,” Reuters News, 09:22, 11/7/2007; Complaint at ¶ 565.
21
     Complaint at ¶ 567.


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           22.    After the close of trading on December 10, 2007, WaMu announced that it would

 need to raise additional capital.22 Immediately following the announcement Moody’s and Fitch

 downgraded their ratings of WaMu.23 WaMu Common Stock dropped by more than 12% on

 the following day.24 According to the Complaint, throughout the Class Period additional partial

 disclosures about WaMu were made periodically announcing the need for additional capital,

 increased loan loss reserves and credit loss projections, and WaMu’s ratings were typically cut

 in response. For example, on March 7, 2008 the Wall Street Journal reported that WaMu was

 once again searching for additional capital and the rating agencies downgraded WaMu

 securities as the WaMu Common Stock price fell nearly 9% on that date.25 Plaintiffs allege that

 this and other similar disclosures were partial disclosures of WaMu’s true financial condition,

 but that Defendants’ positive statements and/or denials of wrongdoing continued to hide the full

 truth about WaMu, and that therefore the market continued to react with surprise (and

 negatively) to these unexpected announcements.

           23.    After the close of trading on July 22, 2008, WaMu announced that its second

 quarter 2008 net loss totaled $3.3 billion and that its loan loss reserves increased by $3.74

 billion.26 The following day (July 23, 2008 - the end of the Class Period), the ratings agencies


22
  “WaMu to Raise $2.5 Billion in Additional Capital, Reduce Dividend, Resize Home Loans Business
and Cut Expenses to Fortify Capital Base ; * Expects Net Loss for Fourth Quarter 2007 With Non-cash
Writedown of Home Loans Segment Goodwill * Non-cash Writedown Will Not Affect Key Capital
Ratios or Liquidity,” Business Wire, 16:04, 12/10/2007. Complaint at ¶ 575.
23
  “Fitch Downgrades Washington Mutual to 'A-'; Outlook Negative,” Business Wire, 16:30, 12/10/2007
“Fitch, Moody's cut WaMu on mortgage exposures,” Reuters News, 17:15, 12/10/ 2007
24
     Complaint at ¶ 578.
25
  “Regulators Push the Banks --- Seek Outside Capital, Market Officials Urge, And WaMu Is Doing So,”
The Wall Street Journal, 3/7/2008. Complaint at ¶ 596.
26
  “WaMu Reports Significant Build-Up of Reserves Contributing to Second Quarter Net Loss of $3.3
Billion ; Company Increases Capital Levels Company Expects to Reduce Expenses by $1 billion,”
Business Wire, 16:11, 7/22/2008; “Event Brief of Q2 2008 Washington Mutual Earnings Conference Call
– Final,” Voxant FD (FAIR DISCLOSURE) WIRE, 7/22/2008; “S&P cuts Washington Mutual to just


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 downgraded WaMu bonds to junk status and WaMu Stock fell 20%.27 By the end of September

 2009, WaMu was closed by the Federal Government and had to file for bankruptcy.28



         V.      BACKGROUND AND DISCUSSION OF RELIANCE REQUIREMENT

           24.       Plaintiffs assert the “fraud on the market” theory of reliance in this matter. The

“fraud on the market” theory is based on the notion that in an efficient market (one in which all

publicly available information is incorporated into the market price), all purchasers implicitly

rely on any misrepresentations since the value of those misrepresentations is incorporated into

everyone’s purchase price. The “fraud on the market” theory was first addressed by the U.S.

Supreme Court in Basic v. Levinson:

                     In an open and developed securities market, the price of a company's stock
                     is determined by the available material information regarding the company
                     and its business… Misleading statements will therefore defraud purchasers
                     of stock even if the purchasers do not directly rely on the misstatements...
                     The causal connection between the defendants' fraud and the plaintiffs'
                     purchase of stock in such a case is no less significant than in a case of
                     direct reliance on misrepresentations.29


           25.       As indicated in Basic, in an open, developed and efficient market, prices reflect

what is known about a company. If a company provides the market with misleading information

regarding their financial strength or business practices, the market price will be inflated

compared to what the price would have been if the truth were known (but-for misleading




above junk,” Reuters News, 10:21, 7/23/2008; Piper Jaffray Downgrades Washington Mutual (WM) to
Sell, StreetInsider.com, 7/23/2008; Complaint at ¶ 617.
27
     Complaint at ¶ 620.
28
     Id. at ¶ 626.
29
     Basic v. Levinson, 485 U.S. 224, 240 (1988).


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information). Thus, in an efficient market where plaintiffs prove there were material

misrepresentations, all purchasers implicitly relied on those misrepresentations.

          26.     Determining whether the market for a security was “open and developed” or

“efficient” to the degree required for a presumption of reliance under the “fraud on the market”

theory is an empirical exercise. The esteemed economist Dr. Eugene Fama, in his seminal

research, first outlined definitions of an “efficient market”.30 He described different levels of

efficiency which he called “weak-form,” “semi-strong-form” and “strong-form” efficiency.31

           27.    The market efficiency standard adopted by Basic as necessary for the presumption

 of reliance conforms to Dr. Fama’s “semi-strong form” efficiency. “Semi-strong form”

 efficiency implies that all public information is reflected in a stock's current market price. This

 implies that security prices adjust to new publicly available information rapidly and in an

 unbiased fashion so that it is impossible to earn excess returns by trading on that information.

 Basic stated: “In an open and developed securities market, the price of a company's stock is

 determined by the available material information regarding the company and its business.”32

 The Supreme Court’s effective adoption of the “semi-strong form” efficiency standard is

 economically sensible because it recognizes that insiders often possess non-public information


30
  Eugene Fama, “Efficient Capital Markets: A Review of Theory and Empirical Work,” Journal of
Finance Vol. 25, 1970, p 383.
31
  “Weak-form” efficiency requires that historical prices are not predictive of future prices. Under this
form of efficiency, excess returns cannot be earned using strategies based on historical prices. Therefore,
technical analysis will not produce consistent excess returns over time. “Semi-strong form” efficiency
implies that all public information is reflected in a stock's current market price. Security prices adjust to
new publicly available information rapidly and in an unbiased fashion so that it is impossible to earn
excess returns by trading on that information. Under this form of efficiency, neither fundamental nor
technical analysis can produce consistent excess returns. “Strong-form” efficiency, implies all
information in the market, whether public or private, is accounted for in the market price. In this market,
investors cannot consistently earn excess returns over a long period of time even if they have inside
information.
32
     Basic v. Levinson, 485 U.S. 224, 240 (1988).


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 and that securities prices do not necessarily reflect this non-public information, but that to

 presume reliance, the market price must reflect all publicly available information.

            28.   In the next Section, I will explain the factors that I understand are regularly

 considered by Courts in determining whether the market for a particular security is efficient.



                                    VI.     CAMMER FACTORS

           29.    In Cammer v. Bloom, the court identified the following factors as relevant to the

determination of whether an efficient market exists for a given security: 1) average weekly

trading volume, 2) analyst coverage, 3) market makers, 4) SEC Form S-3 eligibility, and 5) price

reaction to unexpected information.33

            30.   The Cammer decision relied on Bromberg & Lowenfels’ definition of

 efficiency.34 As articulated below, the adopted definition of efficiency is clearly consistent with

 Fama’s definition of “semi-strong” efficiency.35 For the purposes of this exercise, I adopt

 Bromberg & Lowenfels’ definitions for the terms “open,” “developed,” and “efficient” as

 described below:

                  An open market is one in which anyone, or at least a large number of
                  persons, can buy or sell.

                  A developed market is one which has a relatively high level of activity and
                  frequency, and for which trading information (e.g., price and volume) is
                  widely available. It is principally a secondary market in outstanding
                  securities. It usually, but not necessarily, has continuity and liquidity (the
                  ability to absorb a reasonable amount of trading with relatively small price
                  changes).

33
  Cammer v. Bloom, Civil Action No. 88-2458, U.S. District Court for the District of New Jersey, April
19, 1989.
34
     Id. p 2.
35
  Eugene Fama, “Efficient Capital Markets: A Review of Theory and Empirical Work,” Journal of
Finance Vol. 25, 1970, p 383.


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                An efficient market is one which rapidly reflects new information in price.

                These terms are cumulative in the sense that a developed market will
                almost always be an open one. And an efficient market will almost
                invariably be a developed one.36

        31.     While there is a clear and well-accepted economic theory of market efficiency,

there are no broadly accepted bright-line empirical tests that allow one to classify a particular

market as “efficient” or “inefficient.” In my view, the Cammer decision identified important

metrics to consider when evaluating efficiency for purposes of the “fraud on the market” theory.

        32.     In the subsequent sections I evaluate each of the Cammer factors, as well as the

following additional factors that are relevant to assessing market efficiency: 1) market

capitalization, 2) bid-ask spread, 3) the fraction of shares held by institutional investors, and 4)

autocorrelation (meaning whether there is a pattern in a security’s returns so that past returns

have the ability to predict future returns).

        33.     In Section VII, I empirically evaluate each factor for WaMu Stock during the

putative Class Period. In Section VIII, I evaluate WaMu Preferred Securities.



VII.    APPLICATION OF EFFICIENCY FACTORS TO WAMU COMMON STOCK

                                               A. OVERVIEW

         34.    After giving careful consideration to each of the efficiency factors described in

 detail below, I find that each factor supports my opinion that the market for WaMu Common

 Stock was efficient throughout the Class Period.



36
  Cammer v. Bloom, Civil Action No. 88-2458, U.S. District Court for the District of New Jersey, April
19, 1989, p 2 (citing Bromberg & Lowenfels, Securities Fraud and Commodities Fraud, § 8.6 (Aug. 1988)
(emphasis added).


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         35.    My analyses and related conclusions concerning the factors relevant to a finding

 of market efficiency for WaMu Common Stock throughout the Class Period are discussed

 below. In addition to the discussion below, Exhibit 1 shows that for each of the factors

 examined, the empirical evidence supports a finding that WaMu Common Stock traded in an

 efficient market. As further background to my analyses, Exhibit 2 displays the Common Stock

 closing price and trade volume for each day throughout the Class Period.

         36.    In summary, the average weekly trading volume far exceeds benchmarks that the

 Courts have established. During the Class Period, the average daily trade volume for WaMu

 Stock was 18 million shares. This is a tremendous quantity of shares trading hands, and as I

 will demonstrate, this is extremely high relative to other common stocks traded on the NYSE.

 These facts are supportive of the conclusion that WaMu Common Stock traded in an open,

 developed, and efficient market throughout the Class Period.

         37.    Also, there were an abundance of securities analysts following and reporting on

 WaMu, and WaMu had one of the largest market capitalizations of all firms on the NYSE and

 NASDAQ. I also empirically demonstrate a strong cause and effect relationship between new

 company-specific information and the market price of WaMu Common Stock.



           B. CAMMER FACTOR 1: AVERAGE WEEKLY TRADING VOLUME

        38.     The first Cammer factor is the average weekly trading volume of a security.

According to one authority cited by the Cammer court,

                [T]urnover measured by average weekly trading of 2% or more of the
                outstanding shares would justify a strong presumption that the market for
                a security is an efficient one; 1% would justify a substantial
                presumption.37
37
  Cammer v. Bloom, Civil Action No. 88-2458, U.S. District Court for the District of New Jersey, April
19, 1989, p 28 (citing Bromberg, et al.).


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          39.      Volume as a fraction of shares outstanding is an important indicator of market

efficiency. First, volume is objectively quantifiable and comparable across securities. Second,

high volume is generally indicative of continuity, liquidity, and market depth – which are highly

indicative of market efficiency. Third, substantial volume would indicate there is likely a market

for the collection and distribution of information about the security. As Thomas and Cotter

explain, “Trading volume was also considered as an eligibility standard because it affects

information dissemination to the market, and was an important criterion for investment analysts

in deciding which stocks to follow.”38

          40.      WaMu Common Stock easily surpasses the threshold level of average weekly

trading volume necessary for an efficient market. The average weekly turnover for WaMu

Common Stock was 9.17%. Exhibit 3 plots WaMu Common Stock’s trading volume as a

fraction of shares outstanding for each week during the Class Period.39 Indeed, the average daily

volume during the Class Period was 18 million shares. The volume of trading for WaMu

Common Stock supports the conclusion that the market for this security was efficient throughout

the Class Period.

           41.     Turnover velocity is an equivalent measure to the first Cammer Factor and is

 easily comparable to the publicly reported NYSE average.40 The average annualized turnover


38
  Randall S. Thomas and James F. Cotter, “Measuring Securities Market Efficiency in the Regulatory
Setting.” Law and Contemporary Problems Vol. 63, p 3.
39
  For the purposes of this analysis, a “trading week” consists of 5 consecutive trading days (this may not
follow the calendar week).
40
     Turnover velocity is simply the average turnover (the first Cammer Factor) expressed in dollar terms:

Turnover Velocity          =       Volume x Price          =                Dollars Traded
Ratio                              Shares Outstanding x Price               Dollars Outstanding




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 velocity ratio for WaMu Common Stock during the Class Period was 459% compared with the

 NYSE average of 165%.41 Thus, WaMu Common Stock had an average annualized turnover

 velocity nearly three times higher than the average for the NYSE during the Class Period.

         42.    In short, the relatively high trading volume in WaMu Common Stock throughout

 the Class Period supports the conclusion that the market for this security was efficient.



                        C. CAMMER FACTOR 2: ANALYST COVERAGE

         43.    The Cammer decision stated the following related to analyst coverage:

                 …it would be persuasive to allege a significant number of securities
                analysts followed and reported on a company's stock during the class
                period. The existence of such analysts would imply, for example, the
                [auditor] reports were closely reviewed by investment professionals, who
                would in turn make buy/sell recommendations to client investors.42

         44.    Analyst coverage, while not required for market efficiency in my opinion, is

 important confirmatory evidence of efficiency. Significant analyst coverage implies that there

 is sufficient interest in a company and its securities, that there is an active market for

 information regarding the company and its securities, and that information is widely distributed.

         45.    During the Class Period, there was an abundance of analyst coverage of WaMu.

 Exhibit 4 shows that there were at least 425 analyst reports issued during the Class Period by

 30 separate equity analysts for WaMu.43 Major firms such as Morgan Stanley, Morningstar,

 Deutsche Bank, and Credit Suisse issued analyst reports on WaMu. These reports served the

41
  Turnover velocity for the NYSE is from World Federation of Exchanges; http://www.world-
exchanges.org/statistics. For purposes of this calculation, I weight each annual turnover velocity to reflect
the fraction of the year included in the Class Period.
42
  Cammer v. Bloom, Civil Action No. 88-2458, U.S. District Court for the District of New Jersey, April
19, 1989, p 22.
43
  This almost certainly understates the total amount of analyst coverage since many analyst reports are
not available through third party data providers.


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 purpose of disseminating publicly available information along with commentary, news, updates,

 analysis and recommendations of the analysts to investors. In addition, there were reports by

 credit rating agencies and others that evaluated WaMu’s creditworthiness and other publicly-

 traded securities. The extensive coverage of WaMu by securities analysts supports the

 conclusion that WaMu Common Stock traded in an efficient market throughout the Class

 Period.

           46.   Since 1989 when the Cammer decision was rendered, there has been an explosion

 of alternative methods by which publicly available information about publicly-traded securities

 is disseminated to investors. For example, since then, through the Internet, 24-hour cable news

 networks, email, RSS feeds44, and other media, the ability of individual and institutional

 investors to obtain information about publicly-traded securities and the market in general has

 revolutionized the manner in which investors and investment professionals receive and process

 information.

           47.   Moreover, information regarding the market price, the current bid-ask spread, and

 the ability to trade online is available almost instantaneously via the Internet for anyone with an

 online brokerage account. Thus, in addition to the substantial analyst coverage of WaMu, there

 were many other sources of information dissemination. For example, there was substantial

 public press regarding WaMu. A search for articles classified as related to WaMu by Factiva

 over the Class Period results in over 7,000 articles. There were 161 SEC filings that are



44
   RSS is an acronym for Really Simple Syndication or Rich Site Summary. RSS files are formed as XML
files and are designed to provide content summaries of news, blogs, forums or website content. The RSS
feeds are generally simple headlines and brief descriptions if the user is interested they can click to see
additional information. Content viewed in the RSS reader or news aggregator is known as an RSS feed.
RSS is becoming increasing popular since it is a free and easy way to promote a site and its content
without the need to advertise or create complicated content sharing partnerships. (http://www.rss-
specifications.com/ and http://www.rss-specifications.com/what-is-rss.htm)


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 available online at EDGAR at no out of pocket cost.45 There were numerous other sources of

 information available throughout the Class Period that I do not attempt to quantify. The degree

 of news coverage and publicly available information further supports the conclusion that there

 was substantial supply and demand for information regarding WaMu in the public arena

 throughout the Class Period.

         48.    In summary, the number of analyst reports, other investment reports covering

 WaMu and its other publicly-traded securities, and the substantial public dissemination of news

 and other information regarding WaMu provides evidence of a robust and active market for

 information about WaMu and evidence that WaMu Common Stock traded in an efficient

 market.



                         D. CAMMER FACTOR 3: MARKET MAKERS

        49.     The third Cammer factor states:

                For over the counter markets without volume reporting, the number of
                market makers is probably the best single criterion. Ten market makers for
                a security would justify a substantial presumption that the market for the
                security is an efficient one; five market makers would justify a more
                modest presumption.46

        50.     In over-the-counter markets, the basic premise that led courts to assume a large

number of market makers as an efficiency criteria relates to the notion that market makers are:

                [P]resumably knowledgeable about the issuing company and the stocks'
                supply and demand conditions (i.e., the "order flow"). Therefore, it is
                believed the larger the number of market makers in a given security, the



45
  Excludes SEC Form 3, 4 and 5, which relate only to equity ownership by directors, officers, and owners
of more than ten percent of a class of the company's equity.
46
  Cammer v. Bloom, Civil Action No. 88-2458, U.S. District Court for the District of New Jersey, April
19, 1989, p 28 (emphasis added).


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                more information is available about it and the quicker its dissemination in
                the price.47

         51.    As noted above, Cammer states that the number of market makers is relevant to

 consider the market efficiency of securities traded in an over the counter market with no volume

 reporting. Throughout the Class Period, WaMu Common Stock traded on the NYSE, rather

 than over the counter. The NYSE is one of the largest and most liquid security exchanges in the

 world with billions of shares traded each day. Unlike an over the counter market that relies on

 decentralized market makers providing liquidity for trading, the NYSE conducts trading on a

 continuous auction system where an assigned specialist is physically present at all times during

 open trading.48 These “specialists” are required by exchange rules to maintain a “fair and

 orderly” market and to take the other side of a trade even if it means having to buy or sell from

 their own accounts.49 The specialist system thus provides continuous liquidity for the security.

 In addition, much of the trading (currently a vast majority) is accomplished by electronically

 matching orders without the involvement of a specialist at all.50

         52.    In sum, because WaMu Stock trades on the NYSE, the number of “market

 makers” is not an applicable metric to employ. Instead, the NYSE has a market structure that

 combines both an auction system and electronic trading and does not rely on decentralized

 market makers to provide liquidity. In my opinion, the market structure of the NYSE is

47
  Brad M. Barber, Paul A. Griffin and Baruch Lev, “The Fraud-on-the-Market Theory and the Indicators
of Common Stocks’ Efficiency, The Journal of Corporation Law, Winter 1994, 19 Iowa J. Corp. L. 285.
48
  William F. Sharpe, Gordon J. Alexander, Jeffery V. Bailey, “Investments,” Prentice Hall, Fifth Edition,
pp 45-53. Frank J. Fabozzi, Franco Modigliani, Frank J. Jones, “Foundations of Financial Markets and
Institutions,” Prentice Hall, Fourth Edition, 2010, Chapter 18 – Appendix 1.
49
  Frank J. Fabozzi, Franco Modigliani, Frank J. Jones, “Foundations of Financial Markets and
Institutions,” Prentice Hall, Fourth Edition, 2010, Chapter 18 – Appendix 1.
50
  Frank J. Fabozzi, Franco Modigliani, Frank J. Jones, “Foundations of Financial Markets and
Institutions,” Prentice Hall, Fourth Edition, 2010, Chapter 18 – Appendix 1.


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 supportive of the conclusion that WaMu Stock traded in an efficient market throughout the

 Class Period.



                     E. CAMMER FACTOR 4: SEC FORM S-3 ELIGIBILITY

        53.       The fourth Cammer Factor is SEC Form S-3 Eligibility, which states,

                  It would be helpful to allege the Company was entitled to file an S-3
                  Registration Statement in connection with public offerings or, if ineligible,
                  such ineligibility was only because of timing factors rather than because
                  the minimum stock requirements set forth in the instructions to Form S-3
                  were not met. Again, it is the number of shares traded and value of shares
                  outstanding that involve the facts which imply efficiency.51

         54.      Through Form S-3, the SEC allows certain companies that have previously

 provided sufficiently high level of public information to incorporate prior SEC filings by

 reference into current filings and not repeat the information, since it is already deemed to be

 widely publicly available.52 Eligibility to file a Form S-3 is confirmatory evidence of

 efficiency, not a requirement. Interpreted in this way, the standard makes sense as an indicator

 of efficiency.

         55.      WaMu was S-3 eligible and, in fact, when registering each of the Preferred

 Securities at issue in this case WaMu was able to incorporate prior SEC filings by reference. 53


51
  Cammer v. Bloom, Civil Action No. 88-2458, U.S. District Court for the District of New Jersey, April
19, 1989, p 22.
52
   To be eligible to issue a Form S-3, among other things a company must be subject to the Securities
Exchange Act of 1934 reporting requirements for more than one year. In addition, the company must have
filed all documents in a timely manner for the past twelve months and must show that it has not failed to
pay dividends or sinking funds nor defaulted on debts or material leases. See
www.sec.gov/about/forms/forms-3.pdf.
53
  See Washington Mutual, Inc. Depositary Shares Each Representing a 1/40,000th Interest in a Share of
Series K Perpetual Non-Cumulative Floating Rate Preferred Stock Prospectus dated September 11, 2006,
Washington Mutual, Inc. 7.75% Series R Non-Cumulative Perpetual Convertible Preferred Stock
Prospectus dated December 11, 2007, Washington Mutual Inc., SEC Form S-3 dated August 20, 2001,
and Washington Mutual Inc., amended SEC Form S-3 dated August 31, 2001.


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           56.   WaMu also filed a Form S-3ASR, which is an automatic shelf registration

 statement for use by well-known seasoned issuers.54 A Form S-3ASR allows a company to

 register unspecified amounts of different specified types of securities using a single form.

 WaMu filed Form S-3s throughout the Class Period and met the SEC’s standards as a seasoned

 issuer for which information is already widely distributed. Therefore, WaMu meets this

 Cammer efficiency factor which supports the conclusion that WaMu Common Stock traded in

 an efficient market.



           F. CAMMER FACTOR 5: PRICE REACTION TO NEW INFORMATION

           57.   The fifth Cammer Factor relates to how a security reacts to new information and

 states:

                 …one of the most convincing ways to demonstrate [market] efficiency
                 would be to illustrate, over time, a cause and effect relationship between
                 company disclosures and resulting movements in stock price.55

           58.   Establishing a causal connection between new company-specific news events and

 movements in the market price is convincing evidence of market efficiency. A technique often

 relied upon by academics, both inside and outside of the context of litigation, to establish such a

 causal connection is called the “event study.” An event study is a well-accepted statistical

 method utilized to isolate the impact of information on market prices.56 Indeed, academics have

 used event studies as one tool for evaluating the efficient market hypothesis in the first place.

 Event studies have now been used for over 30 years and appeared in hundreds if not thousands
54
     Washington Mutual, Inc. SEC Form S-3ASR dated May 5, 2008.
55
  Cammer v. Bloom, Civil Action No. 88-2458, U.S. District Court for the District of New Jersey, April
19, 1989, p 27.
56
  David I. Tabak and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the
Courtroom,” Ch. 19, Litigation Services Handbook, The Role of the Financial Expert, Third Edition,
2001.


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 of academic articles as scientific evidence in evaluating how new information affects securities

 prices.57

            59.   Based on the event study I have performed, I find that there is a clear cause and

 effect relationship between new material public information about WaMu and the market price

 of its common stock. For example, after the market closed on October 17, 2007, WaMu

 substantially increased its estimated loan losses.58 In response, a number of securities analysts

 downgraded the stock and warned that the losses were substantial enough that they may require

 WaMu to cut its payment of dividends. The following day, the market price of WaMu Common

 Stock fell by 7.7%. As detailed below, I performed an event study that shows this decline is too

 large to be explained by random price movement after controlling for broad market and industry

 effects.

            60.   Similarly, after the market closed on December 10, 2007 WaMu announced,

 among other things, that it was raising additional capital and lowering its dividend in response

 to “unprecedented challenges” in the mortgage market.59 The credit rating agencies also

 downgraded WaMu’s credit rating. On this same day, WaMu Common Stock price fell over

 12%. The event study I performed demonstrates that this stock price movement is statistically

 significant; in other words, random price movement cannot explain such a reaction.




57
  John Binder, “The Event Study Methodology Since 1969,” Review of Quantitative Finance and
Accounting Vol. 11, 1998, pp 111-137.
58
 “WaMu Reports Third Quarter Earnings Per Share of $0.23 ; Declares Cash Dividend of 56 Cents,”
Business Wire, 16:05, 10/17/2007; “Q3 2007 Washington Mutual Earnings Conference Call – Final,”
Voxant FD (FAIR DISCLOSURE) WIRE, 10/17/2007. Complaint at ¶ 557.
59
  “WaMu to Raise $2.5 Billion in Additional Capital, Reduce Dividend, Resize Home Loans Business
and Cut Expenses to Fortify Capital Base ; * Expects Net Loss for Fourth Quarter 2007 With Non-cash
Writedown of Home Loans Segment Goodwill * Non-cash Writedown Will Not Affect Key Capital
Ratios or Liquidity,” Business Wire, 16:04, 12/10/2007. Complaint at ¶ 575.


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       61.    I identified dozens of events during the Class Period where new company-specific

news resulted in statistically significant price movements during the Class Period. Additionally,

there were few (no more than statistically expected) significant price movements for which I

could find no material news. This implies that there is a scientifically demonstrable cause and

effect relationship between newly available WaMu specific news and changes in the price of

WaMu Common Stock during the Class Period and provides strong scientific evidence that

WaMu Common Stock traded in an efficient market.

       62.    The remainder of this Section provides a description of relevant event study

methodologies generally and the particular methodology I applied for purposes of this report. I

note that the particular event study model I adopt here is designed for the purpose of evaluating

the efficiency of WaMu stock throughout the Class Period as a whole using a consistent

methodology across all days. It may or may not be the same model that should be applied for

different purposes, including to evaluate the impact of certain news events in the context of loss

causation or damages. For example, there may be specific days on which there is WaMu-

specific news related to Plaintiffs’ allegations that affects the price of WaMu and affects other

companies in their industry. In such cases, it may be inappropriate to treat a peer index as an

independent control (a concept which is discussed in more detail below) because the peer index

itself may be affected by the alleged corrective disclosure. I have not been asked to perform

such an analysis at this time, and such an analysis is not necessary to determine a cause-and-

effect relationship for purposes of evaluating market efficiency.

       63.    An event study is a technique used to measure the effect of new information on

the market prices of a company’s publicly traded securities. New information may include, for

example, company press releases, earnings reports, SEC filings, news reports or analyst reports.




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 An event study begins by specifying a model of what price movements are “expected” based on

 outside market factors and then testing whether the deviation from expected price movements

 are sufficiently large that simple random movement can be rejected as the cause.

         64.     A well-accepted method for performing an event study is to estimate a

 regression model over some period of time to observe the typical relationship between the

 market price of the relevant security and broad market factors. I have performed such an

 analysis where I evaluate the relationship between WaMu Common Stock’s daily returns

 (percentage change in price) controlling for a broad market index (the “S&P 500”) and an index

 of companies in WaMu’s industry (the “Peer Index”). 60

         65.    I implement the event study using a rolling regression model because there is

 strong evidence that the relationship between WaMu Common Stock returns and the market

 indices changed over time and that volatility did not remain constant over the Class Period. For

 each trading day I construct a regression using data from the past 120 trading days. This

 ensures that the relationship between WaMu Common Stock and the market factors updates

 over time according to the data observed over the most recent 120 trading day (roughly six

 month) period. Use of a rolling model to account for changing volatility and changing

 relationships among market indices is observed in the peer-reviewed literature.61


60
  I included a company in the industry index if they were either (1) a member of the KBW BKX index
(which is a bank index published by a third party) in 2006 or 2007 or (2) were among the top 10 mortgage
originators during 2007. The Peer Index includes AmSouth Bancorp, Bank of America, BB&T Corp, The
Bank of New York Mellon Corp, Citigroup, Commerce Bancorp, Compass Bancshares, Comerica,
Capital One Financial Corp, Fifth Third Bancorp, Golden West Financial Corp, Huntington Bancshares
Inc., JPMorgan Chase and Co., KeyCorp, Mellon Financial, Marshall & Isley Corp, M & T Bank Corp,
National City Corp, North Fork Bancorporation Inc., Northern Trust Corp, People's United Financial Inc.,
The PNC Financial Services Group, Regions Financial Corp, Suntrust Banks Inc., State Street Corp, US
Bancorp, Wachovia Corp, Wells Fargo & Co., Zions Bancorporation, Countrywide Financial, and
IndyMac. The peer index is reweighted on a daily basis.
61
  Phillip A. Braun, Daniel B. Nelson, Alain M. Sunier, “Good News, Bad News Volatility, and Betas,”
Journal of Finance 50, 1995, p 1597.


                                              25
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       66.     The models indicate that there is a positive correlation between WaMu Common

Stock and the control variables. For example, looking at the regression for the 120 days prior to

June 9, 2006, the estimated coefficient for the S&P 500 is .913 which means that a 1% rise in

the S&P 500 predicts slightly less than a 1% increase (.913%) in WaMu’s return. The estimated

coefficient for the Peer Index is .598, meaning that the expected return for WaMu is about a .6%

increase for every 1% increase in the Peer Index over and above the return of the S&P 500.

Exhibit 5 shows the estimated coefficients for the WaMu Common Stock rolling regression

models for each day during the Class Period.

       67.     Another important statistic from the regression is the Standard Deviation of the

Errors, which measures the degree of imprecision in the predictions from the model. Using our

example regression on WaMu Common Stock for June 9, 2006, the model predicts that absent

any new firm-specific information the price of WaMu Stock would decline by .337%. Because

of the inherent randomness observed in stock price returns, we do not expect the model to

predict returns exactly. In this example we observe an actual return of -.264%. Thus, the

“abnormal return” is .0731% (the actual return of -.264% minus the predicted return of -.337%).

We then rely on the standard deviation of the errors from the regression model (0.8%) to tell us

if this abnormal return of .0731% is sufficiently large that we reject random movement as the

explanation.

       68.     A “t-statistic” measures the number of standard deviations the actual observation

is from the prediction. For the example date, an abnormal return of .0731% represents 0.091

standard deviations, or a t-statistic of 0.091 (.0731% abnormal return divided by the standard

deviation of the errors of .8%). Probability theory tells us that based on randomness alone, the

abnormal return should only have a t-statistic of greater than 1.96 standard deviations 5% of the




                                            26
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 time.62 Restating this point another way, we have 95% confidence that the actual return will fall

 within 1.96 standard deviations of the predicted return unless there is some non-random

 explanation. Since our example only has a t-statistic of 0.091, we would say that the abnormal

 return is statistically insignificant and we could not reject randomness as the cause. However, if

 on a particular day we observe an abnormal return that has a t-statistic of greater than 1.96

 (“statistically significant”) and we observe new firm-specific information, we reject randomness

 as the explanation and infer that the new information is the cause of the stock price movement.

 Exhibit 5 also shows how the standard deviation of the errors changes over time based on the

 rolling regression model.

        69.    Exhibit 6 presents the abnormal returns and the threshold for statistical

 significance for each day during the Class Period. Statistically significant abnormal returns

 occur when the abnormal return crosses the significance threshold.

        70.    My analysis of the firm-specific information for WaMu securities included news

 articles from Factiva, analyst reports issued by equity research firms covering WaMu, credit

 reports issued by the credit rating agencies, and SEC filings issued by WaMu. For each day

 during the Class Period, I searched for news that would potentially cause a material change in

 the value of WaMu Stock and Preferred Stock. In total, there were thousands of articles,

 hundreds of analyst reports and credit reports, and dozens of SEC filings that I considered.

        71.    WaMu Common Stock experienced a total of 68 trading days with statistically

 significant abnormal returns out of the 694 total trading days during the Class Period. On 54 of

 these trading days there is identifiable company-specific news or analyst coverage. That leaves


62
  David I. Tabak and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the
Courtroom,” Ch. 19, Litigation Services Handbook, The Role of the Financial Expert, Third Edition,
2001.


                                              27
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 only 14 days with “unexplained” significant price movements. Because we use a 95%

 confidence interval for statistical significance, we would expect by random chance alone to

 observe 5% of the days without news to have statistically significant price movements. Indeed,

 we only observe these unexplained movements on 14 out of 416 days, or 3.4%. Appendix C

 identifies the days on which I observe potentially material news and provides a summary of that

 news.63

           72.   Based on the event study I have performed, I find that there is a clear cause and

 effect relationship between new material public information about WaMu and the market price

 of its common stock.



                 G. ADDITIONAL FACTOR 1: MARKET CAPITALIZATION

           73.   Thomas and Cotter find that firms with a larger market capitalization tend to have

 “larger institutional ownership and tend to be listed on the New York Stock Exchange with a

 greater analyst following."64 Therefore, market capitalization is another quantifiable measure

 that is likely correlated with efficiency.

           74.   WaMu Common Stock had higher market capitalization than the vast majority of

NYSE stocks, thus suggesting this factor is supportive of efficiency. During the Class Period,

prior to TPG’s investment in April 2008, WaMu had between 869 million and 998 million shares

outstanding. After the investment, there were 1.71 billion shares outstanding. Insiders, at all

times held less than 0.52% of the outstanding shares. WaMu’s public float (shares outstanding


63
  Appendix C is not meant to be a summary of all potentially material news, nor does it represent the
extent of the information considered on each day. I provide Appendix C simply as a reference to which
days had news and a concise summary of at least a portion of the news from each day.
64
  Randall S. Thomas and James F. Cotter, “Measuring Securities Market Efficiency in the Regulatory
Setting.” Law and Contemporary Problems Vol. 63, p 9.


                                              28
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less insider holdings) ranged from 865 million to 994 million shares prior to the TPG investment

and 1.05 billion to 1.70 billion after.65

         75.    The market capitalization for WaMu Common Stock averaged over $32 billion

during the Class Period. Exhibit 7 shows that WaMu Common Stock’s market capitalization

fell within the 89th to 97th percentile of the combined NYSE and NASDAQ markets during the

Class Period depending on which year is considered.66 In other words, at year-end 2005-2007

and mid-year 2008, WaMu Common Stock had a higher market capitalization than at least 89%

of the firms on the combined NYSE and NASDAQ.

         76.    Given that WaMu Common Stock’s market capitalization is consistently large

 relative to other publicly traded companies, this factor is supportive of market efficiency for

 WaMu Stock.



                    H. ADDITIONAL FACTOR 2: THE BID-ASK SPREAD

        77.     Bid-ask spread is an important indicator of the degree to which a market is

developed. The bid-ask spread represents a measure of the cost to transact in a market. Narrow

bid-ask spreads indicate less uncertainty regarding valuation and that reasonably sized trades will

not substantially impact the market price. Wider bid-ask spreads indicate greater liquidity costs

and less ability to trade without moving the market price. In addition, the wider the bid-ask

spread, the more costly it is to arbitrage away small inefficiencies. Thus, the narrower the bid-

ask spread, the greater indication of an efficient market.


65
  The term “float” can also mean shares outstanding minus insider holdings plus short interest. For ease
of exposition, I am not including the short interest in what I call the “float”.
66
  The market capitalization of all the companies that were traded in the NYSE and the NASDAQ as of
December 30, 2005, December 29, 2006, December 31, 2007 and June 20, 2008 was acquired from
Bloomberg.


                                               29
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         78.    I analyzed bid-ask spreads for WaMu Common Stock and other publicly traded

 stocks in May 2006, May 2007, and June 2008.67 During May 2006, the time weighted average

 bid-ask spread for WaMu Common Stock was 0.044%, this ranked WaMu 3rd among a

 randomly selected group of 100 other NYSE and NASDAQ stocks during this same time.68 The

 May 2007 data yield similar findings. By June 2008, WaMu’s price had fallen substantially and

 its bid-ask spread widened as a percentage of price to 0.138%.69 WaMu still ranked 43rd in bid-

 ask spread among a randomly selected set of companies in June 2008, meaning that 57% of the

 randomly selected companies in June 2008 had higher bid-ask spread. Thus, even with this

 widening of the bid-ask spread in mid-2008, WaMu’s bid-ask spread in June 2008 still supports

 a finding of efficiency. Accordingly, this analysis suggests WaMu Common Stock’s bid-ask

 spread compares favorably with other exchange traded stocks and further supports a conclusion

 of market efficiency.



               I. ADDITIONAL FACTOR 3: INSTITUTIONAL OWNERSHIP

        79.     Institutional investors are considered to be sophisticated, well-informed investors

with access to most publicly available information for the stocks that they own. These investors

include mutual funds, pension funds, investment banks and other types of large financial
67
  I randomly selected a month (May) and then analyzed that month in both 2006 and 2007. I also
included June 2008 because it was the last full month in the Class Period. Quote data for WaMu and
other publicly traded stocks was obtained from the NYSE TAQ database. See www.nyxdata.com.
68
  The average bid-ask spread was calculated by taking a time-weighted average of the spread during
trading hours on the primary exchange of each security. Spread is calculated as the difference between
the bid price and ask price divided by the midpoint of the bid-ask spread. I calculated the National Best
Bid and Offer using the data filtering procedures described in Roger D. Huang, Hans R. Stall, “Dealer
versus auction markets: A paired comparison of execution costs on NASDAQ and the NYSE,” Journal of
Financial Economics Vol. 41, 1996, pp 313-357.
69
   Research shows that stocks with lower prices tend to have higher spreads. See Vipin Agrawal, Meeta
Kothare, Ramesh K.S. Rao, and Pavan Wadhwa, “Bid-ask spreads, informed investors, and the firm’s
financial condition” The Quarterly Review of Economics and Finance Vol. 44, 2004, pp 58–76.


                                               30
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institutions that have substantial resources to analyze the securities they purchase for their

portfolios. Most institutions that hold over $100 million in assets are required to report their

equity holdings on a quarterly basis on SEC Form 13F.70 As Exhibit 8 shows, these large

institutions reported owning an overwhelming majority of WaMu Common Stock during the

Class Period. From the quarter end of December 31, 2005 to June 30, 2008, institutional

holdings of WaMu Stock ranged from 80% to 97% of the shares outstanding according to

Capital IQ.71 This high level of institutional ownership of WaMu Common Stock during the

Class Period indicates that the market price was reflective of active trading by extremely

sophisticated and knowledgeable investors and supports a conclusion of market efficiency.


                      J. ADDITIONAL FACTOR 4: AUTOCORRELATION

           80.    If previous price movements of a security have the ability to predict future price

 movements, then it is said to be “autocorrelated.” Autocorrelation is relevant to efficiency

 because if the autocorrelation is persistent and sufficiently large that a trader could profit from

 taking advantage of the autocorrelation, it suggests market inefficiency because past price

 movements are not fully reflected in the current price.

           81.    Autocorrelation may occur from time to time for random reasons or due to the

 pattern of firm-specific news. Efficiency would only be violated, however, if the

 autocorrelation were large enough and persistent enough that a trader could consistently earn

 riskless profits over time.72



70
     See http://www.sec.gov/about/forms/form13f.pdf
71
  These figures are slightly lower (69% to 94%) if shares outstanding are adjusted for insider holdings
and short interest.
72
  Doron Avramov, Tarun Chorida, and Amit Goyal, “Liquidity and Autocorrelations in Individual Stock
Returns,” The Journal of Finance Vol. LXI No. 5, 2006, pp 2367-8. Michael C. Jensen, “Some


                                               31
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           82.    A well-accepted methodology to test for the existence of autocorrelation is to run

 a regression analysis that tests whether, on average, the abnormal return from the previous day

 has a statistically significant effect on the abnormal return today.73 If the previous day’s

 abnormal return has no statistically significant predictive power, then there is no evidence of

 autocorrelation. Even if the regression shows a significant result for a certain period, then one

 must ask whether the effect is persistently significant and large enough to suggest a predictable

 arbitrage opportunity in the next period.

           83.    Exhibit 9 displays the autocorrelation coefficient during each calendar quarter for

 WaMu Common Stock using the abnormal returns from the event study model described

 above.74 The coefficients fluctuate between positive and negative and only one period (Q2

 2008) shows significant autocorrelation. This data is inconsistent with the notion that an

 investor could consistently predict abnormal movements and earn arbitrage profits. Therefore,

 this factor also supports the conclusion that WaMu Common Stock traded in an efficient market

 throughout the Class Period.




Anomalous Evidence Regarding Market Efficiency,” Journal of Financial Economics Vol. 6 Nos. 2/3,
1978, pp 95-101.
73
     William H. Greene, “Econometric Analysis,” Prentice Hall, Sixth Edition, 2008, Chapter 19, pg. 644.
74
  For purposes of analyzing autocorrelation, it is important to exclude observations from the analysis
where there is company-specific news on the day of the abnormal return and company-specific news
associated with the previous day. Otherwise, the measurement of autocorrelation will be biased by
whether the consecutive news events moved the stock in the same or the opposite direction. I eliminate
such observations based on the list of news events in Appendix C.


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 VIII.        APPLICATION OF EFFICIENCY FACTORS TO WAMU PREFRERRED
                                    SECURITIES

             84.   Now I turn to the preferred securities. Preferred securities are a hybrid between

 equity and debt.75 They often receive a coupon payment like a bond, but may have a very long

 or perpetual maturity. They typically rank junior to debt, but senior to common equity and

 often receive preferential treatment when it comes to dividends.76 The terms associated with

 preferred stock can vary substantially from security to security as they do with the WaMu

 Preferred Securities.

             85.   For example, Series K Preferred Stock has a floating rate (3 month LIBOR +

 0.70%) dividend. The security can be redeemed at the option of the company and is not

 convertible to common stock.77 The Series R Preferred Stock has a fixed dividend of 7.75%, is

 convertible to common at the option of the holder, and has other mandatory conversion

 features.78 Finally, the Capital Trust Unit Preferred Stock is actually two separate securities

 bundled together, and is essentially an equity interest in a trust that holds certain WaMu

 debentures.79 Therefore, the Preferred Securities are not homogeneous and their market values

 are not expected to be perfectly correlated. Moreover, since the Preferred Securities rank senior

 to the common stock, they will not necessarily react to new information in the same way as the

 common stock (especially while there is a substantial equity cushion).




75
  For example, see the discussion in William F. Sharpe, Gordon J. Alexander, Jeffery V. Bailey,
“Investments,” Prentice Hall, Fifth Edition, pages 420.
76
     Id.
77
     WaMu Inc. Series K Preferred Stock Prospectus Supplement filed September 11, 2006.
78
     WaMu Inc. Series R Preferred Stock Prospectus Supplement filed December 11, 2006.
79
  Washington Mutual, Inc. Trust Preferred Income Equity Redeemable Securities (PIERS) Units,
Offering Memorandum dated April 25, 2001.


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        86.    Based on my evaluation of the efficiency factors for WaMu Preferred Securities,

 it is my opinion that these securities also traded in an efficient market. WaMu’s Preferred

 Securities had sufficient trading to suggest an efficient market. In fact, while they traded less

 than WaMu Common Stock (like most securities on the NYSE and NASDAQ), their trading

 was not uncommonly low relative to all stocks traded on the NYSE and NASDAQ during the

 Class Period. Moreover, there was a clear cause and effect relationship between new

 information and price changes, significant analyst coverage. The other factors are also

 generally supportive of efficiency.

        87.    Before proceeding with the formal analysis of each efficiency factor, I briefly

 describe each of the relevant WaMu Preferred Securities.

        88.    The Capital Trust Unit Preferred securities were offered before the Class Period.

 According to the Offering Memorandum dated April 25, 2001, each unit consisted of:

               a preferred security issued by Washington Mutual Capital Trust 2001 (the
               ‘‘Trust’’), having a stated liquidation amount of $50, representing an
               undivided beneficial interest in the assets of the Trust, which assets will
               consist solely of subordinated debentures issued by Washington Mutual,
               Inc. (‘‘Washington Mutual’’) each of which has a principal amount at
               maturity of $50, a stated maturity of July 1, 2041 and, at any time, an
               accreted value as described in this offering memorandum; and

               a warrant to purchase at any time prior to the close of business on May 3,
               2041, .8054 shares of common stock of Washington Mutual. The exercise
               price of each warrant will initially be $32.33 and will accrete on a daily
               basis as described in this offering memorandum to $50 on the expiration
               date.80

The Capital Trust Unit Preferred Stock was traded over the counter (OTC).

        89.    During the Class Period, in September 2006, WaMu offered 20 million depositary

 shares, each representing a 1/40,000th ownership interest in a share of Series K Perpetual Non-

80
  Washington Mutual, Inc. Trust Preferred Income Equity Redeemable Securities (PIERS) Units,
Offering Memorandum dated April 25, 2001.


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 Cumulative Floating Rate Preferred Stock, for a maximum aggregate offering price of $500

 million.81 Dividends on the Series K Preferred Stock were payable quarterly in arrears. WaMu

 could redeem the Series K Preferred Stock on and after the dividend payment date

 in September, 2011. 82 The Series K Preferred Stock was listed on the New York Stock

 Exchange under the symbol “WM PrK”. Shares were issued and began trading mid-September

 2006.

             90.   Also during the Class Period, WaMu offered 3 million shares of Series R

 Preferred Stock shares to the public with a maximum offering amount of $3 billion in December

 2007. 83 The Prospectus Supplement dated December 11, 2007 indicates that dividends on the

 Series R Preferred Stock were payable quarterly in arrears and could be converted at any time

 by the option holder into shares of WaMu common stock. The Series R Preferred Stock was

 listed on the New York Stock Exchange under the symbol “WM PrR.”84 Shares were issued

 and began trading mid-December 2007.

             91.   Exhibit 10 provides certain supplemental details regarding each of the Preferred

 Securities. Exhibit 11 shows the value of a $100 invested in each of the Preferred Securities

 through the Class Period and beyond. Exhibit 12 provides a summary of the efficiency tests for

 each of the Preferred Securities.


              A. CAMMER FACTOR 1: AVERAGE WEEKLY TRADING VOLUME

            92.    Recall that the first Cammer factor is the average weekly trading volume of a

security. The daily trading volumes provide a first indication that the markets for these securities

81
     WaMu Inc. Series K Preferred Stock Prospectus Supplement filed September 11, 2006.
82
     Id.
83
     WaMu Inc. Series R Preferred Stock Prospectus Supplement filed December 11, 2006.
84
     Id.


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had a good deal of liquidity. The average weekly trading volume for the Capital Trust Preferred

Unit was 778 thousand units (median=531 thousand). For the Series K Preferred, the average

weekly trading volume was 679 thousand shares (median=236 thousand), and for the Series R

Preferred the weekly average trading volume was 379 thousand shares (median=334 thousand).

       93.     Exhibits 13, 14 and 15 plot WaMu Preferred Securities’ weekly trading volume

as a fraction of shares outstanding and public float for each week during the Class Period. Each

of the Preferred Securities had average weekly turnover that exceeded 3% of the shares

outstanding, thus indicating strong evidence of an efficient market for WaMu Preferred

Securities.

        94.    Exhibit 16 compares the average annualized turnover velocity (the Cammer

Factor expressed in dollar terms) of each of the three Preferred Securities to the same measure

for the NYSE over the Class Period. WaMu Preferred Securities are at least comparable to the

average stock traded on the NYSE during this time period. The Capital Trust Preferred and

Series R Preferred Securities have an average annualized turnover velocity greater than the

average NYSE stock, and the Series K Preferred has a turnover velocity near the NYSE

average, just 13% lower.

        95.    In short, the trading volumes in WaMu Preferred Securities are either greater than

or comparable to all stocks on the NYSE. The relatively high trading volume in WaMu

Preferred Securities throughout the Class Period supports the conclusion that the markets for

these securities were efficient.




                                           36
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                     B. CAMMER FACTOR 2: ANALYST COVERAGE

        96.    Recall that Exhibit 4 listed an abundance of analyst reports covering WaMu

Common Stock during the Class Period. In addition to the hundreds of reports on WaMu Stock,

there were 96 reports issued by the major credit rating agencies such as S&P, Moody’s and

Fitch concerning WaMu. There were 19 credit rating agency reports that specifically address

WaMu Preferred securities, most of which covered the Capital Trust Preferred Unit. Because

preferred stocks generally are senior to common stock but junior to bonds, reports on bonds

from the credit agencies as well as the reports regarding common stock provide valuable

information in assessing an investment in the Preferred Securities.

        97.    In summary, the breadth of analysts covering WaMu, the quantity of analyst

reports, and the number of credit agency reports issued both before and during the Class Period

indicate that there was an active market for information about WaMu generally and WaMu

Preferred Securities specifically. This level of analyst coverage further suggests that WaMu

Preferred Securities traded in efficient markets.



                       C. CAMMER FACTOR 3: MARKET MAKERS

       98.     Cammer alludes to this factor as relevant for an over the counter market with no

volume reporting. Similarly as for the WaMu Common Stock, the Series K and Series R

Preferred Stocks are not traded over-the-counter, rather each traded on the NYSE and had

continuous volume reporting. As discussed previously, in my opinion, the market structure of

the NYSE is supportive of the conclusion that WaMu Series R and Series K securities traded in

efficient markets.




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        99.     With respect to market makers for the Capital Trust Unit Preferred Stock, I have

reviewed historical daily Market Maker Price Movement Reports made available by the OTC

Bulletin Board.85 These reports detail the all of the market makers updates to price quotes and

quantities for this security. Based on my review, I have found 24 brokers with a substantial

number of quotes (greater than 50) for this security over the Class Period. The high number of

market makers that participated in the market for WaMu Capital Trust Unit Preferred Stock

supports the conclusion that the market for this security was efficient during the Class Period.



                   D. CAMMER FACTOR 4: SEC FORM S-3 ELIGIBILITY

         100. As detailed above, WaMu complied with all the requirements for a company to be

 S-3 eligible and consistently filed Form S-3 for additional securities offerings, including a Form

 S-3 filed on August 20, 2001 and an amendment on August 31, 2001 for the issuance of Capital

 Trust Unit Preferred Stock. WaMu meets the standard of Form S-3 eligibility which supports

 the conclusion that the WaMu Preferred Securities traded in an efficient market.



         E. CAMMER FACTOR 5: PRICE REACTION TO NEW INFORMATION

         101. I also found a strong cause and effect relationship between new firm-specific

 news and movements in the Preferred Securities. I employed the same event study

 methodology described in Section VII, with exception that I include a preferred shares index as




85
  According to the OTC Bulletin Board’s (OTCBB) website, “OTCBB is a regulated quotation service
that displays real-time quotes, last-sale prices, and volume information in over-the-counter (OTC) equity
securities. An OTC equity security generally is any equity that is not listed or traded on NASDAQ or a
national securities exchange. OTCBB securities include national, regional, and foreign equity issues,
warrants, units, American Depositary Receipts (ADRs), and Direct Participation Programs (DPPs).”
https://www.otcbb.com/aboutOTCBB/overview.stm#abouthistory.


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 an additional control.86 As displayed for WaMu Common Stock, Exhibits 17- 19 show the

 estimated coefficients and standard deviation of the errors for each of the WaMu Preferred

 Securities rolling regression models for each day during the Class Period. Also, Exhibits 20 –

 22 display the abnormal returns and the threshold for statistical significance for each day during

 the Class Period for each Preferred Security.

         102. For example, in reaction to the news on October 18th, 2007 that WaMu

 substantially increased their estimated loan losses, the Capital Trust Preferred Share price fell

 by nearly 5%, which was statistically significant. For the Series K Preferred Stock, the return

 was -5.5%, the abnormal return was -5.4% and the t-statistic was -4.3. Series R Preferred Stock

 had not yet been issued.

         103. On March 7, 2008 it was revealed that WaMu had approached private-equity

 firms indicating a need for capital. WaMu Capital Trust Preferred Stock fell almost 6% with an

 abnormal return of -5.8%. The abnormal return was statistically significant as the t-statistic was

 -2.1. For Series K, the return for that day was a decline of over 5% with an abnormal return of -

 4.9% and a t-statistic was -2.4. The Series R Preferred Stock had an abnormal return of -6.6%,

 which is not significant at the 95% threshold, but it would be at the 90% threshold.

         104. Finally, on April 7, 2008 WaMu announced that it had obtained outside financing.

 All three Preferred Securities rose in price in response. The response was not simply predicted

 by the model but can be attributed to the news. The abnormal return for the Capital Trust

 Preferred was over 10% (t-stat=3.39), for Series K was over 6.5% (t-stat=2.58), and for Series R

 was over 22% (t-stat=6.26).


86
   The index is the S&P Preferred Stock Index. The index is an investable benchmark representing the
U.S. preferred stock market. The index includes all preferred stocks issued by U.S. corporations & those
trading in major exchanges, subject to related criteria. (Source CME).


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        105. In total, I identified 41, 29, and 7 statistically significant days associated with new

firm-specific news for the Capital Trust Unit Preferred Stock, Series K Preferred Stock, and

Series R Preferred Stock respectively. Moreover, I find relatively few significant days with no

associated news (recall that we expect 5% due to randomness).

        106. For the Capital Preferred Trust Unit I find that unexplained price movements

occur on 19 out of 412 total trading days without news, or 4.6%. For Series K, these

unexplained price movements occur on 16 out of 219 trading days with no news (7.3%), and

there are no unexplained price movements on any of the 57 trading days with no news for Series

R.

        107. Taken together, the event study demonstrates a strong cause and effect

relationship between newly available public information and changes in the price of WaMu

Preferred Securities. In my opinion, the swift and substantial reaction to incorporate

unexpected news into the securities’ prices, as reflected in the event study, is supportive of an

efficiency finding.



                F. ADDITIONAL FACTOR 1: MARKET CAPITALIZATION

        108. In many respects, it makes sense to consider the market capitalization of WaMu

as a whole for the Preferred Securities because the overall size of WaMu affects things such as

the amount of news and analyst coverage. In that case, the opinion I reached in the previous

section is applicable to the Preferred Securities.

        109. Even if I only consider the market capitalization of the Preferred Securities

individually, it provides support that the securities traded in an efficient market. Exhibit 23

shows a calculation of the market capitalization at several points in time during the Class Period




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for each Preferred Security. The table below summarizes how the market capitalization for the

three WaMu Preferred Securities compares against the size of other common stocks on the NYSE

and NASDAQ.87

         Preferred Security                               Percentile Rank in NYSE&NASDAQ

                                                          2005-2008 (highest rank associated with

                                                          largest market cap, e.g. 100th percentile

                                                          would be largest company)

         Capital Trust Preferred Unit                     54th to 66th

         Series K Preferred Unit                          37th to 46th

         Series R Preferred Unit                          72nd to 76th



         110. For example, the Capital Trust Preferred Unit was, at least, in the 54th percentile

 of all stocks on the NYSE and NASDAQ. Thus, it had a greater market capitalization than at

 least 54% of other publicly traded stocks on those two exchanges. Even the Series K Preferred

 Stock, which had the smallest market capitalization of the three securities, was larger than at

 least 37% of stocks traded on the NYSE and NASDAQ.

         111. I am also unaware of any insider holdings of Preferred Securities, therefore the

 float is equal to the amount outstanding shown on Exhibit 23.

         112. Given that WaMu’s Preferred Securities’ market capitalizations are comparable to

 the market capitalizations of common stocks traded on the NYSE, this factor is supportive of

 market efficiency for all of the securities.



87
  I calculated market capitalization by multiplying the closing prices with shares outstanding at year-end
2005-2007 and mid-year 2008.


                                                41
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                    G. ADDITIONAL FACTOR 2: THE BID-ASK SPREAD

        113. As with the Common Stock, I analyzed bid-ask spreads for WaMu Preferred

 Securities and compared them to a random sample of other publicly traded stocks in May 2006,

 May 2007, and June 2008.88 The Preferred Securities’ bid-ask spreads tend toward the last third

 and fourth quartiles when compared to the NYSE and NASDAQ stocks. Thus, while we cannot

 say that the Preferred Securities compare favorably to the average stock, their bid-ask spreads

 are lower than the bid-ask spread for many common stocks. The table below shows the bid ask

 spread by month and how WaMu Preferred Securities rank.

                    Security                Time Period        WaMu Spread     WaMu Rank
                                             May 2006              1.826%           91
          Capital Trust Preferred Unit       May 2007              1.016%           88
                                             June 2008             2.467%           86
               Preferred Series K            May 2007              0.538%           79
                                             June 2008             1.386%           85
               Preferred Series R            June 2008             0.334%           64

         Sources: TICK Data

        114.    For example, in May 2007, the Capital Trust Unit Preferred Stock had a bid-ask

 spread of 1.016%, which ranked in the 88th percentile of bid-ask spreads within the 100

 company random sample. This implies that 88% of common stocks have lower bid ask spreads

 and 12% have higher bid ask spreads. The comparison is more favorable for Preferred Series R,

 which has a bid ask spread in June 2008 of 0.334%, which ranks in the 64th percentile, thus

 indicating that 36% of common stocks in our random sample from the NYSE and NASDAQ

 have higher spreads. Taken together with other factors, especially volume and cause and effect,

 I find that the bid-ask spread analysis is supportive of an efficiency finding.


88
  Quote data for WaMu and other publicly traded stocks was obtained from the Tick Data. See
www.tickdata.com. I use the June 2008 data only for comparisons regarding the Series K and R Preferred
Stocks.


                                             42
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                 H. ADDITIONAL FACTOR 3: INSTITUTIONAL OWNERSHIP

           115. To date, I have not found data for institutional holdings of Preferred Securities. A

 review of SEC Section 13(f) securities lists indicates that the Preferred Securities were not

 included.


                       I. ADDITIONAL FACTOR 4: AUTOCORRELATION

           116. As with the common stock, I performed a regression analysis for each Preferred

 Security during the Class Period that tests whether, on average, the abnormal return from the

 previous day has a statistically significant effect on the abnormal return today.89 If the previous

 day’s abnormal return has no statistically significant predictive power, then there is no evidence

 of autocorrelation. Even if the regression shows a significant result for a certain period, then

 one must ask whether the effect is persistently significant and large enough to suggest a

 predictable arbitrage opportunity in the next period. If no such arbitrage opportunity exists,

 then there is insufficient evidence to conclude the market is inefficient.

           117. Exhibit 24 shows the quarterly autocorrelation coefficients. 90        Series R traded

 only for the last two quarters and the autocorrelation was not significant as a whole or consistent

 between the two quarters. It shows that there is no consistent autocorrelation for the Series K

 Preferred Stock. There is some evidence of negative autocorrelation in the first few quarters,

 but it abruptly disappears and there is a positive coefficient in Q3 2007. No quarter after that is

89
     William H. Greene, “Econometric Analysis,” Prentice Hall, Sixth Edition, 2008, Chapter 19, pg. 644.
90
  Consistent with my procedure for analyzing WaMu Common Stock, for purposes of analyzing
autocorrelation, it is important to exclude observations from the analysis where there is company-specific
news on the day of the abnormal return and company-specific news associated with the previous day.
Otherwise, the measurement of autocorrelation will be biased by whether the consecutive news events
moved the stock in the same or the opposite direction. I eliminate such observations based on the list of
news events in Appendix C.


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statistically significant. Since there is no consistent pattern to the autocorrelation, it suggests

there was no arbitrage opportunity and the analysis is supportive of an efficient market.

       118. For the Capital Trust Unit Preferred, the autocorrelation is zero in the first quarter,

but then negative in every period and significant at the 95% level in five of the next 11 quarters.

Although the negative autocorrelation appears to diminish over the final year, the

autocorrelation after the first quarter is in a consistent direction over time. However, Exhibit

25 demonstrates that the degree of autocorrelation is so small relative to the bid-ask spread that

it is insufficient to generate an arbitrage trading strategy. To reach this conclusion, I take the

coefficient on the prior day abnormal return from the regression (which measures the fraction of

the current day’s abnormal price return that is predicted to reverse tomorrow) and multiply it by

the average absolute return for that period. This provides a measure of the average daily profit

that could be earned by observing yesterday’s price movement. I then compare that to one-half

of the average bid-ask spread – which reflects one of the transaction costs an investor would

face in executing a trade. Exhibit 25 shows that the trading cost (as measured by one half of

the bid-ask spread) is substantially higher than the average daily profit opportunity in every

single period. Therefore, the measured autocorrelation is insufficient to present a consistent

arbitrage opportunity and is therefore not evidence of an inefficient market.

       119. In sum, the autocorrelation analysis supports the conclusion that WaMu Preferred

Securities traded in efficient markets.



                                   IX.    LOSS CAUSATION

       120. As stated in a previous declaration I filed in this matter, I have formed the opinion

that Plaintiffs’ Complaint provides a clear and economically coherent theory of loss causation.




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It provides an economically logical basis of how and why the alleged fraud would result in

inflated prices for WaMu’s securities and specific, logical, and economically coherent theory of

causal linkage to information disclosures that caused declines in price – and thus losses for

WaMu investors. I reached this opinion by noting that if Plaintiffs are able to prove, as they

clearly allege in the Complaint, that WaMu withheld material information from the market

regarding its appraisal practices, underwriting standards and the credit quality of its customers,

then there is a coherent economic and logical link between those facts and later price declines

because the foreseeable consequence of lending money to less creditworthy individuals and/or

on a less secure basis than disclosed to the market is, at some point, incurring larger than

expected credit losses and the need to record greater loss reserves (as WaMu announced on

October 18, 2007 and other dates). The analysis I have performed in preparing this report on

market efficiency has only served to reinforce my prior opinions.

       121. I also opined in my previous declaration that fact discovery and further expert

analysis will play an important role in determining whether, and to what extent, the events

alleged in the Complaint (or other events) will prove loss causation. I have not been asked to,

nor have I undertaken, all the analyses that would be required to form an opinion with respect to

proof of loss causation in this matter.



                                              Respectfully Submitted on April 30, 2010




                                            45
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                                                                 Exhibit 1
                                                        Summary of Efficiency Factors for Washington Mutual Common Stock


     Factor                                               Summary of Factor                                                                    Washington Mutual Common Stock
Average Weekly      "Turnover measured by average weekly trading of 2% or more of the outstanding shares
                                                                                                                     • Average weekly trading volume of 9.17% as a percentage of shares outstanding
Trading Volume      would justify a strong presumption that the market for a security is an efficient one; 1%
                                                                                                                     (18 million shares traded daily).
   Cammer I         would justify a substantial presumption."


                 “…it would be persuasive to allege a significant number of securities analysts followed and
Analyst Coverage reported on a company's stock during the class period. The existence of such analysts would • During the Class Period at least 30 securities analysts issued hundreds of analyst
  Cammer II      imply, for example, the [auditor] reports were closely reviewed by investment professionals, reports.
                 who would in turn make buy/sell recommendations to client investors.”


                    “For over the counter markets without volume reporting, the number of market makers is
 Market Makers      probably the best single criterion. Ten market makers for a security would justify a
                                                                                                                     • Exchange-Traded (NYSE), not over the counter
  Cammer III        substantial presumption that the market for the security is an efficient one; five market
                    makers would justify a more modest presumption.”

                    "It would be helpful to allege the Company was entitled to file an S-3 Registration Statement
  SEC Form S-3      in connection with public offerings or, if ineligible, such ineligibility was only because of
    Eligibility     timing factors rather than because the minimum stock requirements set forth in the            • S-3 Eligible
   Cammer IV        instructions to Form S-3 were not met. Again, it is the number of shares traded and value of
                    shares outstanding that involve the facts which imply efficiency."

Price Reaction to   “…one of the most convincing ways to demonstrate [market] efficiency would be to illustrate,
New Information     over time, a cause and effect relationship between company disclosures and resulting         • Event study demonstrates a clear cause and effect relationship.
   Cammer V         movements in stock price.”


                                                                                                                     • As of December 31, 2005-2007 and June 30, 2008 WaMu's market capitalization was at
    Market          Firms with a larger market capitalization tend to have “larger institutional ownership and
                                                                                                                     or above the 89th percentile of NYSE and NASDAQ stocks.
 Capitalization     tend to be listed on the New York Stock Exchange with a greater analyst following."
                                                                                                                     • Insiders never held more than 0.52% of the shares outstanding.



                    The bid-ask spread represents a measure of the cost to transact in a market. Narrow bid-ask
                    spreads indicate less uncertainty regarding valuation and that reasonably sized trades will • Based on a random sample of stocks, Washington Mutual's Common Stock bid-ask
 Bid-Ask Spread
                    not substantially impact the market price. Wider bid-ask spreads indicate greater liquidity spread is lower than most stocks that traded on the NYSE and NASDAQ.
                    costs and less ability to trade without moving the market price.


  Institutional     Institutional investors are considered to be sophisticated, well-informed investors with access
                                                                                                                    • Institutions held at least 80% of the shares outstanding.
    Holdings        to most publicly available information for the stocks that they own.

                    If autocorrelation is persistent and sufficiently large that a trader could profit from taking
Autocorrelation     advantage of the autocorrelation, it suggests market inefficiency because past price             • No evidence of autocorrelation.
                    movements are not fully reflected in the current price.




                                                                                     Prepared by Winnemac Consulting, LLC
                                                                                                                                                                                                                 Volume
                                                                                                                                    450M


                                                                                                                                                                                  400M


                                                                                                                                                                                          350M


                                                                                                                                                                                                   300M


                                                                                                                                                                                                                250M


                                                                                                                                                                                                                              200M


                                                                                                                                                                                                                                           150M


                                                                                                                                                                                                                                                    100M


                                                                                                                                                                                                                                                            50M


                                                                                                                                                                                                                                                                  0M




                                                                                                                                                                                                                                                                       9/19/2008
                                                                                                                                                                                                                                                                       8/19/2008
                                                                                                                                                                                                                                                                       7/19/2008
                                                                                                                                                                                                                                                                       6/19/2008
                                                                      Washington Mutual Common Stock Daily Price & Closing Volume




                                                                                                                                                                                                                                                                       5/19/2008
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                                                                                                                                                                                                                                                                       4/19/2008
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                                                                                                                                                                                                                                                                            /2007
                                                                                                                                                                                                                                                                       11/19/
                                                                                                                                                                                                                                                                            /2007
                                                                                                                                                                                                                                                                       10/19/
                                                                                                                                                                                                                                                                            /2007




                                                                                                                                                                                                                                                                                                        Prepared by Winnemac Consulting, LLC
                                                                                                                                                                                                                                                                       9/19/2007
                                                                                                                                                                                                                                                                       8/19/2007
                                                                                          10/19/2005 - 9/26/2008




                                                                                                                                                                                                                                                                       7/19/2007




                                                                                                                                                                                                                                                                                         Price
                                                                                                                                                                                                                                                                       6/19/2007
                                                                                                                                           Class Period: 10/19/2005 - 7/23/2008
                                                                                                Exhibit 2




                                                                                                                                                                                                                                                                       5/19/2007
                                                                                                                                                                                                                                                                       4/19/2007




                                                                                                                                                                                                                                                                                         Volume
                                                                                                                                                                                                                                                                       3/19/2007
                                                                                                                                                                                                                                                                       2/19/2007
                                                                                                                                                                                                                                                                       1/19/2007
                                                                                                                                                                                                                                                                       12/19/
                                                                                                                                                                                                                                                                            /2006
                                                                                                                                                                                                                                                                       11/19/
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                                                                                                                                                                                                                                                                       9/19/2006
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                                                                                                                                                                                                                                                                       5/19/2006
                                                                                                                                                                                                                                                                       4/19/2006
                                                                                                                                                                                                                                                                       3/19/2006
                                                                                                                                                                                                                                                                       2/19/2006
                                                                                                                                                                                                                                                                       1/19/2006




                                                                                                                                                                                                                                                                                    Source: Bloomberg
                                                                                                                                                                                                                                                                       12/19/
                                                                                                                                                                                                                                                                            /2005
                                                                                                                                                                                                                                                                       11/19/
                                                                                                                                                                                                                                                                            /2005
                                                                                                                                                                                                                                                                       10/19/
                                                                                                                                                                                                                                                                            /2005

                                                                                                                                    $50


                                                                                                                                                                                  $45


                                                                                                                                                                                         $40


                                                                                                                                                                                                 $35


                                                                                                                                                                                                          $30


                                                                                                                                                                                                                        $25


                                                                                                                                                                                                                                     $20


                                                                                                                                                                                                                                              $15


                                                                                                                                                                                                                                                      $10


                                                                                                                                                                                                                                                            $5


                                                                                                                                                                                                                                                                  $0
                                                                                                                                                                                                                       Price
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                                                  Exhibit 3
                      Washington Mutual Common Stock Average Weekly Trading Volume
                                   As a Percentage of Shares Outstanding
                                              10/19/05 - 7/23/08
60%


                                Average Weekly Volume as
50%                             Percentage of Shares Outstanding:
                                Average: 9.17%
                                Median: 3.23%

40%



                                                             "1% average weekly trading volume
30%                                                          of the outstanding shares justify a
                                                             substantial presumption" (Cammer)
            "2%
             2% average weekly trading volume of
            the outstanding shares justify strong
20%         presumption that the market for the
            security is an efficient one" (Cammer)


10%




0%
      10/19/2005
      11/9/2005
      12/1/2005
      12/22/2005
      1/17/2006
      2/7/2006
      3/1/2006
      3/22/2006
      4/12/2006
      5/4/2006
      5/25/2006
      6/16/2006
      7/10/2006
      7/31/2006
      8/21/2006
      9/12/2006
      10/3/2006
      10/24/2006
      11/14/2006
      12/6/2006
      12/28/2006
      1/23/2007
      2/13/2007
      3/7/2007
      3/28/2007
      4/19/2007
      5/10/2007
      6/1/2007
      6/22/2007
      7/16/2007
      8/6/2007
      8/27/2007
      9/18/2007
      10/9/2007
      10/30/2007
      11/20/2007
      12/12/2007
      1/4/2008
      1/28/2008
      2/19/2008
      3/11/2008
      4/2/2008
      4/23/2008
      5/14/2008
      6/5/2008
      6/26/2008
      7/18/2008
  Source: Bloomberg                                            Volume as a % of Shares Outstanding



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                                                                                                                          Exhibit 4
                                           Summary of Available WaMu Securities Analyst Reports and Credit Rating Reports1

                                                     Common Stock Reports                                                                                                                Credit Rating Reports

                                                                                     2005 2 2006           2007      2008 3           Total                                                 2005 2   2006   2007   2008 3   Total
COLUMBINE CAPITAL                                                                      0      0             47         4               51                             S&P                     1       19     10      13      43
FOX PITT KELTON COCHRAN CARONIA WALLER                                                 0      6             20         9               35                             MOODY'S                 1        8     17       5      31
PUNK, ZIEGEL & CO.                                                                     3     14             14         3               34                             FITCH RATINGS           2        5      5       4      16
PIPER JAFFRAY                                                                          2     10             11         8               31                             HSBC                    0        1      2       2      5
CREDIT SUISSE                                                                          2     10             13         4               29                             BEAR STEARNS            0        1      0       0      1
MERRILL LYNCH                                                                          0     10              9         9               28                             Total                   4       34     34      24      96
D.A. DAVIDSON & CO.                                                                    1      8             12         3               24
CITI                                                                                   0      9              9         4               22
J.P.MORGAN                                                                             1      9              6         2               18
UBS                                                                                    3      2              7         6               18
BARCLAYS CAPITAL                                                                       0      0              9         8               17
MORGAN STANLEY                                                                         2      6              6         2               16
BEAR STEARNS                                                                           0      1              8         4               13                                            Credit Rating Reports That Cover
KBW                                                                                    0      0              6         7               13                                                                    4
                                                                                                                                                                                             Preferred Stock
STIFEL NICOLAUS                                                                        0      0              6         3                9
MORNINGSTAR                                                                            0      0              6         2                8
STERNE, AGEE & LEACH, INC.                                                             0      6              1         0                7                                                   2005 2   2006   2007   2008 3   Total
RISKMETRICS                                                                            0      0              6         0                6                             S&P                     0        1      4      4       9
NEW CONSTRUCTS LLC                                                                     0      4              2         0                6                             MOODY'S                 0        0      3      3       6
FBR                                                                                    0      0              5         0                5                             FITCH RATINGS           1        1      2      0       4
GOVERNANCEMETRICS INTERNATIONAL                                                        0      2              2         1                5                             Total                   1        2      9      7       19
WALL STREET STRATEGIES                                                                 0      0              4         0                4
MOORS AND CABOT, INC.                                                                  2      2              0         0                4
VALUENGINE, INC.                                                                       1      1              1         1                4
PRUDENTIAL EQUITY GROUP, INC.                                                          0      3              1         0                4
DEUTSCHE BANK                                                                          2      2              0         0                4
BEST INDEPENDENT RESEARCH                                                              0      0              1         2                3
RAPID RATINGS                                                                          0      0              3         0                3
LADENBURG, THALMANN & CO. INC.                                                         0      0              0         2                2
LEHMAN BROTHERS                                                                        0      0              0         2                2
Total                                                                                  19   105            215         86              425

Sources: Thomson Finanical, S&P, and Moody's


Notes:
1
    For multiple reports issued on the same date by the same analyst, I count them as one.
2
    Only reports issued on or after the beginning of the Class Period.
3
    Only reports issued on or before the end of the Class Period.
4
    Credit Rating Reports that cover the preferred stock are a subset of all credit rating reports. All but one report counted covers the WaMu Capital Trust Unit Preferred Stock.




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                                                                                      Exhibit 5
                                                         Rolling Regression Results for Washington Mutual Common Stock1
                                                                               10/19/2005 - 7/23/2008
       3.0                                                                                                                                                                                                                                                                                                      7.0%



                                                                                                                                                                                                                                                                                                                6.0%
       2.5


                                                                                                                                                                                                                                                                                                                5.0%
       2.0




                                                                                                                                                                                                                                                                                                                       Standard Deviation of the Errors
                                                                                                                                                                                                                                                                                                                4.0%

       1.5
Beta




                                                                                                                                                                                                                                                                                                                3.0%

       1.0
                                                                                                                                                                                                                                                                                                                2.0%


       0.5
                                                                                                                                                                                                                                                                                                                1.0%



       0.0                                                                                                                                                                                                                                                                                                      0.0%
             10/19/2005

                          12/1/2005

                                      1/17/2006

                                                  3/1/2006

                                                             4/12/2006

                                                                          5/25/2006

                                                                                      7/10/2006

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                                                                                                                          11/14/2006

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                                                                                                                                                                                                                                                                             4/23/2008

                                                                                                                                                                                                                                                                                         6/5/2008

                                                                                                                                                                                                                                                                                                    7/18/2008
                                                                         S&P 500 Beta                                      Value Weighted Peer Index Beta                                                          Standard Deviation of the Errors
   Source: Bloomberg
   1Each data point reflects a value from a regression of WaMu common stock returns controlling for the S&P 500 Total Return and a Value Weighted Peer Index (Net of

   Market) using data from the previous 120 trading days.




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                                                                                                             Exhibit 6
                                                                                         Washington Mutual Common Stock Abnormal Returns1
                                                                                                       10/19/2005 - 7/23/2008
                  30%




                  20%


                                Threshold for statistical significance
                  10%




                   0%
   ormal Return




                  -10%
                     %
Abno




                  -20%

                                                                                                                                                                                                                           Return after removing
                                                                                                                                                                                                                           effect of market movements
                  -30%
                         10/19/2005

                                      12/1/2005

                                                  1/17/2006

                                                              3/1/2006

                                                                          4/12/2006

                                                                                      5/25/2006

                                                                                                  7/10/2006

                                                                                                              8/21/2006

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                                                                                                                                      11/14/2006

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                                                                                                                                                                                                                                                                               3/11/2008

                                                                                                                                                                                                                                                                                           4/23/2008

                                                                                                                                                                                                                                                                                                       6/5/2008

                                                                                                                                                                                                                                                                                                                  7/18/2008
         Source: Bloomberg
         1Each data point reflects an abnormal value from a regression of WaMu common stock returns controlling for the S&P 500 Total Return and a Value Weighted Peer

         Index Returns (Net of Market) using data from the previous 120 trading days.




                                                                                                                            Prepared by Winnemac Consulting, LLC
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                                                                      Exhibit 7
                                                          Washington Mutual Common Stock
                                      Market Capitalization Compared to Companies Traded on NYSE & NASDAQ

                                   Shares Outstanding                                             Market Cap    Percentile Rank in
          Date                                                Market Price
                                        (in 000s)                                                   (in 000s)   NYSE & NASDAQ
   December 31, 2005                     986,710                  $43.50                          $42,921,885          97th
   December 31, 2006                     945,221                  $45.49                          $42,998,103          97th
   December 31, 2007                     868,723                  $13.61                          $11,823,320          90th
     June 30, 2008                      1,705,344                  $4.93                           $8,407,346          89th


Sources: Bloomberg, WaMu SEC Schedule 14a, 2005-2008




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                                              Exhibit 8
              Washington Mutual Common Stock Shares Outstanding and Institutional Holdings


                                                                      Float
                      Shares Outstanding     Insider Holdings    (Shares Out less   Total Institutional Holdings   Institutional Holdings % as
       Date                (in 000s)             (in 000s)      Insider Holdings)             (in 000s)                Shares Outstanding


    12/31/2005               986,710                2,864            983,846                  816,459                        82.75%

    3/31/2006                992,255                2,864            989,391                  789,066                        79.52%

    6/30/2006                960,750                2,864            957,886                  808,480                        84.15%

    9/30/2006                962,880                2,864            960,016                  782,471                        81.26%

    12/31/2006               945,221                3,007            942,214                  835,581                        88.40%

    3/31/2007                889,035                3,007            886,028                  862,925                        97.06%

    6/30/2007                888,408                3,007            885,401                  865,312                        97.40%

    9/30/2007                870,584                3,007            867,577                  770,583                        88.51%

    12/31/2007               868,723                3,228            865,495                  795,809                        91.61%

    3/31/2008                882,557                3,228            879,329                  857,729                        97.19%

    6/30/2008               1,705,344               5,499           1,699,845                1,371,852                       80.44%



Sources: Capital IQ, Bloomberg, SEC Schedule 14a, 2005 - 2008




                                                     Prepared by Winnemac Consulting, LLC
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                            Exhibit 9
            Autocorrelation Coefficients By Calendar
               Quarter for WaMu Common Stock

                                 Coefficient
                               on Previous Day
                Quarter       Abnormal Return1             t-stat
                2005Q4                0.08                  0.58
                2006Q1                -0.31                -2.36
                2006Q2                -0.03                -0.30
                2006Q3                -0.03                -0.25
                2006Q4                -0.10                -0.90
                2007Q1                0.16                  1.28
                2007Q2                -0.04                -0.34
                2007Q3                -0.02                -0.14
                2007Q4                -0.34                -1.19
                2008Q1                0.02                  0.09
                2008Q2                0.01                  0.06

        1
         For each quarter I perform a regression with the abnormal return
        from the event study as the dependent variable and the previous
        day's abnormal return as the independent variable. I exclude
        observations for which there is news on the date of interest and news
        on the previous day.
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                                                                  Exhibit 10
                                                Summary of Washington Mutual Preferred Securities


                                                                                                                                                                          Amount
                                                                                                                             Maturity                                     Issued
        CUSIP                       Issuer                                Description                      Issue Date         Date          Exchange Issue Price         (Millions)
           [1]                        [2]                                     [3]                              [4]             [5]             [6]       [7]                [8]

 11    939322848      Washington Mut Cap Tr I                Capital Trust Unit Preferred Stock            7/16/2001         5/3/2041          OTC          $50.00         $1,150
 3     939322830      Washington Mutual Inc                  Series K Preferred Stock                      9/18/2006                          NYSE          $25.00          $500
 4     939322814      Washington Mutual Inc                  Series R Preferred Stock                     12/17/2007                          NYSE        $1,000.00        $3,000


Source: Bloomberg

Notes:
1
  According to Washington Mutual, Inc. 's 2007 10K, "In the second quarter of 2001, Washington Mutual Capital Trust 2001 issued 23 million units, totaling $1.15 billion, of Trust
Preferred Income Equity Redeemable SecuritiesSM, through the issuance of $1.19 billion of 5.38% subordinated debentures, due in 2041. Each unit consists of a preferred security
having a stated liquidation amount of $50 and a current yield of 5.38%, and a warrant to purchase at any time prior to the close of business on May 3, 2041, 1.2081 shares of common
stock of Washington Mutual. At any time after issuance of the units, the preferred security and warrant components of each unit may be separated by the holder and transferred
separately. Thereafter, a separated preferred security and warrant may be combined to form a unit. The initial warrant exercise price was $32.33 and the warrant exercise price on the
expiration date of the warrants will equal $50. As of December 31, 2007, the warrant exercise price was $32.81."




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                                                                                                           Exhibit 11
                                                    Daily Closing Price for Washington Mutual Preferred Securities
                                                                   Indexed to $100 as of Issue Date
                                                                           10/19/05 - 9/26/2008
$140
                                                                          Class Period: 10/19/2005 - 7/23/2008

$120



$100



 $80



 $60



 $40



 $20



  $0
       10/19/2005


                    12/19/2005


                                 2/19/2006


                                             4/19/2006


                                                         6/19/2006


                                                                     8/19/2006


                                                                                 10/19/2006


                                                                                              12/19/2006


                                                                                                            2/19/2007


                                                                                                                        4/19/2007


                                                                                                                                    6/19/2007


                                                                                                                                                8/19/2007


                                                                                                                                                               10/19/2007


                                                                                                                                                                            12/19/2007


                                                                                                                                                                                         2/19/2008


                                                                                                                                                                                                     4/19/2008


                                                                                                                                                                                                                 6/19/2008


                                                                                                                                                                                                                             8/19/2008
                                                                     Capital Trust Unit                                 Series K                            Series R
 Source: Bloomberg



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                                                                  Exhibit 12
                                                      Summary of Efficiency Factors for Washington Mutual Preferred Securities


     Factor                                                Summary of Factor                                                                 Washington Mutual Preferred Securities

Average Weekly      "Turnover measured by average weekly trading of 2% or more of the outstanding shares
                                                                                                                      • Each of the three preferred stocks analyzed have an average weekly trading volume
Trading Volume      would justify a strong presumption that the market for a security is an efficient one; 1%
                                                                                                                      greater than 3%.
   Cammer I         would justify a substantial presumption."



                 “…it would be persuasive to allege a significant number of securities analysts followed and
                                                                                                                      • Preferred Securities were rated by S&P, Moody's, and Fitch. The hundreds of
Analyst Coverage reported on a company's stock during the class period. The existence of such analysts would
                                                                                                                      securities analyst reports covering WaMu common stock are also relevant to an
  Cammer II      imply, for example, the [auditor] reports were closely reviewed by investment professionals,
                                                                                                                      evaluation of the preferred securities.
                 who would in turn make buy/sell recommendations to client investors.”


                    “For over the counter markets without volume reporting, the number of market makers is
                                                                                                                     • The Series R and Series K Preferred Stocks were traded on the NYSE, not over-the-
 Market Makers      probably the best single criterion. Ten market makers for a security would justify a substantial
                                                                                                                     counter. The WM Capital Trust Unit Preferred Stock was traded over-the-counter and
  Cammer III        presumption that the market for the security is an efficient one; five market makers would
                                                                                                                     had 24 market makers during the Class Period.
                    justify a more modest presumption.”



                    "It would be helpful to allege the Company was entitled to file an S-3 Registration Statement
  SEC Form S-3      in connection with public offerings or, if ineligible, such ineligibility was only because of
                                                                                                                      • S-3 Eligible
    Eligibility     timing factors rather than because the minimum stock requirements set forth in the
   Cammer IV        instructions to Form S-3 were not met. Again, it is the number of shares traded and value of
                    shares outstanding that involve the facts which imply efficiency."


Price Reaction to   “…one of the most convincing ways to demonstrate [market] efficiency would be to illustrate,
New Information     over time, a cause and effect relationship between company disclosures and resulting         • Event study demonstrates a clear cause and effect relationship.
   Cammer V         movements in stock price.”



    Market          Firms with a larger market capitalization tend to have “larger institutional ownership and        • Even when compared to common stocks, WaMu Preferred Securities each
 Capitalization     tend to be listed on the New York Stock Exchange with a greater analyst following."               individually fall above the 37th percentile among NYSE and NASDAQ stocks.




                    The bid-ask spread represents a measure of the cost to transact in a market. Narrow bid-ask       • Based on a random sample of one hundred NYSE and NASDAQ stocks, in May of
                    spreads indicate less uncertainty regarding valuation and that reasonably sized trades will       2007 12% of stocks had higher bid-ask spread than the Capital Trust Unit and 21% had a
 Bid-Ask Spread
                    not substantially impact the market price. Wider bid-ask spreads indicate greater liquidity       higher bid-ask spread than the Series K. Based on the same sized sample, in June 2008
                    costs and less ability to trade without moving the market price.                                  36% of stocks had a higher bid-ask spread than the Series R.



  Institutional     Institutional investors are considered to be sophisticated, well-informed investors with access
    Holdings        to most publicly available information for the stocks that they own.


                    If autocorrelation is persistent and sufficiently large that a trader could profit from taking
                                                                                                                      • No evidence of consistent autocorrelation that would suggest a profitable arbitrage
Autocorrelation     advantage of the autocorrelation, it suggests market inefficiency because past price
                                                                                                                      opportunity.
                    movements are not fully reflected in the current price.




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                                                 Exhibit 13
                            Washington Mutual Capital Trust Unit Preferred Stock
                     Average Weekly Trading Volume As a Percentage of Units Outstanding
                                            10/19/2005-7/23/2008
35%

                                            Average Weekly Volume as
30%                                         Percentage of Shares Outstanding:
                                            Average: 3.38%
                                            Median: 2.31%

25%



20%
                                                                   "1% average weekly trading volume
                                                                   of the outstanding shares justify a
                                                                   substantial presumption" (Cammer)
15%
                    "2%
                     2% average weekly trading volume of
                    the outstanding shares justify strong
                    presumption that the market for the
10%                 security is an efficient one" (Cammer)



5%



0%
      10/19/2005



      12/22/2005




      10/24/2006
      11/14/2006

      12/28/2006




      10/30/2007
      11/20/2007
      12/12/2007
       11/9/2005
       12/1/2005

       1/17/2006
        2/7/2006
        3/1/2006
       3/22/2006
       4/12/2006
        5/4/2006
       5/25/2006
       6/16/2006
       7/10/2006
       7/31/2006
       8/21/2006
       9/12/2006
       10/3/2006



       12/6/2006

       1/23/2007
       2/13/2007
        3/7/2007
       3/28/2007
       4/19/2007
       5/10/2007
        6/1/2007
       6/22/2007
       7/16/2007
        8/6/2007
       8/27/2007
       9/18/2007
       10/9/2007




        1/4/2008
       1/28/2008
       2/19/2008
       3/11/2008
        4/2/2008
       4/23/2008
       5/14/2008
        6/5/2008
       6/26/2008
       7/18/2008
                                                              Volume as a % of Units Outstanding
Source: Bloomberg


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                                                  Exhibit 14
                                 Washington Mutual Series K Preferred Stock
                     Average Weekly Trading Volume As a Percentage of Shares Outstanding
                                             9/13/2006-7/23/2008
30%


                                                          Average Weekly Volume as
                                                          Percentage of Shares Outstanding:
25%
                                                          Average: 3.40%
                                                          Median: 1.18%


20%


                                                                      "1% average weekly trading volume
                                                                      of the outstanding shares justify a
15%
                                                                      substantial presumption" (Cammer)

                     "2% averageg weekly  y trading
                                                  g volume of
                     the outstanding shares justify strong
10%                  presumption that the market for the
                     security is an efficient one" (Cammer)



5%




0%
      9/13/2006
      9/27/2006
      10/11/2006
      10/25/2006
      11/8/2006
      11/22/2006
      12/7/2006
      12/21/2006
      1/9/2007
      1/24/2007
      2/7/2007
      2/22/2007
      3/8/2007
      3/22/2007
      4/5/2007
      4/20/2007
      5/4/2007
      5/18/2007
      6/4/2007
      6/18/2007
      7/2/2007
      7/17/2007
      7/31/2007
      8/14/2007
      8/28/2007
      9/12/2007
      9/26/2007
      10/10/2007
      10/24/2007
      11/7/2007
      11/21/2007
      12/6/2007
      12/20/2007
      1/7/2008
      1/22/2008
      2/5/2008
      2/20/2008
      3/5/2008
      3/19/2008
      4/3/2008
      4/17/2008
      5/1/2008
      5/15/2008
      5/30/2008
      6/13/2008
      6/27/2008
      7/14/2008
                                                                Volume as a % of Shares Outstanding
 Source: Bloomberg


                                                      Prepared by Winnemac Consulting LLC
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                                                                                     Exhibit 15
                                                                    Washington Mutual Series R Preferred Stock
                                                        Average Weekly Trading Volume As a Percentage of Shares Outstanding
                                                                                12/13/2007-7/23/2008
50%


45%                                                                                                                                              Average Weekly Volume as
                                                                                                                                                 Percentage of Shares Outstanding:
                                                                                                                                                 Average: 12.63%
40%
                                                                                                                                                 Median: 11.14%

35%


30%                                                                 "2% average weekly trading volume of
                                                                    the outstanding shares justify strong
                                                                                                                                                                                                                    "1% average weekly trading volume
                                                                    presumption that the market for the
25%                                                                                                                                                                                                                 of the outstanding shares justify a
                                                                    security is an efficient one" (Cammer)
                                                                                                                                                                                                                    substantial presumption" (Cammer)
20%


15%


10%


5%


0%
      12/13/2007

                   12/20/2007

                                12/28/2007



                                                        1/14/2008

                                                                    1/22/2008

                                                                                1/29/2008



                                                                                                       2/12/2008

                                                                                                                   2/20/2008

                                                                                                                               2/27/2008



                                                                                                                                                      3/12/2008

                                                                                                                                                                  3/19/2008

                                                                                                                                                                              3/27/2008



                                                                                                                                                                                                     4/10/2008

                                                                                                                                                                                                                 4/17/2008

                                                                                                                                                                                                                             4/24/2008




                                                                                                                                                                                                                                                               5/15/2008

                                                                                                                                                                                                                                                                           5/22/2008

                                                                                                                                                                                                                                                                                       5/30/2008



                                                                                                                                                                                                                                                                                                              6/13/2008

                                                                                                                                                                                                                                                                                                                          6/20/2008

                                                                                                                                                                                                                                                                                                                                      6/27/2008



                                                                                                                                                                                                                                                                                                                                                             7/14/2008

                                                                                                                                                                                                                                                                                                                                                                         7/21/2008
                                             1/7/2008




                                                                                            2/5/2008




                                                                                                                                           3/5/2008




                                                                                                                                                                                          4/3/2008




                                                                                                                                                                                                                                         5/1/2008

                                                                                                                                                                                                                                                    5/8/2008




                                                                                                                                                                                                                                                                                                   6/6/2008




                                                                                                                                                                                                                                                                                                                                                  7/7/2008
 Source: Bloomberg                                                                                                                                                 Volume as a % of Shares Outstanding



                                                                                                                                       Prepared by Winnemac Consulting LLC
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                                                              Exhibit 16
                                                 Washington Mutual Preferred Securities
                                                 Annualized Turnover Velocity 2005-2008


                                                                 Annualized                       NYSE
                    Securities                                Turnover Velocity              Turnover Velocity

                                           (1)
     Capital Trust Unit Preferred Stock                             171.5%                        164.9%

            Series K Preferred Stock (2)                            170.3%                        183.5%

            Series R Preferred Stock (3)                            634.1%                        234.4%


Sources:
Bloomberg
http://www.world-exchanges.org/statistics


Notes:
1) Data range: 10/19/2005 to 7/23/2008
2) Data range: 9/13/2006 to 7/23/2008
3) Data range: 12/13/2007 to 7/23/2008




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                                                                                             Exhibit 17
                                                               Rolling Regression Results for Washington Mutual Capital Trust Unit1
                                                                                      10/19/2005 - 7/23/2008
       2.5                                                                                                                                                                                                                                                                                                                                            3.50%


       2.0
                                                                                                                                                                                                                                                                                                                                                      3.00%


       1.5




                                                                                                                                                                                                                                                                                                                                                                andard Deviation of the Errors
                                                                                                                                                                                                                                                                                                                                                      2.50%

       1.0
                                                                                                                                                                                                                                                                                                                                                      2.00%

       0.5
Beta




                                                                                                                                                                                                                                                                                                                                                      1.50%
       0.0

                                                                                                                                                                                                                                                                                                                                                      1.00%




                                                                                                                                                                                                                                                                                                                                                              Sta
       -0.5


                                                                                                                                                                                                                                                                                                                                                      0.50%
       -1.0


       -1.5                                                                                                                                                                                                                                                                                                                                           0.00%
              10/19/2005

                           11/25/2005

                                        1/4/2006

                                                   2/10/2006

                                                                3/21/2006

                                                                            4/27/2006

                                                                                        6/5/2006

                                                                                                   7/12/2006

                                                                                                               8/17/2006

                                                                                                                           9/25/2006

                                                                                                                                       10/31/2006

                                                                                                                                                    12/7/2006

                                                                                                                                                                1/18/2007

                                                                                                                                                                            2/26/2007

                                                                                                                                                                                        4/3/2007

                                                                                                                                                                                                   5/10/2007

                                                                                                                                                                                                               6/18/2007

                                                                                                                                                                                                                           7/25/2007

                                                                                                                                                                                                                                       8/30/2007

                                                                                                                                                                                                                                                   10/8/2007

                                                                                                                                                                                                                                                                 11/13/2007

                                                                                                                                                                                                                                                                              12/20/2007

                                                                                                                                                                                                                                                                                           1/30/2008

                                                                                                                                                                                                                                                                                                       3/7/2008

                                                                                                                                                                                                                                                                                                                  4/15/2008

                                                                                                                                                                                                                                                                                                                              5/21/2008

                                                                                                                                                                                                                                                                                                                                          6/27/2008
                                                                            S&P 500 Beta                                        Peer Index Beta                                          S&P Preferred Index                                                   Standard Deviation of the Errors
 Source: Bloomberg
 1Each data point reflects a value from a regression of WaMu Capital Trust Unit returns controlling for S&P 500 Total Return, S&P Preferred Index (Net of S&P 500) and

 a Value Weighted Peer Index (Net of S&P 500) using data from the previous 120 trading days.



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                                                                                      Exhibit 18
                                                     Rolling Regression Results for Washington Mutual Series K Preferred Stock1
                                                                                10/19/2005 - 7/23/2008
       3.0                                                                                                                                                                                                                                                                                                                                                         4.5%


       2.5                                                                                                                                                                                                                                                                                                                                                         4.0%


                                                                                                                                                                                                                                                                                                                                                                   3.5%
       2.0




                                                                                                                                                                                                                                                                                                                                                                             ndard Deviation of the Errors
                                                                                                                                                                                                                                                                                                                                                                   3.0%
       1.5

                                                                                                                                                                                                                                                                                                                                                                   2.5%
       1.0
Beta




                                                                                                                                                                                                                                                                                                                                                                   2.0%

       0.5
                                                                                                                                                                                                                                                                                                                                                                   1.5%




                                                                                                                                                                                                                                                                                                                                                                          Stan
       0.0
                                                                                                                                                                                                                                                                                                                                                                   1.0%


       -0.5                                                                                                                                                                                                                                                                                                                                                        0.5%


       -1.0                                                                                                                                                                                                                                                                                                                                                        0.0%
              10/19/2005

                           11/23/2005

                                        12/30/2005

                                                     2/7/2006

                                                                3/15/2006

                                                                            4/20/2006

                                                                                        5/25/2006

                                                                                                    6/30/2006

                                                                                                                8/7/2006

                                                                                                                           9/12/2006

                                                                                                                                        10/17/2006

                                                                                                                                                     11/21/2006

                                                                                                                                                                  12/28/2006

                                                                                                                                                                               2/6/2007

                                                                                                                                                                                          3/14/2007

                                                                                                                                                                                                      4/19/2007

                                                                                                                                                                                                                  5/24/2007

                                                                                                                                                                                                                              6/29/2007

                                                                                                                                                                                                                                          8/6/2007

                                                                                                                                                                                                                                                     9/11/2007

                                                                                                                                                                                                                                                                 10/16/2007

                                                                                                                                                                                                                                                                              11/20/2007

                                                                                                                                                                                                                                                                                           12/27/2007

                                                                                                                                                                                                                                                                                                        2/4/2008

                                                                                                                                                                                                                                                                                                                   3/11/2008

                                                                                                                                                                                                                                                                                                                               4/16/2008

                                                                                                                                                                                                                                                                                                                                           5/21/2008

                                                                                                                                                                                                                                                                                                                                                       6/26/2008
                                                                             S&P 500 Beta                                              Peer Index Beta                                                S&P Preferred Index                                                     Standard Deviation of the Errors
  Source: Bloomberg
  1Each data point reflects a value from a regression of WaMu Capital Series K Preferred Stock returns controlling for S&P 500 Total Return, S&P Preferred Index (Net of

  S&P 500) and a Value Weighted Peer Index (Net of S&P 500) using data from the previous 120 trading days.


                                                                                                                                                 Prepared by Winnemac Consulting, LLC
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                                                        Exhibit 19
                       Rolling Regression Results for Washington Mutual Series R Preferred Stock1
                                                  10/19/2005 - 7/23/2008
       3.0                                                                                                                                                  4.0%




       2.5
                                                                                                                                                            3.8%




                                                                                                                                                                      ndard Deviation of the Errors
       2.0

                                                                                                                                                            3.6%


       1.5
Beta




                                                                                                                                                            3.4%

       1.0




                                                                                                                                                                   Stan
                                                                                                                                                            3.2%
       0.5




       0.0                                                                                                                                                  3.0%
             10/19/2005
             11/10/2005
             12/5/2005
             12/28/2005
             1/23/2006
             2/14/2006
             3/9/2006
             3/31/2006
             4/25/2006
             5/17/2006
             6/9/2006
             7/3/2006
             7/26/2006
             8/17/2006
             9/11/2006
             10/3/2006
             10/25/2006
             11/16/2006
             12/11/2006
             1/5/2007
             1/30/2007
             2/22/2007
             3/16/2007
             4/10/2007
             5/2/2007
             5/24/2007
             6/18/2007
             7/11/2007
             8/2/2007
             8/24/2007
             9/18/2007
             10/10/2007
             11/1/2007
             11/26/2007
             12/18/2007
             1/11/2008
             2/5/2008
             2/28/2008
             3/24/2008
             4/15/2008
             5/7/2008
             5/30/2008
             6/23/2008
             7/16/2008
                                    S&P 500 Beta          Peer Index Beta         S&P Preferred Index          Standard Deviation of the Errors
 Source: Bloomberg
 1Each data point reflects a value from a regression of WaMu Capital Series R Preferred Stock returns controlling for S&P 500 Total Return, S&P Preferred Index (Net of

 S&P 500) and a Value Weighted Peer Index (Net of S&P 500) using data from the previous 120 trading days.



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                                                                 Exhibit 20
                                    Washington Mutual Capital Trust Unit Preferred Stock Abnormal Returns1
                  20%


                  15%


                  10%
                                      Threshold for statistical significance

                   5%


                   0%
   ormal Return




                  -5%
Abno




                  -10%
                                                                                                                  Return after removing
                                                                                                                  effect of market movements
                  -15%


                  -20%
                         10/19/2005
                         11/10/2005
                         12/5/2005
                         12/28/2005
                         1/23/2006
                         2/14/2006
                         3/9/2006
                         3/31/2006
                         4/25/2006
                         5/17/2006
                         6/9/2006
                         7/3/2006
                         7/26/2006
                         8/17/2006
                         9/11/2006
                         10/3/2006
                         10/25/2006
                         11/16/2006
                         12/11/2006
                         1/5/2007
                         1/30/2007
                         2/22/2007
                         3/16/2007
                         4/10/2007
                         5/2/2007
                         5/24/2007
                         6/18/2007
                         7/11/2007
                         8/2/2007
                         8/24/2007
                         9/18/2007
                         10/10/2007
                         11/1/2007
                         11/26/2007
                         12/18/2007
                         1/11/2008
                         2/5/2008
                         2/28/2008
                         3/24/2008
                         4/15/2008
                         5/7/2008
                         5/30/2008
                         6/23/2008
                         7/16/2008
                   Source: Bloomberg
                   1Each data point reflects an abnormal return from a regression of WaMu Capital Trust Unit Preferred Stock returns controlling for S&P 500 Total

                   Return, S&P Preferred Index (Net of S&P 500) and a Value Weighted Peer Index (Net of S&P 500) using data from the previous 120 trading days.




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                                                                       Exhibit 21
                                              Washington Mutual Series K Preferred Stock Abnormal Returns1
                  15%


                  10%
                              Threshold for statistical significance

                   5%


                   0%


                  -5%
   ormal Return




                  -10%


                  -15%
Abno




                  -20%
                                                                                                                Return after removing
                                                                                                                effect of market movements
                  -25%


                  -30%
                         10/18/2006

                         11/17/2006

                         12/20/2006




                         10/22/2007

                         11/21/2007

                         12/24/2007
                         9/18/2006
                         10/3/2006

                         11/2/2006

                         12/5/2006

                         1/9/2007
                         1/25/2007
                         2/9/2007
                         2/27/2007
                         3/14/2007
                         3/29/2007
                         4/16/2007
                         5/1/2007
                         5/16/2007
                         6/1/2007
                         6/18/2007
                         7/3/2007
                         7/19/2007
                         8/3/2007
                         8/20/2007
                         9/5/2007
                         9/20/2007
                         10/5/2007

                         11/6/2007

                         12/7/2007

                         1/10/2008
                         1/28/2008
                         2/12/2008
                         2/28/2008
                         3/14/2008
                         4/1/2008
                         4/16/2008
                         5/1/2008
                         5/16/2008
                         6/3/2008
                         6/18/2008
                         7/3/2008
                         7/21/2008
                  Source: Bloomberg
                  1Each data point reflects an abnormal return from a regression of WaMu Series K Preferred Stock returns controlling for S&P 500 Total Return, S&P

                  Preferred Index (Net of S&P 500) and a Value Weighted Peer Index (Net of S&P 500) using data from the previous 120 trading days.




                                                                          Prepared by Winnemac Consulting, LLC
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                                                                                                                            Exhibit 22
                                                                                                   Washington Mutual Series R Preferred Stock Abnormal Returns 1
                  25%


                  20%


                  15%
                                                                      Threshold for statistical significance

                  10%


                   5%
   ormal Return




                   0%


                  -5%
Abno




                  -10%


                  -15%                                                                                                                                                                                                                                                                                                Return after removing
                                                                                                                                                                                                                                                                                                                      effect of market movements

                  -20%
                         12/17/2007
                                      12/21/2007
                                                   12/28/2007
                                                                1/4/2008
                                                                           1/10/2008
                                                                                       1/16/2008
                                                                                                   1/23/2008
                                                                                                               1/29/2008
                                                                                                                           2/4/2008
                                                                                                                                      2/8/2008
                                                                                                                                                 2/14/2008
                                                                                                                                                             2/21/2008
                                                                                                                                                                         2/27/2008
                                                                                                                                                                                     3/4/2008
                                                                                                                                                                                                3/10/2008
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                                                                                                                                                                                                                                                                      4/14/2008
                                                                                                                                                                                                                                                                                  4/18/2008
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                                                                                                                                                                                                                                                                                                                      5/6/2008
                                                                                                                                                                                                                                                                                                                                 5/12/2008
                                                                                                                                                                                                                                                                                                                                             5/16/2008
                                                                                                                                                                                                                                                                                                                                                         5/22/2008
                                                                                                                                                                                                                                                                                                                                                                     5/29/2008
                                                                                                                                                                                                                                                                                                                                                                                 6/4/2008
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                                                                                                                                                                                                                                                                                                                                                                                                        6/16/2008
                                                                                                                                                                                                                                                                                                                                                                                                                    6/20/2008
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                                                                                                                                                                                                                                                                                                                                                                                                                                                       7/9/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  7/15/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              7/21/2008
                   Source: Bloomberg
                   1Each data point reflects an abnormal return from a regression of WaMu Series R Preferred Stock returns controlling for S&P 500 Total Return, S&P

                   Preferred Index (Net of S&P 500) and a Value Weighted Peer Index (Net of S&P 500) using data from the previous 120 trading days.




                                                                                                                                                                                     Prepared by Winnemac Consulting, LLC
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                                                                   Exhibit 23
                                                     Washington Mutual Preferred Securities
                                 Market Capitalization Compared to Common Stocks Traded on NYSE & NASDAQ

                                                          Capital Trust Preferred Unit
                                                               (Issued 7/16/2001)

                              Units Outstanding                                          Market Cap
       Date                                             Market Price                                  Rank in NYSE&NASDAQ
                                   (in '000)                                              (in '000)
   12/31/2005                       23,000                 $54.25                        $1,247,750           66th
   12/31/2006                       23,000                 $56.40                        $1,297,200           64th
   12/31/2007                       23,000                 $28.25                         $649,750            54th
   6/30/2008                        23,000                 $24.00                         $552,000            54th

                                                            Series K Preferred Stock
                                                               (Issued 9/18/2006)

                              Shares Outstanding                                         Market Cap
       Date                                             Market Price                                  Rank in NYSE&NASDAQ
                                   (in '000)                                              (in '000)
   12/31/2006                         20,000               $25.33                          $506,600           46th
   12/31/2007                         20,000               $15.70                          $314,000           39th
   6/30/2008                          20,000               $10.90                          $218,000           37th

                                                            Series R Preferred Stock
                                                               (Issued 12/17/2007)

                              Shares Outstanding                                         Market Cap
       Date                                             Market Price                                  Rank in NYSE&NASDAQ
                                   (in '000)                                              (in '000)
   12/31/2007                        3,000                 $885.00                       $2,655,000           76th
   6/30/2008                         3,000                 $594.34                       $1,783,020           72th

Sources:
Bloomberg, SEC Schedule 14a, 2005 - 2008




                                                        Prepared by Winnemac Consulting, LLC
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                                        Exhibit 24
     Autocorrelation Coefficients By Calendar Quarter for WaMu Preferred Securities

                        Series R                             Series K                        Capital Trust Unit
              Coefficient                           Coefficient                          Coefficient
            on Previous Day                       on Previous Day                      on Previous Day
               Abnormal                              Abnormal                             Abnormal
    Quarter     Return1          t-stat               Return1              t-stat          Return1          t-stat
    2005Q4                                                                                    0.00              -0.01
    2006Q1                                                                                    -0.51             -4.22
    2006Q2                                                                                    -0.29             -2.40
    2006Q3                                                    *              *                -0.24             -1.64
    2006Q4                                                 -0.46           -2.90              -0.43             -3.54
    2007Q1                                                 -0.33           -2.19              -0.38             -3.51
    2007Q2                                                 -0.63           -5.36              -0.50             -4.01
    2007Q3          *               *                       0.13           0.72               -0.19             -1.38
    2007Q4        -1.58          -1.64                     -0.30           -1.79              -0.17             -0.84
    2008Q1        -0.03          -0.14                     -0.09           -0.47              -0.17             -0.85
    2008Q2        -0.32          -1.91                     -0.25           -1.75              -0.15             -0.93



* Insufficient number of observations during this period

1
 For each quarter I perform a regression with the abnormal return from the event study as the dependent variable and the
previous day's abnormal return as the independent variable. I exclude observations for which there is news on the date of
interest and news on the previous day.
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                                 Exhibit 25
      Analysis of Whether Autocorrelation for the Capital Trust Unit
       Preferred Stock is Sufficient to Generate Profitable Arbitrage
                                Opportunity

                Coefficient
                on Previous                           Average          Average
               Day Abnormal                           Absolute        Predictive     Cost of
Quarter           Return1              t-stat          Return        Component2      Trade3
                      [A]                [B]              [C]            [A] * [C]      [D]
    2005Q4           0.00              -0.01            0.76%             0.00%       0.68%
    2006Q1           -0.51             -4.22            0.73%            -0.38%       0.83%
    2006Q2           -0.29             -2.40            0.64%            -0.18%       0.76%
    2006Q3           -0.24             -1.64            0.67%            -0.16%       0.99%
    2006Q4           -0.43             -3.54            0.62%            -0.27%       0.83%
    2007Q1           -0.38             -3.51            0.63%            -0.24%       0.82%
    2007Q2           -0.50             -4.01            0.63%            -0.32%       0.58%
    2007Q3           -0.19             -1.38            1.17%            -0.23%       1.08%
    2007Q4           -0.17             -0.84            1.57%            -0.26%       1.21%
    2008Q1           -0.17             -0.85            2.52%            -0.43%       1.59%
    2008Q2           -0.15             -0.93            1.89%            -0.29%       1.27%

1
  For each quarter I perform a regression with the abnormal return from the event study as the
dependent variable and the previous day's abnormal return as the independent variable. I
exclude observations for which there is news on the date of interest and news on the previous
day.
2
  Assuming autocorrelation is persistent and that trade does not move price.
3
    Cost of trade is equal to half of the average Bid Ask spread over the quarter
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                                          Appendix A

                              List of Documents/Data Considered



Court Documents

       Amended Consolidated Class Action Complaint filed June 15, 2009.


Court Decisions and Securities Law

       Basic v. Levinson, 485 U.S. 224, 240 (1988).
       Cammer v. Bloom, Civil Action No. 88-2458, U.S. District Court for the District of New
        Jersey, April 19th, 1989.


Washington Mutual Analyst Reports & Credit Rating Reports

       Securities analyst reports provided by Counsel.
       Credit reports issued by S&P and Fitch.
       Lists of equity and credit reports accessed via Thomson Financial.
       Lists of credit rating reports issued by S&P and Moody’s.


SEC Filings/Forms

       Washington Mutual, Inc. SEC forms 10-K, 10-Q, and Schedule 14a filed from 2004
        through 2008.
       Washington Mutual, Inc. 7.75% Series R Non-Cumulative Perpetual Convertible
        Preferred Stock Prospectus dated December 11, 2007.
       Washington Mutual, Inc. Depositary Shares Each Representing a 1/40,000th Interest in a
        Share of Series K Perpetual Non-Cumulative Floating Rate Preferred Stock Prospectus
        dated September 11, 2006.
       Washington Mutual Inc., SEC Form S-3 dated August 20, 2001.
       Washington Mutual Inc., amended SEC Form S-3 dated August 31, 2001.
       Washington Mutual, Inc. SEC Form S-3ASR dated May 5, 2008.
       Washington Mutual, Inc. Trust Preferred Income Equity Redeemable Securities (PIERS)
        Units, Offering Memorandum dated April 25, 2001.
       Form S-3 eligibility information from www.sec.gov/about/forms/forms-3.pdf.
       13F filings for selected institutions holding Washington Mutual, Inc. common stock
        shares.
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Security Data

       Historical data for Washington Mutual, Inc. Common Stock, Preferred Stock Series R,
        Preferred Stock Series K, and Capital Trust Unit Preferred Stock obtained from
        Bloomberg.
       Historical price, volume, and market capitalization data for selected peers obtained from
        Bloomberg.
       Historical price data for the S&P 500 Total Return Index and S&P Preferred Stock Price
        Index.
       Quote data for Washington Mutual, Inc. Stock, Washington Mutual, Inc. Series K
        Preferred Stock, Washington Mutual, Inc. Series R Preferred Stock, and other publicly
        traded stocks for May 2006, May 2007 and June 2008 obtained from www.tickdata.com.
       Market Maker Price Movement Reports and Time & Sales Reports for the Washington
        Mutual, Inc. Capital Trust Unit Preferred Stock obtained from the OTC Bulletin Board
       Institutional holdings data obtained from CapitalIQ.
       The market capitalization of all the companies that traded on the NYSE and the
        NASDAQ as of December 30, 2005, December 29, 2006, December 31, 2007, and June
        30, 2008 obtained from Bloomberg.


Exchange Data & Other Financial Data

       World Federation of Exchanges; http://www.world-exchanges.org.
       Inside Mortgage Finance Publications; http://www.imfpubs.com.


Washington Mutual News

       Washington Mutual news headlines and articles downloaded from Factiva for the Class
        Period.


Academic Articles/Texts

       Vipin Agrawal, Meeta Kothare, Ramesh K.S. Rao, and Pavan Wadhwa, “Bid-ask
        spreads, informed investors, and the firm’s financial condition” The Quarterly Review of
        Economics and Finance Vol. 44, 2004.
       Doron Avramov, Tarun Chorida, and Amit Goyal, “Liquidity and Autocorrelations in
        Individual Stock Returns,” The Journal of Finance Vol. LXI No. 5, 2006.
       Brad M. Barber, Paul A. Griffin and Baruch Lev, “The Fraud-on-the-Market Theory and
        the Indicators of Common Stocks’ Efficiency, The Journal of Corporation Law, Winter
        1994, 19 Iowa J. Corp. L. 285.
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      John Binder, “The Event Study Methodology Since 1969,” Review of Quantitative
       Finance and Accounting Vol. 11, 1998.
      Phillip A. Braun, Daniel B. Nelson, Alain M. Sunier, “Good News, Bad News Volatility,
       and Betas,” Journal of Finance 50, 1995.
      Bromberg & Lowenfels, Securities Fraud and Commodities Fraud, § 8.6 (Aug. 1988).
      Eugene Fama, “Efficient Capital Markets: A Review of Theory and Empirical Work,”
       Journal of Finance Vol. 25, 1970.
      Frank J. Fabozzi, Franco Modigliani, Frank J. Jones, “Foundations of Financial Markets
       and Institutions,” Prentice Hall, Fourth Edition, 2010, Chapter 18 – Appendix 1.
      William H. Greene, “Econometric Analysis, Sixth Edition” Prentice Hall, 2008.
      Gay Hatfield and Carol Lancaster, “The Signaling Effects of Bank Loan—Loss Reserve
       Additions.” Journal of Financial and Strategic Decisions Vol. 13 Number 1 Spring 2000.
      Roger D. Huang, Hans R. Stall, “Dealer versus auction markets: A paired comparison of
       execution costs on NASDAQ and the NYSE,” Journal of Financial Economics Vol. 41,
       1996.
      Michael C. Jensen, “Some Anomalous Evidence Regarding Market Efficiency,” Journal
       of Financial Economics Vol. 6 Nos. 2/3, 1978.
      William F. Sharpe, Gordon J. Alexander, Jeffery V. Bailey, “Investments,” Prentice Hall,
       Fifth Edition.
      David I. Tabak and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in
       the Courtroom,” Ch. 19, Litigation Services Handbook, The Role of the Financial Expert,
       Third Edition, 2001.
      Randall S. Thomas and James F. Cotter, “Measuring Securities Market Efficiency in the
       Regulatory Setting.” Law and Contemporary Problems Vol. 63, 2000.


Other Documents

      “Opening Statement of Senator Carl Levin (D-Mich) Before the U. S. Senate Permanent
       Subcommittee on Investigations on Wall Street and The Financial Crisis: The Role of
       High Risk Home Loans,” dated April 13, 2010 at page 9.
      OTC Bulletin Board’s (OTCBB) website;
       https://www.otcbb.com/aboutOTCBB/overview.stm#abouthistory.
      RSS Specifications; http://www.rss-specifications.com/.
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                                             APPENDIX B


                                     CHAD W. COFFMAN, CFA

Winnemac Consulting, L.L.C.
One South Wacker Drive, Suite 3800
Chicago, IL 60606
Office:       (312) 752-3329
Mobile:       (815) 382-0092
Email:        coffman@winnemac.com


EMPLOYMENT:

      Winnemac Consulting, LLC
           President (2008 - Current)

             Winnemac Consulting is a Chicago-based firm that specializes in the application of
             economics, finance, statistics, and valuation principles to questions that arise in a variety
             of contexts, including litigation. Principals of Winnemac Consulting have extensive
             experience in high-profile securities, antitrust, labor, and intellectual property matters.

      Chicago Partners, LLC
            Principal (2007 – 2008)
            Vice President (2003 – 2007)
            Director (2000 – 2003)
            Senior Associate (1999 – 2000)
            Associate (1997 – 1999)
            Research Analyst (1995 – 1997)


EDUCATION:

      CFA     Chartered Financial Analyst, 2003

      M.P.P. University of Chicago, 1997
             Masters of Public Policy, with a focus in economics including coursework in Finance,
             Labor Economics, Econometrics, and Regulation

      B.A.    Knox College, 1995
              Economics, Magna Cum Laude
              Graduated with College Honors for Paper entitled “Increasing Efficiency in Water
              Supply Pricing: Using Galesburg, Illinois as a Case Study”
              Dean's List Every Term
              Phi Beta Kappa
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SELECTED EXPERIENCE:

Experience in Securities and Valuation Cases:

•   Expert consultant for Citigroup/Salomon Smith Barney in various matters related to Jack
    Grubman’s analyst coverage of various companies. This included supporting multiple experts at
    high-profile arbitration where plaintiffs claimed $900 million in damages. Arbitration panel
    returned a verdict in favor of client (reported in Wall Street Journal).

•   Expert damages consultant in dozens of 10b-5 and Section 11 securities litigation, including, but
    not limited to:
        o WorldCom
        o Enron
        o Tyco
        o Parmalat
        o Sears
        o Atlas Air
        o UnumProvident
        o XL Capital
        o Household Finance/HSBC
        o Dynegy
        o Anicom

•   Expert consultant in multiple cases involving market timing and/or late-trading. Developed models
    to estimate market timing profits.

•   Served as neutral expert for mediator (Judge Daniel Weinstein) in multiple 10(b)-5 securities cases
    as well as futures manipulation case.

•   Expert consultant for the American Stock Exchange (AMEX) where I evaluated issues related to
    multiple listing of options. Performed econometric analysis of various measures of option spread
    using tens of millions of trades.

•   Expert consultant to large hedge fund that owned bonds in WorldCom. Responsible for directing
    analysis that led to favorable settlement of their claim in the bankruptcy.

•   Performed detailed audit of CDO valuation models employed by a banking institution to satisfy
    regulators – non-litigation matter.

•   Played significant role in highly-publicized internal accounting investigations of two Fortune 500
    companies. One led to restatement of previously issued financial statements and both involved
    SEC investigations.

•   Testifying expert in the matter of Kuo, Steven Wu v. Xceedium Inc, Supreme Court of New York,
    County of New York, Index No. 06-100836. Filed report re: the fair value of Mr. Kuo’s shares.
    Case settled at trial.
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•   Testifying expert in the matter of Pallas, Dennis H. v. BPRS/Chestnut Venture Limited Partnership
    and Gerald Nudo, Circuit Court of Cook County, Illinois, County Department, Chancery Division.
    Filed report re: fair value of Pallas shares. Report: July 9, 2008. Deposition August 6, 2008. Court
    Testimony February 11, 2009.

•   Loss Causation expert in Re: Washington Mutual Securities Litigation, United States District
    Court, Western District of Washington, at Seattle, No. 2:08-md-1919 MJP, Lead Case No. C08-387
    MJP. Filed declaration August 5, 2008 re: plaintiffs’ loss causation theory.

•   Testifying expert in Re: DVI Securities Litigation, United States District Court, Eastern District of
    Pennsylvania, 2:03-CV-05336-LDD. Filed expert report October 1, 2008 re: damages. Filed
    rebuttal expert report December 17, 2008. Deposition January 27, 2009.

•   Testifying expert in Syratech Corporation v. Lifetime Brands, Inc. and Syratech Acquisition
    Corporation, Supreme Court of the State of New York, Index No. 603568/2007. Filed expert report
    October 31, 2008.

•   Expert declaration in Jacksonville Police and Fire Pension Fund, et al. v. AIG, Inc., et al., No. 08-
    CV-4772-LTS; James Connolly, et al. v. AIG, Inc., et al., No. 08-CV-5072-LTS; Maine Public
    Employees Retirement System, et al. v. AIG, Inc., et al., No. 08-CV-5464-LTS; and Ontario
    Teachers’ Pension Plan Board, et al. v. AIG, Inc., et al., No. 08-CV-5560-LTS, United States
    District Court, Southern District of New York. Filed declaration February 18, 2009.

•   Expert declaration in Re: Connetics Securities Litigation, Case No. C 07-02940 SI, United States
    District Court for the Northern District of California, San Francisco Division. Filed declaration
    March 16, 2009.

•   Testifying expert in Re: Boston Scientific Securities Litigation, Master File No. 1:05-cv-11934
    (DPW), United States District Court District of Massachusetts. Filed expert report August 6th,
    2009. Deposition October 6, 2009.
•   Expert declaration in Louisiana Sheriffs’ Pension and Relief Fund, et al. v. Merrill Lynch & Co,
    Inc., et al., Case Number 08-cv-09063, United States District Court, Southern District of New
    York. Filed declaration October, 2009.

•   Testifying expert in Henry J. Wojtunik v. Joseph P. Kealy, John F. Kealy, Jerry A. Kleven, Richard
    J. Seminoff, John P. Stephen, C. James Jensen, John P. Morbeck, Terry W. Beiriger, and Anthony
    T. Baumann. Filed expert report on January 25, 2010.

•   Expert report in Re: REFCO Inc. Securities Litigation, Case No. 05 Civ. 8626 (GEL), United States
    District Court for the Southern District of New York. Filed expert report February 2, 2010. Filed
    rebuttal expert report March 12, 2010. Deposition March 26, 2010.

•   Expert declaration in Re: New Century Securities Litigation, Case No. 07-cv-00931-DDP, United
    States District Court Central District of California. Filed declaration March 11, 2010.

•   Expert report Louisiana Municipal Police Employees’ Retirement System, et. al. v. Tilman J.
    Fertitta, Steven L. Scheinthal, Kenneth Brimmer, Michael S. Chadwick, Michael Richmond, Joe
    Max Taylor, Fertitta Holdings, Inc., Fertitta Acquisition Co., Richard Liem, Fertitta Group, Inc. and
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    Fertitta Merger Co, C.A. No. 4339-VCL, Court of Chancery of the State of Delaware. Filed expert
    report April 23, 2010.

Experience in Labor Economics and Discrimination-Related Cases:

•   Expert consultant for Cargill in class action race discrimination matter in which class certification
    was defeated.

•   Expert consultant for 3M in class action age discrimination matter.

•   Expert consultant for Wal-Mart in class action race discrimination matter.

•   Expert consultant for Novartis regarding various labor related issues.

•   Expert consultant on various other significant confidential labor economics matters in which there
    were class action allegations related to race and gender.

•   Expert consultant for large insurance company related to litigation and potential regulation
    resulting from the use of credit scores in the insurance underwriting process.

•   Testifying expert in Shirley Cohens v. William Henderson, Postmaster General, United States
    Postal Service. United States District Court for the District of Columbia. C.A 1:00CV-1834 (TFH)
    – Filed report re: lost wages and benefits.

•   Testifying expert in Richard Akins v. NCR Corporation. Before the American Arbitration
    Association – Filed report re: lost wages.

Selected Experience in Antitrust, General Damages, and Other Matters:

•   Expert consultant in high-profile antitrust matters in the computer and credit card industries.

•   Expert consultant for plaintiffs in re: Brand Name Drugs Litigation. Responsible for managing,
    maintaining and analyzing data totaling over one billion records in one of the largest antitrust cases
    ever filed in the Federal Courts.

•   Served as neutral expert for mediator (Judge Daniel Weinstein) in allocating a settlement in an
    antitrust matter.

•   Expert consultant in Seminole County and Martin County absentee ballot litigation during disputed
    presidential election of 2000.

•   Expert consultant for sub-prime lending institution to determine effect of alternative loan
    amortization and late fee policies on over 20,000 customers of a sub-prime lending institution.
    Case settled favorably at trial immediately after the testifying expert presented an analysis I
    developed showing fundamental flaws in opposing experts calculations.
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TEACHING EXPERIENCE:

     KNOX COLLEGE, Teaching Assistant - Statistics, (1995)
     KNOX COLLEGE, Tutor in Mathematics, (1992 - 1993)

PUBLICATIONS:

     Coffman, Chad and Mary Gregson, “Railroad Construction and Land Value.” Journal of Real
        Estate and Finance, 16:2, 191-204 (1998).

     Coffman, Chad, Tara O’Neil, and Brian Starr “An Empirical Analysis of the Impact of Legacy
        Preferences on Alumni Giving at Top Universities.” (Forthcoming).


PROFESSIONAL AFFILIATIONS:

     Associate Member CFA Society of Chicago
     Associate Member CFA Institute
     Phi Beta Kappa

AWARDS:

     1994 Ford Fellowship Recipient for Summer Research.
     1993 Arnold Prize for Best Research Proposal.
     1995 Knox College Economics Department Award.


PERSONAL ACTIVITIES:

     Pro bono consulting for Cook County State’s Attorney’s Office
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                                                                                                      APPENDIX C
                                                                                           News Articles During the Class Period
                                                                                Samples From Each Day Coded as Having WaMu Related News
Market Date      Source 1                        Headline 1                                          News Clip 1                              Source 2                    Headline 2                                 News Clip 2
10/20/2005     Business Wire    Washington Mutual Announces Third             SEATTLE - (BUSINESS WIRE) - Oct. 19, 2005 -
                                Quarter 2005 Earnings; Diluted EPS            Washington Mutual, Inc. (NYSE:WM) today announced
                                Increased 21 Percent; Board of Directors      third quarter 2005 net income of $821 million, or $0.92
                                Increases Cash Dividend                       per diluted share, up 21 percent on a per share basis
                                                                              when compared with net income of ... . . . .


10/24/2005     PR Newswire      Citibank Enjoys Largest Market Share          CHICAGO, Oct. 24 /PRNewswire/ -- Citibank and Bank
                  (U.S.)        Among Major U.S. Banks But Washington         of America enjoy the greatest market share of U.S.
                                Mutual Appears to Have Most Successfully      financial institutions, according to a new study released
                                Set Itself Apart From...                      by Socratic Technologies. One-third of Americans report
                                                                              being a customer of ... . . . .


10/27/2005     Business Wire    Fitch Rates WaMu's $1.38B Mortgage Pass-      NEW YORK - (BUSINESS WIRE) - Oct. 27, 2005 -
                                Through Ctfs Series 2005-AR14                 Washington Mutual Mortgage Securities Corp.'s
                                                                              (WaMu) mortgage pass-through certificates, series 2005-
                                                                              AR14, are rated by Fitch Ratings as follows: . . . .


11/8/2005      Business Wire    Washington Mutual Announces Final Results SEATTLE - (BUSINESS WIRE) - Nov. 7, 2005 - New
                                of Tender Offer for 4% Convertible Senior American Capital, Inc. (the "Company"), a wholly
                                Notes due May 15, 2008                    owned subsidiary of Washington Mutual, Inc.
                                                                          (NYSE:WM), announced today the final results of its
                                                                          previously announced cash tender offer for any ... . . . .


11/9/2005     Dow Jones News Washington Mutual To End Surcharge-Free          NEW YORK (Dow Jones)--Washington Mutual Inc.                Business Wire   Fitch Affirms 2 RMBS Ratings from 2   NEW YORK - (BUSINESS WIRE) - Nov. 8, 2005 - Fitch
                 Service     ATMs                                             (WM), which has touted its surcharge-free ATMs as a                         Washington Mutual Securitizations     Ratings affirms the following Washington Mutual
                                                                              way to lure new customers, is abandoning the program                                                              residential mortgage-backed certificates: . . . .
                                                                              next week. . . . .
11/10/2005    American Banker Wamu to Charge Noncustomer ATM Fee              Wamu said Wednesday that next week it would begin
                                                                              charging a fee of $1.50 or $2, depending on the market,
                                                                              at its more than 3,500 machines, and that the shift is
                                                                              aimed at improving service. Ms. Hutchinson said the
                                                                              new fees would only "drive modest reven


11/16/2005      Seattle Post-   WaMu Unveils Growth Plan; It Eyes Hiring      Washington Mutual Inc. says it plans to add employees
                Intelligencer   Employees, Luring More Home Loans             and market share in its home-loan business next year,
                                                                              even as it expects a slowdown in the housing market
                                                                              nationally. . . . .
11/18/2005    American Banker Why Some Have Yet to Detail Bankruptcy          Washington Mutual has not quantified the effect, but Joe
                              Impact                                          Saunders, the president of its cards unit, said in an
                                                                              investor presentation Tuesday that the jump in personal
                                                                              bankruptcies would have "a modest impact" on fourth-
                                                                              quarter chargeoffs
11/22/2005     Business Wire    Fitch Affirms Countrywide & Washington        NEW YORK - (BUSINESS WIRE) - Nov. 21, 2005 - Fitch          Reuters News    RESEARCH ALERT-Citigroup initiates    Nov 22 (Reuters) - Citigroup has initiated coverage of
                                Mutual, Assigns 'A' to Countrywide Bank       Ratings has affirmed the ratings of Countrywide                             mortgage finance firms                specialty/mortgage finance companies, rating American
                                                                              Financial Corp. and Washington Mutual, Inc. and their                                                             Express Co. , SLM Corp. , Freddie Mac and Countrywide
                                                                              subsidiaries. The Rating Outlook is Stable for both                                                               Financial Corp. on "buy." . . . .
                                                                              companies. Concurrent with the ... . . . .
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                                                                                  Samples From Each Day Coded as Having WaMu Related News
Market Date       Source 1                     Headline 1                                            News Clip 1                           Source 2                      Headline 2                                         News Clip 2
11/23/2005     Associated Press Lenders Push Envelope to Get More Biz          NEW YORK (AP) - With the housing market cooling and
                 Newswires                                                     loan demand shrinking, banks and other lenders are
                                                                               turning to nontraditional and sometimes riskier
                                                                               mortgages to bring in more business and make up their
                                                                               lost revenue. . . . .
12/12/2005      Business Wire    Fitch Ratings Upgrades 11 & Affirms 65        NEW YORK - (BUSINESS WIRE) - Dec. 12, 2005 - Fitch
                                 WAMU RMBS Ratings from 21                     Ratings has taken rating actions on the following
                                 Securitizations                               Washington Mutual (WAMU) residential mortgage-
                                                                               backed pass-through certificates: . . . .


12/13/2005    The Baton Rouge Mortgage holders give storm victims a break Two of the countrys largest mortgage holding banks,
                 Advocate                                                 Wells Fargo & Co. and Washington Mutual Inc., are
                                                                          giving victims of hurricanes Katrina and Rita an extra
                                                                          three months to start making payments on their home
                                                                          loans. Wells Fargo, based in San Francisco,


12/22/2005      Business Wire    Washington Mutual Realigns Prime and          SEATTLE - (BUSINESS WIRE) - Dec. 21, 2005 - In a move Associated Press   WaMu commercial group president leaving       SEATTLE (AP) - The president of Washington Mutual
                                 Subprime Residential Lending Under One        that continues efforts to better serve home lending   Newswires          company                                       Inc.'s commercial group is leaving the savings and loan
                                 Management Team; Move Part of Ongoing         customers and improve operating efficiencies,                                                                          next year, the company said Wednesday, as it
                                 Efforts to Serve Customers...                 Washington Mutual, Inc. (NYSE:WM) announced today                                                                      announced plans to move its single-family residential
                                                                               its plans to align its single family ... . . . .                                                                       mortgage lending units under one ... . . . .


 1/6/2006       Business Wire    Washington Mutual Fourth Quarter and Year- SEATTLE - (BUSINESS WIRE) - Jan. 5, 2006 -
                                 End 2005 Earnings Release and Conference   Washington Mutual, Inc. (NYSE:WM) will release the
                                 Call                                       company's fourth quarter and year-end 2005 earnings on
                                                                            Wednesday, January 18, 2006, following the close of the
                                                                            New York Stock Exchange. . . . .


1/19/2006     Los Angeles Times Bank Jobs Head to Texas; Washington            Washington Mutual Inc. on Wednesday told 1,000          Business Wire    Washington Mutual Announces Fourth            SEATTLE - (BUSINESS WIRE) - Jan. 18, 2006 -
                                Mutual says it will shift 1,000 posts from     employees who work at a call center in Chatsworth that                   Quarter and 2005 Earnings; Diluted EPS        Washington Mutual, Inc. (NYSE:WM) today announced
                                Chatsworth to San Antonio and Costa Rica.      it would move their jobs to Texas and Costa Rica to cut                  Increased 12 Percent for the Quarter and 14   fourth quarter 2005 net income of $865 million, or $0.85
                                                                               costs. The positions will be phased out starting in two                  Percent for the Year...                       per diluted share, up 12 percent on a per share basis
                                                                               months, with some employees offered wo                                                                                 when compared with net income of ... . . . .


1/23/2006       Business Wire    Fitch Affirms 4 Washington Mutual RMBS        NEW YORK - (BUSINESS WIRE) - Jan. 23, 2006 - For the
                                 Ratings from 4 Securitizations                transactions below, Fitch rated only the A classes at
                                                                               'AAA'. The transactions have been reviewed and Fitch
                                                                               Ratings has affirmed four classes from the following
                                                                               Washington Mutual ... . . . .


1/24/2006        Seattle Post-   REGIONAL NEWS: WAMU'S TOP                     Washington Mutual Inc., the biggest U.S. savings and
                 Intelligencer   EXECUTIVES IN LINE FOR BIGGER                 loan, increased the amount of cash bonuses that
                                 BONUSES                                       Chairman and Chief Executive Kerry Killinger and other
                                                                               top executives can receive. . . . .
1/30/2006       Reuters News     Washington Mutual Bank sells $1 bln floating- NEW YORK, Jan 30 (Reuters) - Washington Mutual
                                 rate notes                                    Bank, a unit of Washington Mutual Inc. , sold $1 billion
                                                                               of five-year floating-rate bank notes, joint lead manager
                                                                               UBS Securities said on Monday. . . . .
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Market Date       Source 1                       Headline 1                                          News Clip 1                              Source 2                    Headline 2                             News Clip 2
 2/6/2006       Business Wire   Washington Mutual Continues to Open New      SEATTLE - (BUSINESS WIRE) - Feb. 6, 2006 -
                                Stores Nationwide; Washington Mutual's       Washington Mutual, Inc. (NYSE:WM), one of America's
                                Patented Retail Banking Concept Recognized   leading retailers of financial services, announced that it
                                Nationally and Internationally               is targeting to open from 150 to 200 new retail banking
                                                                             stores (branches) this year, ... . . . .


2/13/2006       Reuters News    Washington Mutual settles NY class-action    NEW YORK, Feb 13 (Reuters) - Washington Mutual Inc.
                                lawsuit                                      , the largest U.S. savings and loan, agreed to pay
                                                                             $350,000 to settle a New York class-action lawsuit
                                                                             accusing it of sending misleading debt collection letters. .
                                                                             ...
2/16/2006       Reuters News    UPDATE 1-WaMu to cut 2,500 jobs as           (Adds details) CHICAGO, Feb 15 (Reuters) -                     Reuters News   UPDATE 1-S&P raises outlooks on   (Adds analyst comment, byline; updates stock and bond
                                housing market cools                         Responding to the cooling housing market, Washington                          Wachovia, Wells Fargo, WaMu       prices) NEW YORK, Feb 16 (Reuters) - Standard &
                                                                             Mutual Inc. , the largest U.S. savings and loan, said on                                                        Poor's on Thursday raised its ratings outlook for
                                                                             Wednesday that it was laying off 2,500 support                                                                  Wachovia Corp. , Wells Fargo & Co. and Washington
                                                                             employees in its mortgage unit. . . . .                                                                         Mutual Inc. to "positive" ... . . . .


2/22/2006     Moody's Investors MOODY'S ASSIGNS Baa2 TO THE                  Moody's Investors Service has assigned Baa2 ratings to
               Service Press    EXCHANGEABLE NON-CUMULATIVE                  the Exchangeable Perpetual Non-cumulative Preferred
                  Release       PREFERRED SECURITIES ISSUED BY               Securities being issued by Washington Mutual Preferred
                                WASHINGTON MUTUAL PREFERRED                  Funding (Cayman) Ltd. and Washington Mutual
                                FUNDING (CAYMAN) I LT...                     Preferred Funding Trust I. The ... . . . .


2/23/2006     Dow Jones Capital Washington Mutual To Sell At Least $1B Of    NEW YORK (Dow Jones)--Keeping in line with the
               Markets Report Hybrids                                        recent burst of hybrid offerings - securities that carry
                                                                             both debt and stock features - mortgage provider
                                                                             Washington Mutual (WM) is in market with a deal of its
                                                                             own. . . . .
2/24/2006       Reuters News    Washington Mutual launches $2 bln hybrid     NEW YORK, Feb 24 (Reuters) - Washington Mutual
                                sale                                         Preferred Funding on Friday launched a $2 billion two-
                                                                             part sale of hybrid securities, expected to price later on
                                                                             Friday, a market source said. . . . .


 3/1/2006     Dow Jones Capital Buyers' Remorse Sets In On Washington        NEW YORK (Dow Jones)--Buyers' remorse appears to
               Markets Report Mutual Hybrids                                 have kicked in to the investment-grade corporate bond
                                                                             market on Tuesday as risk premiums on Washington
                                                                             Mutual's (WM) recently priced hybrid securities traded
                                                                             wider. . . . .
 3/6/2006       Reuters News    Washington Mutual CEO awarded $13.7          NEW YORK, March 3 (Reuters) - Washington Mutual
                                mln, options                                 Inc. , the largest U.S. savings and loan, on Friday said it
                                                                             increased chief executive Kerry Killinger's compensation
                                                                             12 percent in 2005 to $13.7 million, and awarded him
                                                                             stock options that ... . . . .
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Market Date      Source 1                        Headline 1                                        News Clip 1                            Source 2   Headline 2   News Clip 2
 3/13/2006     Business Wire   Washington Mutual Ups the Ante with New       Today WaMu announced it has redefined every
                               Free Checking Account; Consumers Win Big      consumer's must-have product by introducing a new
                               with Free ATM Cash Withdrawals, a Free        free checking product that combines an unprecedented
                               Overdraft/NSF Fee Waiver Each Year, Free      bundle of features that all add up to convenience and
                               Checks for Life, Cash Back for Debit Card     value never before seen in any checking account. T
                               Use, Free Outbound Wires and More



 4/5/2006      Business Wire   Fitch Affirms Washington Mutual's             NEW YORK - (BUSINESS WIRE) - April 5, 2006 - Fitch
                               Residential Master Servicer Rating            Ratings affirms Washington Mutual Mortgage Securities
                                                                             Corp.'s (WMMSC) 'RMS2+' residential master servicer
                                                                             rating. The rating is based on the company's ability to
                                                                             effectively oversee and ... . . . .


 4/6/2006       San Antonio    Washington Mutual boosting its staff by 200   Washington Mutual is continuing to expand its regional
                  Express                                                    operations center in North San Antonio by adding 200
                                                                             full-and part-time workers this month. Most of the new
                                                                             hires will be "telephone bankers" who are paid $10.35 an
                                                                             hour to start, company spokesman


4/18/2006     Dow Jones News Washington Mutual Reports 1Q 2006 EPS Of        Dow Jones Newswires Washington Mutual Inc. (WM)
                 Service     98 Cents; Bd Of Directors Increases Cash Div    said late Tuesday that first-quarter net income came in at
                             To 51 Cents; WaMu Free Checking(TM)             $985 million, or 98 cents a share, up 9% from a year
                             Account Fuels...                                earlier when the mortgage lender earned $902 million, or
                                                                             $1.01 a share on fewer ... . . . .


4/19/2006      Business Wire   Washington Mutual Comments on Early           SEATTLE - (BUSINESS WIRE) - April 18, 2006 -
                               Release of Earnings                           Washington Mutual, Inc. (NYSE:WM) today reported
                                                                             first quarter 2006 earnings at 3:46 p.m. EDT, prior to the
                                                                             close of the market following the inadvertent and
                                                                             unauthorized release of the first ... . . . .


4/24/2006      Business Wire   Washington Mutual to Acquire Commercial       SEATTLE & IRVINE, Calif. - (BUSINESS WIRE) - April
                               Capital Bancorp, Inc.; Deal Strengthens       23, 2006 - Washington Mutual, Inc. (NYSE:WM), and
                               WaMu's Commercial and Retail Banking          Commercial Capital Bancorp, Inc. (NASDAQ:CCBI)
                               Businesses                                    announced that they have entered into a definitive
                                                                             merger agreement in which Washington ... . . . .


4/25/2006      Reuters News    RESEARCH ALERT-Wedbush cuts                   April 25 (Reuters) -         COMMERCIAL CAPITAL
                               Commercial Capital Bancorp to "hold"          BANCORP INC.                    Current     Prior
                                                                             Rating         Hold       Strong buy Price target
                                                                             $16       $20 . . . .
4/27/2006      Reuters News    Washington Mutual Bank sells $1 bln 3-yr      NEW YORK, April 27 (Reuters) - Washington Mutual
                               floaters                                      Bank on Thursday sold $1 billion of three-year floating-
                                                                             rate notes, said joint lead manager Detusche Bank
                                                                             Securities. . . . .
 5/2/2006      Business Wire   Fitch Upgrades 68 & Affirms 108 WAMU          NEW YORK - (BUSINESS WIRE) - May 1, 2006 - Fitch
                               RMBS Ratings from 107 Securitizations         Ratings has taken rating actions on the following
                                                                             Washington Mutual (WAMU) residential mortgage-
                                                                             backed certificates: . . . .
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Market Date      Source 1                   Headline 1                                              News Clip 1                            Source 2   Headline 2   News Clip 2
 5/8/2006     Dow Jones News Mortgage Cos. Up After Wachovia Bid For         NEW YORK (Dow Jones)--Shares of several mortgage
                  Service    Golden West Fincl                               companies rose in the wake of Wachovia Corp.'s (WB)
                                                                             roughly $26 billion bid for Golden West Financial Corp.
                                                                             (GDW), . . . .
5/15/2006      Reuters News    Washington Mutual Bank launches $1.25 bln NEW YORK, May 15 (Reuters) - Washington Mutual
                               debt sale                                 Bank, a unit of Washington Mutual Inc. , launched a
                                                                         three-part debt deal with pricing expected later on
                                                                         Monday, joint lead manager Barclays Capital said. . . . .


5/16/2006      Business Wire   Washington Mutual Enhances Home Equity        SEATTLE - (BUSINESS WIRE) - May 16, 2006 - In a
                               Line of Credit Product to Provide Greater     move to provide greater payment flexibility to
                               Payment Flexibility; Allows Consumers to      consumers, Washington Mutual (NYSE:WM) is
                               Make Interest Only...                         introducing a new enhancement to its WaMu Equity
                                                                             Plus(TM) account. The new feature gives customers with
                                                                             ... . . . .

5/24/2006     Associated Press Washington Mutual laying off 1,400 in         SEATTLE (AP) - Washington Mutual Inc., the nation's
                Newswires      Washington, Florida                           largest savings and loan, notified 1,400 workers in
                                                                             Washington and Florida on Tuesday that they will lose
                                                                             their jobs as part of the company's cost-saving strategy. .
                                                                             ...
 6/6/2006      PR Newswire     Washington Mutual Sued for Alleged Labor      NEW YORK, June 6 /PRNewswire/ -- Washington
                  (U.S.)       Law Violations, According to Nichols Kaster   Mutual Inc. faces allegations by former employees in
                               & Anderson, PLLP and Outten & Golden          New York, California and Illinois that the company
                               LLP                                           violated labor laws by failing to pay overtime wages and
                                                                             the federal minimum wage of $5.15 ... . . . .


 6/7/2006     Moody's Investors MOODY'S ASSIGNS WASHINGTON                   US RESIDENTIAL MORTGAGE SERVICER RATING
               Service Press    MUTUAL AN SQ2+ RATING AS A                   ACTIONS Moody's Investors Service has assigned
                  Release       MASTER SERVICER OF RESIDENTIAL               Washington Mutual Mortgage Securities Corp.
                                MORTGAGE LOANS                               ("Washington Mutual"), a wholly-owned subsidiary of
                                                                             Washington Mutual Bank, an SQ2+ rating as a master ...
                                                                             ....

6/13/2006      Reuters News    Washington Mutual Bank launches $1 bln 2- NEW YORK, June 13 (Reuters) - Washington Mutual
                               part note sale                            Bank launched its $1 billion two-part note sale on
                                                                         Tuesday, said joint lead manager J.P. Morgan Chase. . . .
                                                                         .
6/16/2006      Business Wire   Fitch Rates Washington Mutual Master Note NEW YORK - (BUSINESS WIRE) - June 15, 2006 -
                               Trust WaMu Card Series 2006-A2 'AAA'      Washington Mutual Master Note Trust's $750 million
                                                                         class A 2006-A2 floating-rate notes (formerly Providian
                                                                         Master Note Trust ProvidianSeries) are rated 'AAA' by
                                                                         Fitch Ratings. Class A noteholders ... . . . .


6/27/2006        Dow Jones      Commercial Capital Bancorp Signs MOU         WASHINGTON (Dow Jones)--Commercial Capital
              Corporate Filings With Purported Hldr                          Bancorp Inc.(CCBI) said Monday that it entered into a
                   Alert                                                     stipulation of settlement with a shareholder who filed a
                                                                             purported class action against the company's merger
                                                                             with Washington Mutual Inc. (WM) . . . .
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Market Date       Source 1                      Headline 1                                             News Clip 1                           Source 2                     Headline 2                                       News Clip 2
 6/29/2006       Dow Jones      Washington Mutual Amends Bylaws,               WASHINGTON (Dow Jones)--Washington Mutual Inc.
              Corporate Filings Reduces Bd Size                                (WM) said on Wednesday that it amended its bylaws to
                   Alert                                                       reduce the size of its board and to eliminate the
                                                                               classification provisions. . . . .
 7/3/2006       Business Wire   Washington Mutual, Inc. Announces the          SEATTLE - (BUSINESS WIRE) - July 3, 2006 -
                                Convertibility of New American Capital, Inc.   Washington Mutual, Inc. (NYSE:WM) today announced
                                4% Convertible Senior Notes Due May 15,        that New American Capital, Inc.'s 4% Convertible Notes
                                2008                                           due May 15, 2008 (the "Notes") will be convertible into
                                                                               shares of Washington Mutual common ... . . . .


7/12/2006       Business Wire   Fitch Affirms Washington Mutual's CMBS         CHICAGO - (BUSINESS WIRE) - July 12, 2006 - Fitch
                                Servicer Ratings                               Ratings affirms Washington Mutual Bank's (WMB)
                                                                               CMBS servicer ratings as follows: -- Primary servicer
                                                                               'CPS2-'; . . . .
7/13/2006      Associated Press Washington Mutual cuts 900 jobs                SEATTLE (AP) - Washington Mutual Inc. said Thursday
                 Newswires                                                     it is cutting another 900 jobs to save money, and
                                                                               outsourcing some of that work. The cuts are the latest in
                                                                               a series of major layoffs at Washington Mutual, which
                                                                               has struggled with ... . . . .


7/18/2006      Associated Press Earnings Preview: Washington Mutual            NEW YORK (AP) - Washington Mutual & Co. reports
                 Newswires                                                     second-quarter earnings on Wednesday after the market
                                                                               closes. The following is a summary of key developments
                                                                               and analyst opinion related to the period. . . . .


7/20/2006      Associated Press Washington Mutual posts lower 2Q earnings SEATTLE (AP) - Washington Mutual Inc. said second-               Reuters News   Washington Mutual to offshore 1,500 more   NEW YORK, July 19 (Reuters) - Washington Mutual Inc.
                 Newswires      because of restructuring charges          quarter earnings fell sharply because of two large one-                         jobs                                       plans by the end of 2007 to have the equivalent of 7,500
                                                                          time charges associated with restructuring moves, but                                                                      full-time employees outside the United States, up from
                                                                          excluding those items the company narrowly beat Wall                                                                       its prior forecast of 6,000, to help save money, Chief
                                                                          Street estimates. . . . .                                                                                                  Executive Kerry ... . . . .
7/24/2006     National Mortgage WaMu Cutting More Mortgage Jobs2               Washington Mutual, which slashed its mortgage
                    News                                                       workforce by 19% in February, has cut another 900 jobs
                                                                               overall. About 350 of the new layoffs are mortgage
                                                                               related, a company spokeswoman told National
                                                                               Mortgage News. Most of the mortgage cuts are tied to t


7/25/2006       Business Wire   Commercial Capital Bancorp, Inc.           IRVINE, Calif. - (BUSINESS WIRE) - July 25, 2006 -
                                Shareholders Approve the Plan of Merger    Commercial Capital Bancorp, Inc. (the "Company")
                                and Acquisition by Washington Mutual, Inc. (NASDAQ:CCBI) announced today that, at the special
                                                                           meeting of stockholders held today, the Company's
                                                                           shareholders approved and adopted the ... . . . .


7/26/2006     Dow Jones News The Principal Fincl Group Announces Pact          Corrected July 25, 2006 17:05 ET (21:05 GMT) [ 07-25-06
                 Service     To Buy Leading Mutual Fund Manager, WM            1704ET ]     By David Enrich Of DOW JONES
                             Advisors; Acquisition Positions The Principal     NEWSWIRES NEW YORK (Dow Jones)--Washington
                             For Further...                                    Mutual Inc. (WM) agreed Tuesday to sell its asset-
                                                                               management arm to Principal Financial ... . . . .
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Market Date       Source 1                   Headline 1                                            News Clip 1                           Source 2   Headline 2   News Clip 2
 8/10/2006      Reuters News   Washington Mutual cuts $337 mln retained    Washington Mutual Inc. , the largest U.S. savings and
                               earnings                                    loan, on Thursday said it has reduced retained earnings
                                                                           by $337 million after reviewing its income tax accounts.
                                                                           In a U.S. Securities and Exchange Commission filing, the
                                                                           Seattle-based thrift said th


8/14/2006     National Mortgage Analyst Stands by WaMu                     Investors reacted coolly to Washington Mutual's second-
                    News                                                   quarter earnings data, but an analyst at Friedman
                                                                           Billings Ramsey has maintained its "outperform" rating
                                                                           on the company's stock. Analyst Paul Miller said that
                                                                           despite "noisy" second-quarter results


8/15/2006        Dow Jones     UPDATE: WaMu, Wells Fargo Add Credit        Amid concerns about the housing market and
               Business News   Risk As Housing Slows                       consumers, Washington Mutual and Wells Fargo on
                                                                           Monday said they remain confident enough about credit
                                                                           quality to boost their offerings of riskier loans such as
                                                                           subprime mortgages and home equity loans or to se


8/24/2006     Dow Jones News OTS Approves WaMu Acquisition Of              DOW JONES NEWSWIRES The Office of Thrift
                 Service     Commercial Capital Bancorp, Inc.              Supervision on Wednesday approved the acquisition of
                                                                           Commercial Capital Bancorp Inc. (CCBI) by Washington
                                                                           Mutual Inc. (WM). . . . .
8/25/2006       Reuters News   Washington Mutual plans senior euro FRN - Washington Mutual Bank plans to issue a senior euro-
                               lead                                      denominated floating-rate note, an official at one of the
                                                                         banks managing the sale said on Friday. Barclays
                                                                         Capital and UBS will manage the deal, which is expected
                                                                         to be launched in the near future, t


 9/5/2006       Reuters News   UPDATE 1-Washington Mutual to sell first    (Updates size of market; adds Washington Mutual
                               U.S. covered bonds                          rating, details on other banks) NEW YORK, Sept 5
                                                                           (Reuters) - Washington Mutual Inc., the U.S.' third
                                                                           largest lender, will become the first bank in the country
                                                                           to tap the growing covered-bond ... . . . .


 9/8/2006       Reuters News   UPDATE 1-Washington Mutual eyes fewer       (Adds CEO interview, analyst comment) NEW YORK,
                               one-family home loans                       Sept 7 (Reuters) - Washington Mutual Inc. said on
                                                                           Thursday it expects to cut back on loans to fund single-
                                                                           family home purchases and shift toward higher-
                                                                           yielding, riskier assets despite ... . . . .


9/12/2006     Moody's Investors Moody's Rates Two New Issusances From      $450 million of Asset-Backed Securities Rated. Moody's
               Service Press    the Washington Mutual Master Note Trust    Investors Service assigned ratings of Aa2 and Baa2 to the
                  Release       Aa2 and Baa2                               Class 2006-M1 and Class 2006-C2 Notes, respectively,
                                                                           issued from the Washington Mutual Master Note Trust. .
                                                                           ...
9/20/2006       Reuters News   WaMu sells debut U.S. covered bond -leads   LONDON, Sept 20 (Reuters) - Seattle-based Washington
                                                                           Mutual Inc. sold a debut 4 billion euro ($5.06 billion)
                                                                           covered bond on Wednesday, the lead managers said,
                                                                           becoming the first U.S. issuer to tap the 1.7-trillion-euro
                                                                           covered bond market. ... . . . .
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Market Date      Source 1                   Headline 1                                           News Clip 1                           Source 2                        Headline 2                                       News Clip 2
 9/21/2006    Dow Jones News WaMu Exec: 'Very Difficult' Bank            By Nick Godt Washington Mutual's (WM) chief
                  Service    Environment To Continue                     operating officer, Steve Rotella, said Wednesday that the
                                                                         current environment in the banking industry is
                                                                         "difficult" and is expected to remain "very difficult" on
                                                                         the revenue side for ... . . . .
9/28/2006      Reuters News    Washington Mutual may sell more covered   NEW YORK, Sept 27 (Reuters) - Washington Mutual, the
                               bonds soon                                third-biggest U.S. mortgage lender, will tap the 1.7
                                                                         trillion euro covered bond market for a second time as
                                                                         early as next quarter, Treasurer Robert Williams said on
                                                                         Wednesday. . . . .


10/2/2006      Business Wire   WaMu Completes Acquisition of             SEATTLE - (BUSINESS WIRE) - Washington Mutual,
                               Commercial Capital Bancorp, Inc.          Inc. (NYSE:WM), today announced the company has
                                                                         completed the acquisition of Commercial Capital
                                                                         Bancorp, Inc. in a cash transaction worth approximately
                                                                         $983 million in aggregate. Commercial ... . . . .


10/4/2006      Business Wire   Washington Mutual Third Quarter 2006      SEATTLE - (BUSINESS WIRE) - Washington Mutual,
                               Earnings Release and Conference Call      Inc. (NYSE:WM) will release the company's third quarter
                                                                         2006 earnings on Wednesday, October 18, 2006,
                                                                         following the close of the New York Stock Exchange. . . .
                                                                         .
10/5/2006      Reuters News    RESEARCH ALERT-Prudential initiates       Oct 5 (Reuters) - Prudential Equity Group initiated         ociated Press NewswWashington Mutual's new strategy raises   NEW YORK (AP) - Washington Mutual Inc.'s efforts to
                               Washington Mutual                         coverage of mortgage lender Washington Mutual Inc.                             credit risk                               spice up its home-loan business raise the question of
                                                                         with an "underweight" rating and a price target of $45. . .                                                              whether the company is trading interest-rate risk for too
                                                                         ..                                                                                                                       much credit risk. . . . .
10/11/2006     Reuters News    UPDATE 1-RESEARCH ALERT-Morgan            (Adds price target, changes source) Oct 11 (Reuters) -
                               Stanley raises Washington Mutual          Morgan Stanley raised its rating on mortgage lender
                                                                         Washington Mutual Inc. to "equal weight" from
                                                                         "underweight." . . . .
10/18/2006     Reuters News    Washington Mutual unit sale gets US       WASHINGTON, Oct 18 (Reuters) - U.S. antitrust
                               antitrust nod                             authorities said on Wednesday they approved plans by
                                                                         Washington Mutual Inc. , the largest U.S. savings and
                                                                         loan, to sell its WM Advisors Inc. asset management unit
                                                                         to Principal Financial Group ... . . . .


10/19/2006    Dow Jones News UPDATE: Washington Mutual 3Q Net            SEATTLE (AP)--Washington Mutual Inc. said its third- ow Jones News ServiWashington Mutual Reports 3Q EPS Of 77 C - DOW JONES NEWSWIRES Washington Mutual Inc.
                 Service     Down, Missing Views                         quarter profits slid Wednesday as the company                           - Results Included Charges Associated With (WM) on Wednesday said third-quarter profit fell 8.8%
                                                                         continued broad efforts to cut costs. The results widely                The Sale Of Mortgage Servicing Rights And as the company took a combined $64 million, or 7 cents a
                                                                         missed Wall Street's expectations. . . . .                              Efficiency...                              share, in after-tax charges. . . . .


11/3/2006      Business Wire   Fitch Affirms Washington Mutual Bank      NEW YORK - (BUSINESS WIRE) - Fitch Ratings affirms
                               Credit Card Seller/Servicer Rating        Washington Mutual Bank's (WMB) ABS Seller/Servicer
                                                                         rating for credit card origination and servicing of
                                                                         'ABPS/S 3+' (rating was originally assigned to Providian
                                                                         National Bank). The rating is ... . . . .
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Market Date      Source 1                    Headline 1                                               News Clip 1                       Source 2   Headline 2   News Clip 2
11/13/2006    Associated Press Washington Mutual to pay $47M settlement      SEATTLE (AP) - Washington Mutual Inc., the nation's
                Newswires                                                    largest thrift bank, said Monday it agreed to pay
                                                                             banking and financial services company Comerica Inc.
                                                                             $47 million to settle a lawsuit against Commercial
                                                                             Capital Bancorp Inc., which it ... . . . .


11/14/2006      Reuters News    UPDATE 3-Washington Mutual, Comerica         (Adds details, paragraphs 3-4, 8) NEW YORK, Nov 13
                                settle Calif. lawsuit                        (Reuters) - Washington Mutual Inc. , the largest U.S.
                                                                             savings and loan, paid $47 million to Comerica Inc. to
                                                                             settle litigation over the defection of about two dozen
                                                                             Comerica employees, ... . . . .
11/17/2006      Business Wire   Fitch Upgrades Washington Mutual's Alt-A     NEW YORK - (BUSINESS WIRE) - Fitch Ratings
                                and Subprime Servicer Ratings                upgrades the residential primary servicer ratings for
                                                                             Washington Mutual Bank (WaMu) to 'RPS2+' from
                                                                             'RPS2' for subprime and Alt-A products, and affirms its
                                                                             'RPS2+' residential primary servicer ... . . . .


11/20/2006      Business Wire   Fitch Affirms Washington Mutual              NEW YORK - (BUSINESS WIRE) - Fitch Ratings has
                                                                             affirmed the ratings of Washington Mutual, Inc.
                                                                             ('A'/'F1') and its primary subsidiary, Washington
                                                                             Mutual Bank ('A'/'F1') and other related debt. The
                                                                             Rating Outlook is Stable. A complete list of ... . . . .


11/27/2006    Dow Jones Capital Washington Mutual Plans Euro Benchmark       LONDON (Dow Jones)--Washington Mutual (WM)
               Markets Report 10Yr Bond                                      Plans to sell a new euro-denominated 10-year bond that
                                                                             will have a benchmark volume, one of the lead managers
                                                                             said Monday. . . . .
11/28/2006    Dow Jones Capital Washington Mutual Sets Final Spread On       LONDON (Dow Jones)--Washington Mutual (WM) has
               Markets Report Euro Bond                                      set the final spread of its upcoming euro-denominated
                                                                             10-year bond at 62 basis points over mid-swaps, one of
                                                                             the banks lead managing the issue said Tuesday. . . . .


12/5/2006     Regulatory News Washington Mutual Bank - Issue of Debt         RNS Number:3084N Washington Mutual Bank 05
                  Service                                                    December 2006 Final Terms dated November 28, 2006
                                                                             WASHINGTON MUTUAL BANK (a federally chartered
                                                                             savings association, chartered and operating under the
                                                                             United States . . . .
12/7/2006     Moody's Investors Moody's Assigned Baa2 to the Exchangeable    Moody's Investors Service has assigned a rating of Baa2
               Service Press    Non-Cumulative Preferred Securities Issued   on December 6, 2006 to the Exchangeable Perpetual Non-
                  Release       by Washington Mutual Preferred Funding       cumulative Preferred Securities being issued by
                                Trust II                                     Washington Mutual Preferred Funding Trust II. . . . .


12/8/2006        Euroweek       WaMu wipes the slate clean with a $500m      Washington Mutual this week redeemed itself in the US
                                blowout deal                                 hybrid market when it issued a blowout $500m
                                                                             perpetual non-call 10 year tier one transaction.
                                                                             The success of the deal, led by Credit Suisse, Goldman
                                                                             Sachs, Lehman Brothers and Morgan Stanley, essen
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Market Date      Source 1                       Headline 1                                      News Clip 1                            Source 2                    Headline 2                                        News Clip 2
12/11/2006     BusinessWeek    A FAREWELL TO ARMS? NOT QUITE YET; One of the ugliest consequences of the last housing
                               New classes of lenders are jumping in to boom has been the rise of risky loans known as option
                               offer high-risk mortgages                ARMs. The adjustable-rate mortgages let borrowers
                                                                        make smaller monthly payments than they actually owe,
                                                                        with the shortfall getting ... . . . .


12/13/2006     Reuters News    WaMu CEO sees tough '07 for mortgage        NEW YORK (Reuters) - Washington Mutual Inc.'s chief
                               industry                                    executive said Wednesday that he expects 2007 to be
                                                                           another tough year for the U.S. mortgage industry,
                                                                           which faces overcapacity and unsustainably low
                                                                           margins. . . . .
12/18/2006    PrimeNewswire    Keller Rohrback L.L.P. Announces               SEATTLE, Dec. 18, 2006 (PRIME NEWSWIRE) -- Keller he Wall Street JournaWaMu Whiplash: Fast Expansion Yields        THREE YEARS ago, Washington Mutual Inc. was on its
                               Investigation on Behalf of Participants of the Rohrback L.L.P. ( www.erisafraud.com ) today                           Problems --- Thrift Chose Some Poor Sites   way to becoming the banking industry's newest
                               Washington Mutual Inc. Pension Plan            announced that it has commenced an investigation                       And Mortgage Efforts Stumble, But Rebound   household name. The Seattle thrift was opening new
                                                                              against Washington Mutual Inc. ("WaMu") (NYSE:WM)                      Plan Is in Place                            retail branches at a whirlwind pace, convinced that
                                                                              for potential violations of the Employee ... . . . .                                                               building from scratch was a smarter way ... . . . .


12/22/2006    Associated Press Washington Mutual ordered to pay            SEATTLE (AP) - Washington Mutual Inc. has been
                Newswires      whistleblower $1.2 million                  ordered to pay more than $1 million to a whistleblower
                                                                           who complained of retaliation for reporting that policies
                                                                           were not being followed in loan processing. . . . .


 1/3/2007      Business Wire   Washington Mutual Fourth Quarter and Year- SEATTLE - (BUSINESS WIRE) - Washington Mutual,
                               End 2006 Earnings Release and Conference   Inc. (NYSE:WM) will release the company's fourth
                               Call                                       quarter and year-end 2006 earnings on Wednesday,
                                                                          January 17, 2007, following the close of the New York
                                                                          Stock Exchange. . . . .


 1/4/2007      Reuters News    RESEARCH ALERT-CS ups price targets on , Jan 4 (Reuters) - Credit Suisse raised its price target on
                               ,                                        financial services company Washington Mutual Inc. to
                                                                        $50 from $43. The brokerage also raised its price targets
                                                                        on home-funding companies Fannie Mae and Freddie
                                                                        Mac to $62 from $55 ... . . . .


 1/9/2007      Business Wire   Fitch Upgrades 13 & Affirms 51 WAMU         NEW YORK - (BUSINESS WIRE) - Fitch Ratings has
                               RMBS Ratings from 21 Securitizations        taken rating actions on the following Washington
                                                                           Mutual (WAMU) residential mortgage-backed
                                                                           certificates: . . . .
1/11/2007     Dow Jones News Washington Mutual 4Q May Show Pressure        By Alistair Barr Washington Mutual Inc.'s (WM)
                 Service     From Yield Curve                              fourth-quarter results due next week may show
                                                                           continued pressure from the flat yield curve, while
                                                                           analysts will be watching earnings from Wells Fargo &
                                                                           Co. (WFC) for any further ... . . . .
1/16/2007     Dow Jones News WSJ.COM/Earnings Preview: Wash. Mutual Washington Mutual Inc. (WM) - reports Jan. 17, after the
                 Service     Reports Wed.                           market closes After a rapid expansion, the Seattle-
                                                                    based thrift struggled in 2006 amid the nation's housing
                                                                    slowdown and continued pressure on lending margins.
                                                                    Profit for ... . . . .
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Market Date      Source 1                  Headline 1                                                News Clip 1                               Source 2                   Headline 2                                      News Clip 2
 1/18/2007    Dow Jones News WaMu Reports 4Q EPS Of $1.10 And 2006           DOW JONES NEWSWIRES Washington Mutual Inc.'s
                  Service    EPS Of $3.64                                    (WM) fourth-quarter net income improved to $1.06
                                                                             billion, or $1.10 a share, from a year-earlier profit of $865
                                                                             million, or 85 cents a share. . . . .


1/24/2007      Reuters News     Washington Mutual CEO awarded $5.97 mln NEW YORK, Jan 24 (Reuters) - Washington Mutual Inc. ,
                                stock                                   the largest U.S. savings and loan, awarded Chief
                                                                        Executive Kerry Killinger about $5.97 million of
                                                                        restricted stock as part of his compensation for 2006,
                                                                        when a loss in its mortgage unit ... . . . .


 2/8/2007        Dow Jones      Washington Mutual Amends Bylaws, Adopts Washington Mutual Inc. (WM) after Wednesday's                        Reuters News   US STOCKS-Indexes slip as HSBC, New      U.S. stocks fell on Thursday as warnings of losses
              Corporate Filings Majority Voting                         closing bell said it had amended its bylaws to include a                            Century warn on bad loans2               stemming from bad home loans by two of the top three
                   Alert                                                majority vote standard for the election of directors in                                                                      U.S. subprime mortgage lenders hurt shares of home
                                                                        uncontested elections.                                                                                                       loan companies and banks like Citigroup Inc. Britain's
                                                                        The banking concern said nominees for the board who                                                                          HSBC Holdings Plc and New Century Financia
                                                                        don't receive a m

2/12/2007      Business Wire    WaMu Names Anthony F. Vuoto President        SEATTLE - (BUSINESS WIRE) - Washington Mutual,
                                of its Credit Card Business                  Inc. (NYSE:WM) announced today that Anthony (Tony)
                                                                             F. Vuoto has been named president of the company's
                                                                             credit card business. Vuoto was also appointed to
                                                                             WaMu's Executive Committee and will now ... . . . .


2/13/2007       Seattle Post-   REGIONAL NEWS: VISA             Visa International, the largest credit-card network,
                Intelligencer   INTERNATIONAL TAPS EXEC AT WAMU named Washington Mutual Inc.'s Joseph Saunders
                                TO OVERSEE ITS IPO              executive chairman to oversee its transition to a public
                                                                company early next year. Saunders, who headed the
                                                                turnaround of card portfolios at the former F


2/27/2007     PrimeNewswire     Keller Rohrback L.L.P. Announces             SEATTLE, Feb. 27, 2007 (PRIME NEWSWIRE) -- Keller
                                Investigation of Washington Mutual, Inc.     Rohrback L.L.P. today announced that it is investigating
                                401K Fees and Expenses                       Washington Mutual, Inc. ("WaMu" or the "Company")
                                                                             regarding the Washington Mutual, Inc. WaMu Savings
                                                                             Plan (the "Plan"). In particular ... . . . .


 3/5/2007      Business Wire    Finkelstein & Krinsk Announces Class Action SAN DIEGO - (BUSINESS WIRE) - Investors today                    Reuters News   UPDATE 1-JP Morgan, B of A among banks   (Updates with analyst comment, new bond quote)
                                Lawsuit Against Washington Mutual           (Friday) filed a class action lawsuit against Washington                        Moody's upgrades                         NEW YORK, March 5 (Reuters) - Moody's Investors
                                                                            Mutual and its subsidiary companies alleging that it                                                                     Service has raised its ratings on Bank of America, JP
                                                                            knowingly deceived retail investors by steering them to                                                                  Morgan Chase and Washington Mutual Inc. as part of a
                                                                            Washington Mutual's own ... . . . .                                                                                      sweeping review to include the role ... . . . .


 3/9/2007     Dow Jones News IN THE MONEY: Risky Slice of Subprime           By Steven D. Jones and Lingling Wei A Dow Jones
                 Service     Upsets Lenders                                  Newswires Column NEW YORK (Dow Jones)--
                                                                             Subprime lenders have more than $2 billion in residuals
                                                                             on the books and analysts expect up to 20% of that value
                                                                             may vanish in coming weeks ... . . . .
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Market Date      Source 1                        Headline 1                                            News Clip 1                                 Source 2                     Headline 2                                News Clip 2
 3/14/2007     Business Wire    Fitch Upgrades 1, Affirms 18 WAMU RMBS        Fitch Ratings has taken rating actions on the following
                                Classes from 4 Securitizations                Washington Mutual (WAMU) residential mortgage-
                                                                              backed certificates: WAMU, mortgage pass-through
                                                                              certificates, series 2002-AR18; Washington Mutual
                                                                              Mortgage (WAMMS) pass-through certificates, series


3/15/2007        Dow Jones      UPDATE: Top 10 Subprime Originators           By Laura Mandaro SAN FRANCISCO (Dow Jones) --                  ones Corporate FilingWashington Mutual Names Melissa   DOW JONES NEWSWIRES Washington Mutual Inc.
               Business News    Slanted Toward West Coast                     The West is the best, sang a '60's rocker -- and that                               Ballenger As Controller           (WM) on Wednesday said it promoted Melissa Ballenger
                                                                              sentiment also rings true among subprime mortgage                                                                     to the position of company controller. Ballenger, who
                                                                              originators. . . . .                                                                                                  was assistant controller, got the new position after John
                                                                                                                                                                                                    Woods left it to become ... . . . .


3/19/2007       Seattle Post-   REGIONAL NEWS: WAMU INC. PLANS                Washington Mutual Inc., the biggest U.S. savings and
                Intelligencer   TO SELL $842 MILLION IN BONDS                 loan, plans to sell $842 million in bonds backed mainly
                                                                              by debt obligations on apartment buildings, Moody's
                                                                              Investors Service said. . . . .
3/20/2007      Reuters News     Washinton Mutual CEO gets $18.09 mln          NEW YORK, March 19 (Reuters) - Washington Mutual
                                compensation for 2006                         Inc. Chief Executive Kerry Killinger received an $18.09
                                                                              million compensation package for 2006, when the largest
                                                                              U.S. savings and loan's shares lagged its peers and a loss
                                                                              from mortgages ... . . . .


3/27/2007      Reuters News     WaMu subprime ABS delinquencies top ABX NEW YORK, March 27 (Reuters) - Washington Mutual
                                components                              Inc.'s subprime bonds are suffering from some of the
                                                                        worst rates of delinquency among securities in
                                                                        benchmark indexes, according to JPMorgan Chase & Co.
                                                                        research. . . . .
 4/4/2007     PrimeNewswire     Keller Rohrback L.L.P. Announces               SEATTLE, April 4, 2007 (PRIME NEWSWIRE) -- Keller
                                Investigation on Behalf of Participants of the Rohrback L.L.P. ( www.erisafraud.com ) today
                                Washington Mutual, Inc. Pension Plan           announced its investigation against Washington Mutual,
                                                                               Inc. ("WaMu") (NYSE:WM) for potential violations of the
                                                                               Employee Retirement Income ... . . . .


 4/9/2007     Moody's Investors Moody's affirms Washington Mutual             U.S. Residential Mortgage Servicer Rating Action
               Service Press    subprime rating of SQ2                        Moody's Investors Service has affirmed the rating of SQ2
                  Release                                                     as a primary servicer of subprime residential mortgage
                                                                              loans for Washington Mutual Bank ("WAMU"). Moody's
                                                                              ratings are based on the ... . . . .


4/10/2007     Dow Jones News OPTIONS REPORT: Traders Buy Puts On              Concerned that next week's earnings reports will bring ow Jones News ServiOPTIONS REPORT: Traders Buy Puts On         NEW YORK (Dow Jones)--Concerned that next week's
                 Service     Washington Mutual, Banks                         with them more bad news about the mortgage sector,                        Washington Mutual, Banks                    earnings reports will bring with them more bad news
                                                                              traders sought protection from declines to come in                                                                    about the mortgage sector, traders sought protection
                                                                              shares of several banks Tuesday. Trading was most                                                                     from declines to come in shares of several banks
                                                                              notable in put options on Washington Mutual I                                                                         Tuesday. . . . .


4/11/2007      Reuters News     Option investors play it safe in Washington   CHICAGO, April 10 (Reuters) - Some option investors
                                Mutual                                        appear to be cautious about the outlook on Washington
                                                                              Mutual Inc. and are hedging their bets against further
                                                                              losses in the shares of the largest U.S. savings and loan. .
                                                                              ...
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Market Date       Source 1                        Headline 1                                         News Clip 1                            Source 2                      Headline 2                                         News Clip 2
 4/16/2007        Fortune        People are His Bottom Line                   After 17 years at the helm of Washington Mutual--where
                                                                              he pulled off 31 acquisitions--Kerry Killinger has
                                                                              transformed what was once a $190-million-a-year
                                                                              regional savings and loan outfit into a $14 billion
                                                                              powerhouse. In the process the maverick exec c


4/17/2007      The Wall Street   WaMu Leads in Risky Type of Lending ---    Among the top five U.S. home-mortgage lenders,                Reuters News    UPDATE 3-U.S. banks' results show rate,    (Adds Washington Mutual, other details) NEW YORK,
                  Journal        Analysis Shows Thrift Makes Frequent Loans Washington Mutual Inc. last year made the highest                             loan loss struggles                        April 17 (Reuters) - Several U.S. regional banks reported
                                 For Investment Homes                       percentage of loans to investors or second-home buyers,                                                                  weak earnings on Tuesday amid struggles with interest-
                                                                            according to a Wall Street Journal analysis of data filed                                                                rate pressures and rising loan losses, including those
                                                                            with banking regulators. Such ... . . . .                                                                                from mortgages. . . . .


4/18/2007       Business Wire    WaMu Reports First Quarter Earnings Per      SEATTLE - (BUSINESS WIRE) - Washington Mutual,        ociated Press NewswAnalyst says Washington Mutual will need      NEW YORK (AP) - In a conference call with analysts
                                 Share of $0.86 and Increases Cash Dividend   Inc. (NYSE:WM) reported first quarter 2007 net income                    to sock away more money to cover problem      Tuesday, Washington Mutual Inc. raised its 2007
                                 to 55 Cents                                  of $784 million, or $0.86 per diluted share, compared                    loans                                         guidance for bad-loan provisions to a range of $1.3
                                                                              with net income of $985 million, or $0.98 per diluted                                                                  billion to $1.5 billion, from a range of $1.1 billion to $1.2
                                                                              share, in the first quarter of ... . . . .                                                                             billion. . . . .


4/19/2007      Associated Press Moves by Freddie Mac, WaMu may signify        WASHINGTON (AP) - New moves by finance giant
                 Newswires      heeding of regulators' urgings                Freddie Mac and a major lending institution involving
                                                                              billions in high-priced mortgages may mean that the
                                                                              urgings of regulators and lawmakers for help to
                                                                              distressed homeowners are bearing fruit. ... . . . .


4/26/2007     Dow Jones News WaMu Offers New All-In-One Mortgage,             SEATTLE (AP)-- Washington Mutual Inc. (WM) has
                 Service     Home Equity Loan                                 begun offering a new mortgage and home equity line of
                                                                              credit bundled into a single loan that allows customers
                                                                              to reset interest rates or switch between fixed and
                                                                              adjustable rates up to twice a ... . . . .


4/30/2007       Reuters News     Washington Mutual tightens mortgage          NEW YORK (Reuters) - Washington Mutual Inc. said it
                                 lending                                      is making fewer subprime mortgages and emphasizing
                                                                              higher-quality loans to boost earnings and cut risk after
                                                                              its home loans unit lost $113 million from January to
                                                                              March. . . . .
5/11/2007         Dow Jones      DEBT WATCH: Washington Mutual Taps           Michael Wilson Of DOW JONES NEWSWIRES                       Reuters News    Washington Mutual wins loan solicitation   NEW YORK, May 11 (Reuters) - Washington Mutual
              International News Strong Demand For US Debt                    LONDON (Dow Jones)--Washington Mutual Bank                                  lawsuit                                    Inc. , the largest U.S. savings and loan, won dismissal of
                                                                              (WAMU) capitalized on strong European demand for                                                                       a lawsuit accusing it of accessing consumers' credit
                                                                              U.S. credit by issuing EUR2 billion of debt in its second                                                              histories without permission, and then improperly
                                                                              covered bond offering Thursday. . . . .                                                                                soliciting their interest in ... . . . .


5/22/2007     Moody's Investors Moody's Assigned Baa1 to the Non-             Moody's Investors Service has assigned a rating of Baa1     Business Wire   WaMu Named Bank with Best Reputation in Washington Mutual, Inc. (NYSE:WM), one of the
               Service Press    Cumulative Perpetual REIT Preferred           to the Non-Cumulative Perpetual REIT Preferred                              U.S. by Reputation Institute            nation's leading consumer and small business banking
                  Release       Securities Issued by Washington Mutual        Securities (REIT Preferred) being issued by Washington                                                              companies, was the only bank named in the 50 best
                                Preferred Funding Trust III                   Mutual Preferred Funding Trust III (REIT), an indirect                                                              regarded companies in the United States according to a
                                                                              subsidiary of Washington Mutual Bank, w                                                                             global study of corporate reputations. According
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Market Date       Source 1                       Headline 1                                          News Clip 1                           Source 2                       Headline 2                                            News Clip 2
 6/1/2007       Reuters News     UPDATE 1- Washington Mutual says              (Adds details, background throughout) NEW YORK,        nvestors Service Pre Moody's Rates WMALT Series 2007-4 Alt-A       Approximately $377 Million of Mortgage-Backed
                                 subprime loans fare better                    June 1 (Reuters) - Washington Mutual Inc. , one of the                      Mortgage Deal                                 Securities Rated Moody's Investors Service has
                                                                               largest U.S. mortgage lenders, on Friday said improved                                                                    assigned a Aaa rating to the senior certificates and a
                                                                               underwriting standards have led to a reduction in the                                                                     rating of Aa1 to the senior support certificates issued by
                                                                               number of new subprime ... . . . .                                                                                        Washington Mutual Mortgage ... . . . .


 6/6/2007     Reuters Significant Washington Mutual, Inc. To Sell $140 Billion Wells Fargo & Co. and Washington Mutual, Inc. have             Reuters News   Subprime loan market may retrench in '08-   NEW YORK, June 6 (Reuters) - The $1.2 trillion
                Developments In Mortgage Servicing And Milwaukee               entered into a definitive agreement to sell Washington                        WaMu exec                                   subprime loan market may retrench in 2008 as it wades
                                  Servicing Operations to Wells Fargo          Mutual's entire portfolio of government mortgage                                                                          its way through major changes in infrastructure such as
                                                                               servicing and a portion of its conforming, fixed-rate                                                                     increased regulation, Washington Mutual Inc. Vice
                                                                               servicing portfolio totaling approximately                                                                                Chair William Longbrake said on ... . . . .


6/12/2007     Moody's Investors Moody's reviews ratings of certain tranches    Moody's Investors Service has placed under review for
               Service Press    issued by WaMu for possible upgrade and        possible upgrade three tranches from WaMu Mortgage
                  Release       downgrade                                      Pass-Through Certificates Series 2004-RP1. Additionally,
                                                                               2 tranches from the same transaction have been placed
                                                                               on review for possible ... . . . .


6/13/2007     The News Tribune WaMu exec outlines trouble with choosing        Credit scores haven't been as helpful as they once were
                               credit scores                                   in predicting the performance of riskier mortgages,
                                                                               according to the chief of capital markets at Washington
                                                                               Mutual Inc., the biggest U.S. savings and loan. One
                                                                               problem is that lenders aren't consi


6/18/2007           Asset        U.S. Covered Bond Market Takes Flight         When it comes to covered bonds, the U.S. structured
                Securitization                                                 finance market is a quick study. Last September,
                   Report                                                      Washington Mutual became the first American issuer to
                                                                               complete a covered bond transaction. The size of the
                                                                               program, 20 billion ($26.5 billion), got the


6/29/2007       Business Wire    WaMu Response from David Schneider,           SEATTLE - (BUSINESS WIRE) - WaMu (NYSE:WM)
                                 President, Home Loans, Regarding              fully supports the guidance and the goal of ensuring that
                                 Interagency Statement on Subprime             mortgage loans are underwritten in a prudent fashion
                                 Mortgage Lending                              and communicated in an understandable way. No party
                                                                               wins when a lender is forced to ... . . . .


 7/6/2007       Business Wire    Fitch Upgrades 7 & Affirms 148 RMBS           NEW YORK - (BUSINESS WIRE) - Fitch Ratings has
                                 Classes from 30 WaMu Securitizations          taken the following rating actions on the Washington
                                                                               Mutual ( WaMu) residential mortgage-backed
                                                                               certificates listed below: . . . .
7/11/2007     Dow Jones News GE, WaMu, Fremont, New Century                    By Alistair Barr   More than half of the mortgage-
                 Service     Mortgages Cut By Moody's                          backed securities downgraded Tuesday by rating agency
                                                                               Moody's Investors Service are tied to home loans
                                                                               originated by units of General Electric Co. (GE),
                                                                               Washington Mutual Inc. ... . . . .
7/12/2007     Dow Jones Capital Moody's: Magnitude of RMBS, CDO Rating         NEW YORK (Dow Jones)--Four issuers account for the          ociated Press NewswNAACP suit claims mortgage lenders         LOS ANGELES (AP) - The NAACP sued a dozen
               Markets Report Changes "Unprecedented"                          bulk of mortgage-backed securities downgraded by                               discriminated against blacks               mortgage lenders on Wednesday, claiming the
                                                                               Moody's Investors Service, according to the ratings                                                                       companies discriminated against blacks by steering
                                                                               agency. . . . .                                                                                                           them into higher-interest, subprime loans while giving
                                                                                                                                                                                                         more favorable loan terms to white borrowers. . . . .
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Market Date      Source 1                         Headline 1                                         News Clip 1                              Source 2                    Headline 2                                     News Clip 2
 7/19/2007     Business Wire    WaMu Reports Second Quarter Earnings Per SEATTLE - (BUSINESS WIRE) - WaMu (NYSE:WM)                         Reuters News   Washington Mutual halts some exotic   NEW YORK, July 18 (Reuters) - Washington Mutual Inc.
                                Share of $0.92, up 16 Percent ; Increases Cash announced today that second quarter 2007 earnings per                       subprime loans                        , one of the largest U.S. mortgage lenders, said it will no
                                Dividend to 56 Cents                           share increased 16 percent from a year ago. Continued                                                             longer offer some subprime home loans that had become
                                                                               strong performance led to net income of $830 million, or                                                          popular before soaring defaults caused distress for
                                                                               $0.92 per diluted share, ... . . . .                                                                              dozens of lenders. ... . . . .


7/20/2007     Associated Press Washington Mutual cuts hundreds of jobs in SEATTLE (AP) - Washington Mutual Inc., the nation's
                Newswires      subprime lending                           largest savings and loan, has laid off hundreds of
                                                                          employees in several offices that process home loans for
                                                                          borrowers with shaky credit. . . . .


7/24/2007     Dow Jones News Wells Fargo Discontinues Popular Mortgage Wells Fargo & Co. (WFC) has stopped offering a popular
                 Service     For Subprime Borrowers                    adjustable-rate mortgage designed for home buyers with
                                                                       troubled borrowing histories, becoming the latest lender
                                                                       to curtail its exposure to the subprime market in
                                                                       response to regulatory and market p


7/30/2007      Business Wire    Fitch Downgrades Washington Mutual's          Fitch Ratings downgrades Washington Mutual Bank's
                                CMBS Primary Servicer Rating; Affirms         (WMB) commercial mortgage-backed securities (CMBS)
                                Master & Special                              primary servicer rating to 'CPS3+' from 'CPS2-'. In
                                                                              addition, Fitch affirms WMB's master servicer rating of
                                                                              'CMS3' and its special servicer rating of '


 8/3/2007       Bloomberg       Countrywide, Washington Mutual Bond Risk The perceived risk of owning bonds of mortgage lenders              Euroweek      WaMu puts its dollar debut on the     Washington Mutual has postponed its debut dollar
                                Increases                                Countrywide Financial Corp. and Washington Mutual                                 backburner                            covered bond, cancelling a roadshow that was due to
                                                                         Inc. rose on concerns about deepening losses from risky                                                                 begin in the US on Monday.
                                                                         home loans, according to credit-default swap traders
                                                                         who bet on creditworthiness. Credit-de


 8/6/2007           CIO         Customer Driven                               Online banking isn’t unique to Washington Mutual.
                                                                              What is new is the fact that WaMu customers who want
                                                                              to open new checking accounts with the Seattle-based
                                                                              consumer and small business bank (which has $312
                                                                              billion in assets) don’t have to get up from th


 8/8/2007      Reuters News     Washington Mutual tightens mortgage           NEW YORK, Aug 7 (Reuters) - Washington Mutual Inc.
                                guidelines                                    said Tuesday it will no longer buy certain kinds of home
                                                                              loans from brokers, making the thrift the latest to tighten
                                                                              its lending standards as U.S. mortgage defaults surge. . .
                                                                              ..
8/10/2007      Reuters News     Countrywide, WaMu say pressured by            NEW YORK, Aug 9 (Reuters) - Two of the largest U.S. ociated Press NewswWashington Mutual warns of significantly    NEW YORK (AP) - Shares of Washington Mutual Inc.
                                mortgage market                               providers of home loans, Countrywide Financial Corp                    diminished liquidity in mortgage market     slipped in premarket trading Friday after the bank said
                                                                              and Washington Mutual Inc , on Thursday said difficult                                                             it has become tougher to raise cash for home loans. . . . .
                                                                              mortgage market conditions are likely to hurt operations
                                                                              in the near ... . . . .
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                                                                               Samples From Each Day Coded as Having WaMu Related News
Market Date      Source 1                   Headline 1                                             News Clip 1                                  Source 2                      Headline 2                                        News Clip 2
 8/13/2007    Dow Jones News WSJ: WaMu Exec Won't Make Scheduled             By Ann Carrns Of THE WALL STREET JOURNAL
                  Service    Conference Appearance                           The president of Washington Mutual Inc.'s (WM) home
                                                                             loans business, which is feeling the pinch from
                                                                             tightening credit markets, won't make a scheduled
                                                                             appearance at an investor ... . . . .


8/17/2007        The Record      WaMu plans to sell, share its home:         Washington Mutual has put its downtown Stockton           n Antonio Express-NeWashington Mutual may add 600 S.A. jobs        Despite stubborn problems in the nation's home loan
                                 Prospective buyers already showing interest building up for sale. The 247,000-square-foot building,                                                                      market, Washington Mutual's chief executive officer said
                                                                             an iconic landmark since its construction in 1989, has no                                                                    the company is "very pleased" with progress at its
                                                                             price tag. The company is asking anyone interested in                                                                        regional center in San Antonio and could add 600 jobs
                                                                             purchasing the building to make an o                                                                                         here in the near future. "We find the


8/21/2007     Los Angeles Times Sub-prime chaos claims 500 jobs at           Taking a contrarian approach is Washington Mutual Inc.
                                Countrywide; Capital One shuts down its      The nation's No. 3 mortgage lender plans to step into the
                                troubled 'jumbo' loan unit, but Washington   void created by companies such as Countrywide and
                                Mutual reaches out to high-risk borrowers.   GreenPoint that can no longer find buyers for sub-prime,
                                                                             alt-A or jumbo mortgages, which


8/22/2007     Los Angeles Times MORTGAGES; CEO calls for broker reform;      The mortgage meltdown has sharpened debate over
                                Washington Mutual's chief seeks improved     how to ensure that borrowers don't get stuck with loans
                                education and standards for those who        they can't afford..."They should have something like
                                supply home loans.                           stockbrokers -- licensing, testing, higher standards,"
                                                                             Washington Mutual Inc. Chief Executive K


8/27/2007     Moody's Investors Moody's affirms WaMu's ratings (Holdco.      Moody's Investors Service affirmed its ratings on
               Service Press    Snr at A2)                                   Washington Mutual Inc. (senior at A2) and its
                  Release                                                    subsidiaries including its lead thrift, Washington Mutual
                                                                             Bank, (B- for financial strength and A1 for deposits.) . . . .


8/29/2007       Reuters News     RESEARCH ALERT- Washington Mutual shr (New throughout) NEW YORK, Aug 29 (Reuters) -
                                 view, target cut by FBR               Washington Mutual Inc.'s 2007 earnings outlook was
                                                                       lowered 31 percent by Friedman, Billings, Ramsey & Co.
                                                                       analyst Paul Miller, who said the largest U.S. savings
                                                                       and loan may set aside as ... . . . .


8/31/2007      Associated Press Standard & Poor's equity division cuts       NEW YORK (AP) - A Standard & Poor's stock analyst                Business Wire   WaMu Names John P. McMurray Chief           SEATTLE - (BUSINESS WIRE) - Washington Mutual,
                 Newswires      Washington Mutual rating to "Sell"           cut his rating on Washington Mutual Inc. on Thursday,                            Credit Officer ; 25-Year Mortgage Veteran   Inc. (NYSE:WM) today announced that John P.
                                                                             citing concerns about the bank's exposure to the ailing                          Joins WaMu                                  McMurray is joining WaMu to serve as the company’s
                                                                             housing market. . . . .                                                                                                      Chief Credit Officer, effective Sept. 24, 2007. He will
                                                                                                                                                                                                          report to Ron Cathcart, EVP and Chief ... . . . .


 9/5/2007       Reuters News     TEXT- Moody's cuts, raises some WaMu        Sept 4 - Moody's Investors Service has upgraded three
                                 tranches                                    tranches from WaMu Mortgage Pass-Through
                                                                             Certificates Series 2004-RP1 while downgrading two
                                                                             tranches from the same transaction. The underlying
                                                                             collateral in this transaction consists of FHA insured
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Market Date       Source 1                        Headline 1                                       News Clip 1                             Source 2               Headline 2                                       News Clip 2
 9/7/2007      The Wall Street   Is WaMu Out on Ledge? --- Earlier Stumbles With its share price down more than 20% so far this
                   Journal       Cut Into Bank's Credibility On Mortgage    year, Washington Mutual Inc. ought to be a textbook
                                 Holdings                                   buying opportunity for investors hunting for major
                                                                            mortgage lenders that are down but not out. . . . .


9/10/2007      Dow Jones News Washington Mutual Sees Loss Provision Up       NEW YORK (Dow Jones)-- Washington Mutual Inc.
                  Service     To $2.2B                                       (WM) Chief Executive Kerry Killinger warned Monday
                                                                             that the company anticipates a continued rise in bad
                                                                             loans, which will take a toll on WaMu's earnings. . . . .


9/11/2007      The Wall Street   Earnings Digest: WaMu, Wachovia Expect      Washington Mutual Inc. Chief Executive Kerry Killinger
                  Journal        More Fallout                                warned that the company anticipates a continued rise in
                                                                             bad loans, which will take a toll on WaMu's earnings. . . .
                                                                             .
9/13/2007         Dow Jones      Washington Mutual To Close 2 Divisions,     NEW YORK (Dow Jones)-- Washington Mutual Inc.          w Jones Business NeUPDATE: Analysts Favor WaMu, Lehman   By Greg Morcroft NEW YORK (Dow Jones) - Analysts
              International News Cut 1,000 Jobs-Report                       (WM) Washington Mutual Inc., the largest U.S. savings                     Ahead Of Rate Cut                     at Fox-Pitt Kelton said Friday that investors who believe
                                                                             and loan, said Wednesday that it would shutter one                                                              a rate cut from the Fed is imminent should buy shares of
                                                                             division that bought mortgages from other home lenders                                                          Lehman Brothers and Washington Mutual. . . . .
                                                                             and another that financed ... . . . .


9/14/2007      Associated Press Shares of mortgage lenders climb on          NEW YORK (AP) - Shares of mortgage lenders rose
                 Newswires      Countrywide's access to $12 billion          Thursday after the nation's biggest lender said it gained
                                                                             access to much-needed cash. Countrywide Financial
                                                                             Corp., which is based in Calabasas, Calif., said it secured
                                                                             access to $12 billion ... . . . .


9/18/2007      Dow Jones News TALES OF THE TAPE: WaMu On Firmer              NEW YORK (Dow Jones)--Despite the mortgage credit
                  Service     Ground Than Some Lenders                       crunch, you probably won't see Washington Mutual Inc.
                                                                             (WM) making scary headlines. And for investors, that is
                                                                             probably good news. . . . .
9/24/2007     Moody's Investors Moody's Rates Washington Mutual Master       $625 Million of Asset-Backed Securities Rated. Moody's
               Service Press    Trust, Series 2007-A Notes                   Investors Service has rated four classes of notes issued
                  Release                                                    by the Washington Mutual Master Trust, Series 2007-A.
                                                                             The complete rating action was as follows: Issuer:
                                                                             Washington Mutual Master Trust, Ser


10/1/2007       Reuters News     UPDATE 1- Washington Mutual boosting        (Updates with background, share price) NEW YORK,
                                 mortgage disclosures                        Oct 1 (Reuters) - Washington Mutual Inc , the largest
                                                                             U.S. savings and loan, on Monday said it is putting in
                                                                             place new standards to be used by mortgage brokers
                                                                             with which it does business. ... . . . .


10/2/2007      The Wall Street   WaMu Calls for Mortgage Disclosure          NEW YORK -- Washington Mutual Inc., the U.S.'s sixth-
                  Journal                                                    largest home-mortgage lender in terms of volume, is
                                                                             asking mortgage brokers it works with to provide more
                                                                             information to borrowers. . . . .
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Market Date       Source 1                      Headline 1                                           News Clip 1                                   Source 2                       Headline 2                                        News Clip 2
 10/5/2007       Dow Jones      UPDATE: Washington Mutual Says Profit         By Murray Coleman SAN FRANCISCO (Dow Jones) --                     Reuters News    WRAPUP 2-Merrill, Wamu join lengthening    (Adds Sovereign profit warning) NEW YORK, Oct 5
               Business News    To Decline More Than Expected                 With another key home lender sounding alarms about                                 list of warnings                           (Reuters) - Merrill Lynch & Co, Washington Mutual Inc
                                                                              deteriorating conditions in mortgage markets, analysts                                                                        and Sovereign Bancorp Inc on Friday became the latest
                                                                              say the role of Federal Reserve policymakers figures to                                                                       banks to take big writedowns on mortgages and other
                                                                              take even more prominence in ... . . . .                                                                                      credit-related losses, but ... . . . .


10/8/2007       Reuters News    WaMu debt outlook revised to stable -S&P      NEW YORK, Oct 5 (Reuters) - Standard & Poor's on       he Wall Street JournaWashington Mutual Warns On Profit Due to          Washington Mutual Inc. joined the parade of big banks
                                                                              Friday revised its outlook on Washington Mutual Inc to                      Credit Woes                                       warning that the slumping housing market and this
                                                                              stable from positive, citing expectations of lower                                                                            summer's credit crunch will crimp third-quarter profits. .
                                                                              earnings for the remainder of 2007 and for 2008 due to                                                                        ...
                                                                              losses from residential ... . . . .


10/15/2007 National Mortgage WaMu Taking Big Hit                              Mortgage giant Washington Mutual here said its third-
                 News                                                         quarter net income likely will fall by 75% because of
                                                                              subprime and home-equity-related writedowns of
                                                                              almost $1 billion. The nation's largest thrift said the
                                                                              writedown - which it thinks will be in the


10/16/2007      Reuters News    Citigroup sets low bar as rivals prepare to   NEW YORK, Oct 15 (Reuters) - Citigroup Inc on
                                report                                        Monday disappointed investors looking for assurance
                                                                              that the worst was probably over in consumer credit and
                                                                              capital markets. . . . .
10/18/2007    Dow Jones News UPDATE: WaMu 3Q Net Down 72%;                    DOW JONES NEWSWIRES            Washington Mutual Inc. ociated Press NewswAnalyst downgrades Washington Mutual,                NEW YORK (AP) - Shares of Washington Mutual Inc.
                 Service     Records $967M Loan Loss Charge                   (WM) third-quarter net income plummeted 72% as the                       soft housing market hurts results more than          declined in Thursday's premarket trading after an
                                                                              company took a bruising hit to cover home-loan losses. .                 expected                                             analyst downgraded the stock and said a weak housing
                                                                              ...                                                                                                                           market hurt the nation's third-largest home lender more
                                                                                                                                                                                                            than he anticipated. . . . .


10/19/2007      Reuters News    Washington Mutual unit sells $1 bln           NEW YORK, Oct 18 (Reuters) - Washington Mutual                   attle Post-IntelligencWAMU STOCK DROPS TO LOWEST LEVEL Washington Mutual Inc.'s stock fell to its lowest level in
                                securities - source                           Preferred Funding Trust IV sold $1 billion of perpetual                                IN 5 YEARS                       five years Thursday after investment analysts picked
                                                                              preferred securities on Thursday, said a market source                                                                  apart the company's third-quarter earnings report and
                                                                              familiar with the deal. . . . .                                                                                         found little to suggest that the company's performance
                                                                                                                                                                                                      will improve soon. ... . . . .


10/22/2007    Associated Press Lehman downgrades mortgage and specialty NEW YORK (AP) - A Lehman Brothers analyst on                             Reuters News    Before the Bell-Countrywide, Washington    NEW YORK, Oct 22 (Reuters) - Shares of mortgage
                Newswires      finance sectors, says worst may not be over Monday lowered his rating on the mortgage and                                         Mutual fall                                finance and specialty finance companies declined before
                                                                           specialty finance sectors, and said he expected stocks to                                                                        the opening bell on Monday after Lehman Brothers cut
                                                                           sink further as turmoil in the housing sector continues to                                                                       its ratings on the sector. For details, see [ID:nWNA8901]
                                                                           paralyze the credit markets. . . . .                                                                                             ....


10/23/2007     Business Wire    Fitch Rates Washington Mutual Preferred       NEW YORK - (BUSINESS WIRE) - Fitch Ratings has
                                Funding Trust IV 'A-'                         assigned an 'A-' rating to Washington Mutual Preferred
                                                                              Funding Trust IV's $1 billion issue of trust securities. . . .
                                                                              .
10/25/2007    Dow Jones Capital S&P Cuts 3 WaMu MSC Mtg Pass-Thru Certs S&P Cuts 3 WaMu MSC Mtg Pass-Thru Certs 2004-RA1,
               Markets Report 2004-RA1, 2005-RA1 Rtgs                   2005-RA1 Rtgs.
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Market Date      Source 1                     Headline 1                                            News Clip 1                               Source 2                      Headline 2                                        News Clip 2
10/26/2007     Reuters News    New Issue- Washington Mutual sells $500       Oct 25 (Reuters) - Washington Mutual Inc on Thursday
                               mln notes                                     sold $500 million in 10-year subordinated notes, market
                                                                             sources said. Barclays Capital, Credit Suisse, Lehman
                                                                             Brothers and Morgan Stanley were the joint book
                                                                             running managers for ... . . . .


10/30/2007     Business Wire   Fitch Affirms 14 WAMU RMBS Ratings from NEW YORK - (BUSINESS WIRE) - Fitch Ratings has
                               11 Securitizations                      taken rating actions on the following Washington
                                                                       Mutual (WAMU) residential mortgage-backed
                                                                       certificates: . . . .
11/1/2007     Dow Jones News NY AG Sues First American, Unit In              NEW YORK (Dow Jones)--New York Attorney General ow Jones News ServiWaMu Suspending Relationship With                       DOW JONES NEWSWIRES Washington Mutual (WM)
                 Service     Mortgage Appraisal Probe                        Andrew Cuomo said Thursday that his office sued First              eAppraiseIT                                             said on Thursday that it suspended its relationship with
                                                                             American Corp. (FAF) and its eAppraiseIT unit for                                                                          eAppraiseIT after the unit of First American Corp. (FAF)
                                                                             alleging colluding with Washington Mutual Inc. (WM)                                                                        was sued by New York Attorney General Andrew
                                                                             to use a list of preferred ... . . . .                                                                                     Cuomo. . . . .


11/2/2007       Dow Jones      UPDATE: Analyst Says WaMu Faces Taking By Alistair Barr SAN FRANCISCO (Dow Jones) --                      attle Post-IntelligencWaMu Faulted on Home Loans; Colluded to New York's attorney general has accused Washington
              Business News    Back Securitized Mortgages             Washington Mutual may have to set aside some $412                                        Inflate Property Values, N.Y. Attorney  Mutual Inc. of pressuring a real estate appraisal
                                                                      million to $2.1 billion in extra reserves if a lawsuit filed                             General says                            company to deliver inflated home values in order to
                                                                      by New York state's attorney general against the                                                                                 justify making loans, a practice that some appraisers
                                                                      mortgage lender succeeds, a ... . . . .                                                                                          have complained of increasingly ... . . . .


11/5/2007     Dow Jones News Law Firm: Washington Mutual Faces               DOW JONES NEWSWIRES Washington Mutual Inc.
                 Service     Purported Class-Action Suit                     (WM) and its officers face a purported class action
                                                                             lawsuit for allegedly inflating the appraised value of
                                                                             homes that backed some of its loans, according to the
                                                                             law firm Wolf Popper LLP. . . . .
11/6/2007      Business Wire   Fitch Takes Rating Actions on 7 Large Banks; NEW YORK - (BUSINESS WIRE) - Fitch Ratings has
                               Downgrades National City's Rtgs; Revises     taken selected rating actions on several large U.S. banks.
                               Outlooks                                     Among these actions is the downgrade of the long-term
                                                                            Issuer Default Rating (IDR) of National City
                                                                            Corporation (NCC) to 'A+' from ... . . . .


11/7/2007      Reuters News    UPDATE 6- Washington Mutual shrs sink on (Adds Washington Mutual comment, paragraph 14)         ones Chinese Financi DJ NY AG Cuomo To Issue Subpoenas To                NEW YORK (Dow Jones)--New York Attorney General
                               losses, Cuomo probe                      NEW YORK (Reuters) - Washington Mutual Inc, shares                          Freddie Mac, Fannie Mae                             Andrew Cuomo said Wednesday that his office is
                                                                        tumbled 17 percent to a seven-year low Wednesday after                                                                          sending subpoenas to Freddie Mac (FRE) and Fannie
                                                                        the largest U.S. savings and loan said mortgage losses                                                                          Mae (FNM) and is asking the companies to retain an
                                                                        will mount through 2008, and ... . . . .                                                                                        independent examiner to review certain ... . . . .


11/8/2007      Business Wire   WaMu Responds to NY Attorney General’s        SEATTLE - (BUSINESS WIRE) - Washington Mutual,                Reuters News     RESEARCH ALERT-Friedman cuts                Nov 8 (Reuters) -         WASHINGTON MUTUAL
                               Press Release                                 Inc. (NYSE:WM), In response to the press releases issued                       Washington Mutual target to $14             INC               Current   Prior Price target $14
                                                                             recently by the New York Attorney General’s Office                                                                         $23 . . . .
                                                                             regarding its probe of industry-wide mortgage appraisal
                                                                             practices, the company issued ... . . . .


11/9/2007     Associated Press Washington Mutual shares continue decline     NEW YORK (AP) - Analysts lowered earnings forecasts
                Newswires      as analysts cut price targets, earnings       and price targets for national bank Washington Mutual
                               estimates                                     Inc. Thursday after the company painted a bleak picture
                                                                             for the mortgage market for 2008. . . . .
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Market Date       Source 1                      Headline 1                                          News Clip 1                                   Source 2                       Headline 2                                       News Clip 2
11/12/2007     Associated Press Washington Mutual cuts 3rd-quarter profit to NEW YORK (AP) - Washington Mutual Inc. will pay
                 Newswires      reflect Amex/Visa credit-card settlement     $38 million related to Visa Inc.'s settlement with credit
                                charge                                       card rival American Express Co., according to regulatory
                                                                             filings Friday. The national bank also lowered its
                                                                             previously reported ... . . . .


11/15/2007 Home Equity Wire Did eAppraiseIT Favor WaMu?                       New York attorney general Andrew Cuomo is suing
                                                                              First American Corp. and its eAppraiseIT unit for
                                                                              allegedly colluding with Washington Mutual Inc. to use
                                                                              a list of preferred appraisers to inflate mortgage
                                                                              appraisals. The lawsuit filed in the New York Su


11/19/2007          Asset        WaMu Under Appraisal Fraud Probe             An investigation by the New York attorney general into
                Securitization                                                Washington Mutual's role in a case of alleged real estate
                   Report                                                     appraisal fraud could have broader implications for the
                                                                              mortgage industry. Cuomo is alleging that eAppraiseIT
                                                                              buckled under pressure fro


11/21/2007    Moody's Investors Moody's takes negative rating actions on      Moody's Investors Service has downgraded the ratings ow Jones News ServiWashington Savings 1Q EPS 4c Vs EPS 13c               DOW JONES NEWSWIRES Washington Savings Bank's
               Service Press    certain Alt-A deals issued by Washington      of 34 tranches and has placed under review for possible                                                                       (WSB) fiscal first-quarter net income fell 67%, which the
                  Release       Mutual in 2006 and late 2005                  downgrade the ratings of 7 tranches from 8 deals issued                                                                       company attributed to the sluggish residential real estate
                                                                              by Washington Mutual in 2006 and late 2005. The                                                                               market and a decline in its higher-yielding construction
                                                                              collateral backing these ... . . . .                                                                                          loans. . . . .


11/27/2007      Business Wire    Fitch Affirms WaMu Commercial Mortgage       Fitch Ratings has affirmed WaMu Commercial Mortgage ociated Press NewswAnalyst upgrades Washington Mutual and 4               NEW YORK (AP) - Punk Ziegel & Co. analyst Richard
                                 Securities Trust, Series 2006-SL1            Securities Trust series 2006-SL1, commercial mortgage                  other banks based on price, exposure to                Bove upgraded shares of several banks, including
                                                                              pass-through certificates. The rating affirmations reflect             industry woes                                          Washington Mutual Inc., Tuesday saying some had
                                                                              stable performance and limited amortization since                                                                             fallen far enough and that the others have avoided, or
                                                                              issuance. As of the October 2007 dis                                                                                          have limited exposure, to ... . . . .


11/29/2007        Dow Jones      US Tsy's Paulson Met Thu With Bankers,       WASHINGTON (Dow Jones)--U.S. Treasury Secretary                nvestors Service Pre Moody's Assigns Definitive Ratings to     Up to $500 Million of Asset-Backed Securities Rated
              International News Others On Mortgages                          Henry Paulson met Thursday with bankers and                                         Washington Mutual Master Note Trust,      Moody's Investors Service has assigned definitive
                                                                              representatives of the securitization industry as U.S.                              WaMu Card Series Class 2007-C2 Variable   ratings to the notes issued by Washington Mutual
                                                                              government officials try to speed up efforts to move                                Funding Notes                             Master Note Trust, WaMu Card Series, Class 2007-C2
                                                                              borrowers with expensive mortgage ... . . . .                                                                                 credit card receivables ... . . . .


11/30/2007     Dow Jones News UPDATE:BEFORE THE BELL:Bernanke,                (Adds entries for Tiffany, Motorola, GM, Apple and
                  Service     Subprime Plan Drive Banks Up                    Google.)     By Steven Russolillo Of DOW JONES
                                                                              NEWSWIRES        NEW YORK (Dow Jones)--Shares of
                                                                              several mortgage-related financial institutions rose
                                                                              before the opening bell Friday ... . . . .


12/3/2007     Dow Jones Capital WaMu Chmn: More Fed Rate Cuts Needed          WASHINGTON (Dow Jones)--The Federal Reserve
               Markets Report On Housing Crisis                               needs to further cut interest rates as part of a broad array
                                                                              of policy solutions to the ongoing downturn in the
                                                                              housing markets, Washington Mutual Inc. (WM)
                                                                              Chairman and CEO Kerry Killinger said ... . . . .
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Market Date      Source 1                      Headline 1                                            News Clip 1                                Source 2                      Headline 2                                        News Clip 2
 12/4/2007    Associated Press Morgan Stanley, Fannie Mae and WaMu           NEW YORK (AP) - The Standard & Poor's 500 index
                Newswires      pressure the S&P 500                          dipped in midday trading Tuesday, dragged down by
                                                                             shares Morgan Stanley and Washington Mutual Inc.
                                                                             after analysts cut profit estimates on Wall Street banks. .
                                                                             ...
12/5/2007     Associated Press S&P 500 tugged lower by Countrywide, CB       NEW YORK (AP) - The Standard & Poor's 500 index               he Wall Street JournaBUSINESS: As WaMu Skids, Its Top         Who's to blame? As multibillion-dollar problems with
                Newswires      Richard Ellis Group, Washington Mutual        ended lower on Tuesday, pulled down by shares of                                   Executives Stay in Place                 risky mortgages pile up, rough justice is taking hold at
                                                                             Countrywide Financial Corp. The S&P 500 declined                                                                            many lenders.Companies like Citigroup, Morgan
                                                                             9.63 points to 1,462.79. . . . .                                                                                            Stanley and Merrill Lynch have squeezed out senior
                                                                                                                                                                                                         officials, even chief executive ... . . . .


12/6/2007     Moody's Investors Moody's downgrades Washington Mutual         Moody's Investors Service has downgraded the ratings          Jones International NWashington Mutual's MBS Brokerage Unit   NEW YORK (Dow Jones)-- Washington Mutual Inc.
               Service Press    subprime deals issued in 2007                of and placed on review for possible downgrade the                                 Facing Cutback -Report                   (WM) is on the verge of sharply scaling back its
                  Release                                                    ratings of 14 tranches from 6 transactions issued by                                                                        brokerage unit that handles mortgage-backed securities,
                                                                             Washington Mutual in 2007. Additionally, four                                                                               the New York Post reported Thursday, citing a number
                                                                             downgraded tranches remain on review ... . . . .                                                                            of sources on Wall Street. . . . .


12/7/2007       PR Newswire     Hagens Berman Sobol Shapiro: Washington      SEATTLE, Dec. 6 /PRNewswire/ -- Washington Mutualones Chinese Financi DJ Law Firm Alleges WaMu Failed To                    DOW JONES NEWSWIRES Employees of Washington
                   (U.S.)       Mutual Faces Class Action Citing ERISA       (NYSE: WM) employees participating in the company's                   Adequately Monitor 401k                               Mutual Inc. (WM) who invested in the company's 401(k)
                                Violations; Company employees feeling        401(k) plan filed a class-action lawsuit against the                                                                        plan filed a class-action lawsuit against the company
                                effects of poor home loan and portfolio      company, its CEO, board members and all other                                                                               alleging a failure to adequately monitor the plan. . . . .
                                management by company...                     fiduciaries, claiming the organization ... . . . .


12/10/2007      MarketWatch     Beware of more 'hidden' subprime losses;     Gradient warns that Washington Mutual may not be         nvestors Service Pre Moody's cuts WaMu's ratings (snr to Baa2);    Moody's Investors Service downgraded by two notches
                                Commentary: Report says Washington           properly valuing loans it is holding for investment                           outlook stable                                the long-term ratings of Washington Mutual, Inc.
                                Mutual, Countrywide most vulnerable          purposes. As a result, reserves for future losses may be                                                                    (senior to Baa2 from A3) and its subsidiaries including
                                                                             too low. While the company boosted its loss provision in                                                                    the lead thrift Washington Mutual Bank (financial
                                                                             the third quarter, the Gradient repor                                                                                       strength rating to C- from C+ ... . . . .


12/11/2007     Business Wire    WaMu to Raise $2.5 Billion in Additional     SEATTLE - (BUSINESS WIRE) - Washington Mutual,          ociated Press NewswAnalyst says JPMorgan Chase in position to       NEW YORK (AP) - Punk Ziegel & Co. analyst Richard
                                Capital, Reduce Dividend, Resize Home        Inc. (NYSE:WM) announced today a series of actions                         make major acquisition in the near future        Bove said Tuesday morning JPMorgan Chase & Co. will
                                Loans Business and Cut Expenses to Fortify   designed to address the unprecedented challenges in the                                                                     likely make a major acquisition in the near future, and
                                Capital Base...                              mortgage and credit markets by strengthening the                                                                            with the banking sector weak, it has plenty of options. . .
                                                                             company’s capital and liquidity and ... . . . .                                                                             ..


12/12/2007    Associated Press WaMu shares crumbles after it slashes         SEATTLE (AP) - Washington Mutual's move to slash          nvestors Service Pre Moody's affirms ratings on WaMu's credit     Approximately $12.4 billion of asset-backed securities
                Newswires      dividend, cuts jobs and plans massive stock   staff and launch a massive stock offering to shore up its                      card trusts                                  affected Moody's Investors Service affirmed the ratings
                               offering                                      finances may smack of desperation, analysts said                                                                            on thirty-four classes of securities issued through the
                                                                             Tuesday as the bank's shares tumbled nearly 12 percent.                                                                     Washington Mutual Master Note Trust, the Washington
                                                                             ....                                                                                                                        Mutual Master ... . . . .


12/13/2007     Reuters News     UPDATE 1-RESEARCH ALERT-BofA                 (Changes source, adds details) Dec 13 (Reuters) - Banc          Business Wire    Fitch Affirms Washington Mutual Master     NEW YORK - (BUSINESS WIRE) - Fitch Ratings has
                                downgrades WaMu to sell                      of America downgraded Washington Mutual Inc to                                   Trust & Washington Mutual Master Note      affirmed all asset-backed securities (ABS) ratings for
                                                                             "sell" from "neutral," saying recent company                                     Trust ABS                                  outstanding notes issued from the Washington Mutual
                                                                             announcements, increased credit deterioration, and                                                                          Master Trust and Washington Mutual Master Note
                                                                             lower dividends had shaken its ... . . . .                                                                                  Trust. The affirmation affects ... . . . .
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                                                                                                        APPENDIX C
                                                                                             News Articles During the Class Period
                                                                                  Samples From Each Day Coded as Having WaMu Related News
Market Date       Source 1                        Headline 1                                    News Clip 1                                         Source 2                      Headline 2                                        News Clip 2
12/14/2007      Business Wire   Fitch Takes Rating Actions on WMALT 2006- NEW YORK - (BUSINESS WIRE) - Fitch Ratings has
                                3 Securitizations                         taken the following rating actions on Washington
                                                                          Mutual's ( WaMu) Alt-A (WMALT) series 2006-3
                                                                          residential mortgage pass-through certificates: . . . .


12/17/2007      Reuters News    US RESEARCH NEWS- Credit Suisse cuts            Following are the research actions reported by Reuters              Barron's      Subdued in Seattle: Reversing streak, WaMu For 48 consecutive quarters, investors in Washington
                                Washington Mutual target                        on Monday as of 0928 ET. For research actions reported                            snaps big chunk from payout                Mutual (ticker: WM), the nation's largest thrift and one
                                                                                earlier in the day, please double click on [nBNG102815]                                                                      of its biggest mortgage lenders, had been able to bank on
                                                                                For a snapshot of research actions, please double click on                                                                   a dividend increase. In October, though, WaMu held its
                                                                                [SNAP/RCH] . . . .                                                                                                           payout at the ... . . . .


12/18/2007      Business Wire   WaMu’s Chief Legal Officer to Retire            SEATTLE - (BUSINESS WIRE) - Fay L. Chapman, senior
                                                                                executive vice president for Washington Mutual, Inc.
                                                                                (NYSE:WM), will be retiring from the company
                                                                                following 10 years of dedicated and effective service as
                                                                                its chief legal officer. Chapman, ... . . . .


12/20/2007    Moody's Investors Moody's rated Washington Mutual Master          Moody's Investors Service has rated four classes of            s Significant DevelopSEC Probes Washington Mutual, Inc. On     The Wall Street Journal reported that the Securities and
               Service Press    Trust 2007-B Variable Funding Certificates      variable funding certificates issued by the Washington                              Appraisals-WSJ2                           Exchange Commission is investigating how retail bank
                  Release                                                       Mutual Master Trust.                                                                                                          Washington Mutual, Inc. handled and reported on
                                                                                                                                                                                                              mortgage loans that may have been based on inflated
                                                                                                                                                                                                              home appraisals.


12/21/2007      Business Wire   Pittsburgh Law Office of Alfred G. Yates Jr.,   Notice is hereby given by the Law Office of Alfred G.    The Seattle Times WaMu assisting in SEC inquiry; Appraisal           Washington Mutual said late Thursday it is cooperating
                                PC Commences a Shareholder Class Action         Yates Jr., PC that it has filed a class action in the                      allegations; News adds to woes of major            with a federal inquiry stemming from allegations that it
                                Suit Against Washington Mutual, Inc.2           Southern District of New York on behalf of purchasers of                   lender2                                            made mortgage loans based on improperly inflated
                                                                                Washington Mutual, Inc. (“ WaMu” or the “Company”)                                                                            home appraisals. The company already has set aside
                                                                                (NYSE:WM) securities between April                                                                                            $1.57 billion this year to cover bad loa


12/24/2007     Associated Press SEC Probing Washington Mutual                   WASHINGTON (AP) - The Securities and Exchange
                 Newswires                                                      Commission is probing how Washington Mutual Inc.,
                                                                                the nation's largest savings and loan, handled mortgages
                                                                                that were possibly based on inflated home appraisals. . .
                                                                                ..
 1/2/2008     Datamonitor News Washington Mutual appoints interim chief         Stewart Landefeld, chair of Perkins Coie's national
                and Comment legal officer                                       business practice, has temporarily resigned from the
                                                                                firm to fill the position of interim chief legal officer for
                                                                                his client Washington Mutual, a consumer and small
                                                                                business banking company. Washingt


 1/7/2008      Global Banking   Washington Mutual to cut 25 branches in         Washington Mutual Inc (WaMu) (NYSE: WM) has said
                   News         Chicago                                         that it has decided to close 25 of its 146 offices in
                                                                                Chicago, its second major branch reduction since
                                                                                September 2006.
 1/8/2008       The New York    A Chairman Is Appointed To Rebuild Sallie       Sallie Mae, the beleaguered student lending giant, on
                    Times       Mae                                             Monday appointed a longtime banking executive as
                                                                                chairman as the company struggles with tighter credit
                                                                                markets and fallout from a failed buyout. . . . .
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Market Date      Source 1                     Headline 1                                               News Clip 1                              Source 2                    Headline 2                                        News Clip 2
 1/9/2008      Reuters News     Washington Mutual stock falls amid             NEW YORK, Jan 9 (Reuters) - Washington Mutual Inc
                                mortgage woes                                  shares fell 13 percent on Wednesday amid concerns that
                                                                               rising residential defaults could be worse that expected
                                                                               in coming months. . . . .


1/10/2008     Chicago Tribune Mortgage industry's worries propel shares to Shares of Washington Mutual Inc., the nation's biggest
                              12-year low                                  savings and loan, fell to the lowest level since May 1996
                                                                           Wednesday on renewed concern about the slumping
                                                                           U.S. mortgage market. The stock fell 40 cents, or 3.1
                                                                           percent, to $12.34, on the New York


1/11/2008      Reuters News     JPMorgan, WaMu have held prelim merger         NEW YORK, Jan 11 (Reuters) - JPMorgan Chase and
                                talks-CNBC                                     Washington Mutual have held "very preliminary" talks
                                                                               about a merger, CNBC's Charlie Gasparino said on
                                                                               Friday. . . . .
1/14/2008     Moody's Investors Moody's downgrades WaMu Alt-A deals            Moody's Investors Service has downgraded the ratings
               Service Press                                                   of 16 tranches and has placed under review for possible
                  Release                                                      downgrade the ratings of 10 tranches from deals issued
                                                                               by Washington Mutual in 2007. Additionally, one
                                                                               downgraded tranche remains ... . . . .


1/15/2008     Dow Jones News 2nd UPDATE: S&P Cuts Ratings On Classes           (Adds Moody's actions Monday regarding JPM, Terwin,
                 Service     Tied To Alt-A Loans                               WaMu, starting 15th paragraph.)        DOW JONES
                                                                               NEWSWIRES         Standard & Poor's lowered its ratings
                                                                               to junk status on 56 classes from 32 U.S. net interest
                                                                               margin securities ... . . . .
1/16/2008     Associated Press Washington Mutual expected to report 4th-       NEW YORK (AP) - Washington Mutual Inc. is slated to ociated Press NewswWashington Mutual expected to report 4th-        NEW YORK (AP) - Washington Mutual Inc. is slated to
                Newswires      quarter loss on large reserve for loan losses   report results for the fourth quarter after the closing bell           quarter loss on large reserve for loan losses    report results for the fourth quarter after the closing bell
                                                                               rings Thursday. Following is a summary of key                                                                           rings Thursday. Following is a summary of key
                                                                               developments and analyst commentary related to the                                                                      developments and analyst commentary related to the
                                                                               period. . . . .                                                                                                         period. . . . .
1/17/2008      BusinessWeek     Can WaMu Go It Alone? Wall Street is           Washington Mutual's (WM) long-running TV ad
                  Online        speculating that the bank will go the way of   campaign features a smiling, young banker poking fun
                                Countrywide Financial and be acquired by a     at his stuffy, suit-wearing rivals. But despite the hip
                                larger player...                               image, Washington Mutual is looking a lot more like
                                                                               other big players in financial ... . . . .
1/18/2008      Business Wire    WaMu Reports Fourth Quarter Net Loss Per       SEATTLE - (BUSINESS WIRE) - WaMu (NYSE:WM)                     Reuters News   WaMu stock up on JPMorgan merger          NEW YORK, Jan 18 (Reuters) - Shares of Washington
                                Share of $2.19, Reflecting Previously          today announced a fourth quarter 2007 net loss of $1.87                       speculation                               Mutual Inc rose as much as 11 percent on Friday on
                                Announced After-Tax Charge to Writedown        billion, or $2.19 per diluted share. The company                                                                        persistent market speculation the No. 1 U.S. savings and
                                Home Loans Goodwill of $1...                   attributed the loss to the $1.6 billion after-tax charge to                                                             loan might be acquired by JPMorgan Chase & Co Inc ,
                                                                               writedown Home Loans goodwill ... . . . .                                                                               analysts said. . . . .


1/22/2008      Reuters News     UPDATE 1-Punk Ziegel cuts '08 EPS view on (Adds analyst's comments and background) Jan 21                    Chicago Tribune Traders bid up WaMu shares; JPMorgan in   NEW YORK Shares of Washington Mutual Inc. surged
                                Merrill, 4 other banks                    (Reuters) - Punk Ziegel analyst Richard Bove cut his                               thick of buyout rumors                    more than 8 percent Friday as traders bet that the
                                                                          2008 earnings forecast on five U.S. banks, including                                                                         nation's largest savings and loan will be acquired. . . . .
                                                                          Merrill Lynch & Co Inc , even as he narrowed his 2008
                                                                          loss view on Washington ... . . . .
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Market Date      Source 1                         Headline 1                                        News Clip 1                          Source 2                      Headline 2                                      News Clip 2
 1/23/2008     Reuters News     UPDATE 1- WaMu CEO gets 3.2 million      (Adds background, byline)          NEW YORK, Jan 22       ociated Press NewswWashington Mutual slashes cash bonuses,   SEATTLE (AP) - Washington Mutual Inc., the country's
                                stock options for '08                    (Reuters) - Washington Mutual Inc , whose share price                        stock awards for execs                    biggest savings and loan, said Tuesday it slashed 2007
                                                                         sank 70 percent last year as mortgage losses soared, said                                                              cash bonuses for its top executives. . . . .
                                                                         on Tuesday it awarded Chief Executive Kerry Killinger
                                                                         3.2 million stock ... . . . .
1/24/2008       Seattle Post-   THE STAKES ARE HIGH IF WAMU SELLS        LET US COUNT the people who would be pleased by,
                Intelligencer   OUT                                      or at least wouldn't mind very much, if Washington
                                                                         Mutual were sold. The acquirer that figures it has
                                                                         bought valuable assets on the cheap. Top executives,
                                                                         who will get munificent golden ... . . . .


1/29/2008      Reuters News     WaMu says net interest income will top   NEW YORK, Jan 29 (Reuters) - Washington Mutual Inc
                                forecast                                 Chief Executive Kerry Killinger said on Tuesday he
                                                                         expects the savings and loan's net interest income to
                                                                         exceed current company estimates. . . . .


1/30/2008      Reuters News     UPDATE 1-RESEARCH ALERT-Fox-Pitt         (Adds details) Jan 30 (Reuters) - Fox-Pitt Kelton      an Jose Mercury NewWASHINGTON MUTUAL TO SHIFT                   Washington Mutual said Tuesday that higher-than-
                                upgrades Washington Mutual               upgraded Washington Mutual Inc and said the                               STRATEGY DURING 2008 SLOWDOWN                expected net interest income in 2008, along with its exit
                                                                         company's outlook gives it confidence that the company                                                                 from subprime loans and a renewed focus on bank-
                                                                         will have substantially reserved for expected vintage                                                                  branch customers, will help carry the thrift through
                                                                         losses by the end of 2008, ... . . . .                                                                                 what promises to be a difficult ... . . . .


1/31/2008     The Asian Banker Moody's comments on WaMu's 4Q07 loss      Moody's Investors Service saw no rating implications to
                 Interactive                                             Washington Mutual, Inc's. ( WaMu) announcement of a
                                                                         4Q07 loss of $1.9 billion. The loss was consistent with an
                                                                         earnings warning that WaMu announced in December,
                                                                         2007. Moody's rates WaMu's lead th


 2/1/2008        Mortgage       Is WaMu Talking to JPM?                  JPMorgan Chase & Co. is talking to Washington Mutual ortgage Servicing Ne Fitch Downgrades MBS Due to Loss Forecast About 280 classes of mortgage-backed securities from
              Servicing News                                             here about possibly buying the nation's largest thrift,                                                             more than 20 issuers were recently downgraded by Fitch
                                                                         according to industry sources.                                                                                      Ratings as a result of changes to its subprime loss
                                                                                                                                                                                             forecasting assumptions.


 2/4/2008       San Antonio     WaMu pins hopes on retail banking        When it comes to Washington Mutual Inc., most of the
               Express-News                                              attention has been focused on the headache-generating
                                                                         home-loan side of the business. . . . .
 2/5/2008     Associated Press Ambac Financial, Washington Mutual, CIT   The Standard & Poor's 500 index declined on Monday,
                Newswires      Group tug S&P 500 lower, while Cummins    with shares of Ambac Financial Group Inc. taking the
                               gains                                     largest loss. Washington Mutual Inc. declined $2.66, or
                                                                         12.2 percent, to $19.16, as banking stocks were among
                                                                         the hardest hit in the session.


 2/6/2008      Reuters News     RESEARCH ALERT-FBR sees 30 pct fall in   Feb 6 (Reuters) - Friedman Billings Ramsey said it sees a
                                U.S. banks' profit in '08                30 percent fall in profits of U.S. banks and thrifts for
                                                                         fiscal 2008 from last year, as the sector wades through
                                                                         higher credit costs, which would more than offset net
                                                                         interest margin ... . . . .
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Market Date     Source 1                      Headline 1                                         News Clip 1                             Source 2                       Headline 2                                         News Clip 2
 2/7/2008     Reuters News    UPDATE 1-Reuters Summit-US OTS chief         (For other news from the Reuters Regulation Summit,
                              not aware of any WaMu deal                   click on
                                                                           http://www.reuters.com/summit/Regulation08?pid=5
                                                                           00 ) (Adds comments on fewer mergers expected,
                                                                           background, stock price) . . . .
2/11/2008     Reuters News    US lenders have foreclosure forbearance plan- WASHINGTON, Feb 11 (Reuters) - Six of the largest U.S.     Business Wire   Fitch Upgrades Washington Mutual Card         NEW YORK - (BUSINESS WIRE) - Fitch Ratings has
                              sources                                       mortgage lenders will announce on Tuesday a program                        Services Credit Card Seller/Servicer Rating   upgraded Washington Mutual Card Services (WMCS)
                                                                            to identify seriously delinquent borrowers and halt any                                                                  Credit Card Seller/Servicer Rating to 'Proficient Plus'
                                                                            foreclosure process while they try to work out a new                                                                     from 'Proficient'. The rating is based on the management
                                                                            payment scheme, sources ... . . . .                                                                                      team's extensive industry ... . . . .


2/12/2008     PR Newswire     Bank of America And Washington Mutual        Announcement Completes CtW's "Subprime Director"
                 (U.S.)       Directors to Face Election Challenge         Focus List for 2008 Proxy Season WASHINGTON, Feb.
                                                                           12 /PRNewswire/ -- Citing risk management failures
                                                                           that cost shareholders $71 billion in 2007, the CtW
                                                                           Investment Group has called on three ... . . . .


2/13/2008     Seattle Post-   WaMu Directors Questioned; Pension Group A union-affiliated pension advisory group has sent
              Intelligencer   Asks Three Board Member About Subprime letters to three Washington Mutual Inc. directors, asking
                              Crisis Role                              them to explain their role in the subprime mortgage
                                                                       mess that has clobbered the company's earnings and
                                                                       stock price. . . . .
2/14/2008     Business Wire   Fitch Upgrades 3 Classes of WAMU 2003-C1 Fitch Ratings has upgraded Washington Mutual Asset
                                                                       Securities Corporation (WAMU) commercial mortgage
                                                                       pass-through certificates, series 2003-C1. The rating
                                                                       upgrades reflect the increased subordination due to
                                                                       scheduled amortization and paydown since Fitc


2/22/2008     Reuters News    Reuters Summit-Freddie Mac CEO: Brokers      (For other news from the Reuters Housing Summit, click
                              need more regulation                         on
                                                                           http://www.reuters.com/summit/Housing08?pid=500
                                                                           ) NEW YORK, Feb 21 (Reuters) - Freddie Mac Chief
                                                                           Executive Richard Syron said on Thursday mortgage
                                                                           brokers should be more ... . . . .

2/25/2008     Reuters News    REFILE-RESEARCH ALERT-Goldman cuts           (Refiles to clarify that Freddie Mac and Fannie Mae are
                              WaMu, Freddie Mac                            mortgage finance companies, not mortgage lenders)
                                                                           Feb 25 (Reuters) - Goldman Sachs downgraded
                                                                           mortgage lender Washington Mutual Inc and mortgage
                                                                           finance firms Freddie Mac and ... . . . .


2/27/2008     Business Wire   WaMu Celebrates Fifth Anniversary of         WaMu (NYSE:WM), the first, and currently the only,          M2 Presswire    Has added Washington Mutual Inc. to their     Today's activity has brought Washington Mutual Inc. on
                              Providing its Credit Card Customers with     credit card issuer that provides its cardholders with                       watch list.                                   our radar. Early trading, Wednesday February 27, 2008,
                              Free Access to Their FICO Credit Score       free(a) online access to their FICO(® )credit score, is                                                                   Washington Mutual Inc. was trading down $0.40 with a
                                                                           celebrating the fifth anniversary of the service in 2008.                                                                 trading volume surpassing 13,000,000. Wednesday
                                                                                                                                                                                                     February 27, 2008, WaMu, the first, and
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Market Date      Source 1                       Headline 1                                            News Clip 1                               Source 2                      Headline 2                                       News Clip 2
 2/28/2008       AFX Asia       Mortgage lenders fall; Thornburg Mortgage      Shares of mortgage lenders fell sharply Thursday with
                                hits 5-week low                                Thornburg Mortgage Inc. slumping to a five-week low
                                                                               after the lender warned that the deterioration in the
                                                                               mortgage securities market has left it with "reduced
                                                                               readily available liquidity to meet fut


 3/3/2008      Market News      Fannie Mae/Freddie Agree on Appraisals;        Fannie Mae and Freddie Mac have reached an                   Home Equity Wire JPM Scouting WaMu Assets                   JPMorgan Chase & Co., New York, has agreed to
               International    Cuomo Probe Settled                            agreement with New York Attorney General Andrew                                                                          purchase what it calls "certain intellectual property"
                                                                               Cuomo regarding fraudulent appraisals, effectively                                                                       belonging to Washington Mutual's warehouse lending
                                                                               settling a probe into the government-aponsored                                                                           division and is in the process of making job offers to
                                                                               enterprises' policies and procedures related to valuing                                                                  some of the unit's warehouse executives, sour
                                                                               proper

 3/4/2008      Business Wire    Fitch Downgrades $2.3B from 2 Washington Fitch Ratings has taken the following rating actions on           ociated Press NewswWashington Mutual declines as investors   NEW YORK (AP) - Washington Mutual Inc. shares fell
                                Mutual 2007 1st Lien Subprime Deals      Washington Mutual (WAMU) mortgage pass-through                                       grow wary of exposure to bad debt         Tuesday along with most of the banking sector as
                                                                         certificates. Unless stated otherwise, any bonds that                                                                          concerns that financial services firms are still massively
                                                                         were previously placed on Rating Watch Negative are                                                                            exposed to bad credit. . . . .
                                                                         now removed. Downgrades total $2.3 billion.


 3/5/2008     The Wall Street   WaMu Board Sheilds Executives' Bonuses         The board of Washington Mutual Inc. has set
                 Journal                                                       compensation targets for top executives that will exclude
                                                                               some costs tied to mortgage losses and foreclosures
                                                                               when cash bonuses are calculated this year. . . . .


 3/6/2008      Reuters News     UPDATE 1-S&P cuts Washington Mutual,           (Adds details) NEW YORK, March 6 (Reuters) -
                                may cut again                                  Standard & Poor's on Thursday cut its ratings on
                                                                               Washington Mutual Inc and said it may cut the
                                                                               company further, citing expectations that weakness in
                                                                               residential mortgages will be worse ... . . . .


 3/7/2008     Associated Press Bear Stearns analyst cuts estimates for Wells NEW YORK (AP) - Shares of national and regional                  Reuters News    WaMu, other lenders seek private equity   NEW YORK, March 7 (Reuters) - Washington Mutual
                Newswires      Fargo, Washington Mutual, National City       banks fell Thursday as fears of further deterioration in                         cash -WSJ                                 Inc and other lenders have approached private-equity
                                                                             credit quality gripped the market. . . . .                                                                                 firms and sovereign-wealth funds to discuss cash
                                                                                                                                                                                                        infusions, according to the Wall Street Journal, citing
                                                                                                                                                                                                        people familiar with the ... . . . .
3/10/2008     Associated Press Washington Mutual shares dive after S&P         SEATTLE (AP) - Standard & Poor's Ratings Services              Reuters News    UPDATE 2-Fitch cuts WaMu rating, says     (Adds details) NEW YORK, March 7 (Reuters) - Fitch
                Newswires      says loan crisis worse                          lowered its rating on a Washington Mutual Bank-backed                          may cut other banks                       Ratings on Friday cut its ratings on Washington Mutual
                                                                               bond issue Friday, a day after the agency cut its overall                                                                Inc , and said it may cut Bank of America Corp and
                                                                               credit rating for the thrift. . . . .                                                                                    Citigroup , due to their exposure to residential home
                                                                                                                                                                                                        loans. . . . .
3/11/2008     Associated Press Washington Mutual and Countrywide             NEW YORK (AP) - Shares of Washington Mutual Inc., nvestors Service Pre Moody's downgrades WaMu's Covered                   EUR 6 billion of securities downgraded Moody's
                Newswires      Financial rise as Fed offers to swap Treasury Countrywide Financial Corp., and Discover Financial                    Bonds ratings to Aa1 on review for possible         Investors Service downgraded the ratings of the covered
                               bonds for debt                                Services rose on Tuesday and helped send the Standard                  downgrade                                           bonds issued by WM Covered Bond Program (the
                                                                             & Poor's 500 higher in midday trading. . . . .                                                                             Program) to Aa1. The ratings remain on review for
                                                                                                                                                                                                        possible downgrade. . . . .
3/13/2008      Reuters News     REFILE-WaMu gets capital offer from U.K.       (Refiles to widen distribution, with no change to
                                fund - report                                  headline or text) NEW YORK, March 12 (Reuters) -
                                                                               U.K. hedge fund Toscafund Asset Management LLP has
                                                                               approached Washington Mutual Inc , offering to
                                                                               participate in any consortium looking to ... . . . .
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Market Date      Source 1                    Headline 1                                             News Clip 1                                   Source 2                      Headline 2                                       News Clip 2
 3/14/2008    Dow Jones News UPDATE: Moody's Cuts WaMu Rating To             DOW JONES NEWSWIRES             Moody's Investor Service
                  Service    One Step Above Junk                             cut Washington Mutual Inc.'s (WM) debt rating to one
                                                                             step above junk status due to the "the rapid deterioration
                                                                             of the residential housing sector in the first quarter." . . . .


3/17/2008     Associated Press Washington Mutual's CEO goes without 2007 SEATTLE (AP) - Washington Mutual Inc. Chief                ow Jones News ServiWaMu Prevails In Anchor Savings Goodwill             DOW JONES NEWSWIRES Washington Mutual (WM)
                Newswires      bonus, still takes home $14 million       Executive Officer Kerry Killinger received compensation                       Litigation                                           said a federal claims court awarded it $382 million for
                                                                         valued at $14.4 million for 2007, 21 percent less than the                                                                         damages, and an additional amount for taxes that will
                                                                         previous year, as the nation's largest savings and loan                                                                            be determined by the court. . . . .
                                                                         struggled with ... . . . .
3/18/2008     Associated Press Shares of mortgage lenders and thrift banks   NEW YORK (AP) - Shares of mortgage lenders and thrift
                Newswires      jump on Fed rate cut                          banks jumped Tuesday after the Federal Reserve cut its
                                                                             target for interest rates. The Federal Reserve Tuesday
                                                                             afternoon cut its target for short-term interest rates to
                                                                             2.25 percent ... . . . .
3/20/2008     Moody's Investors Moody's Upgrades the Ratings of Seven        Moody's Investors Service upgraded the ratings of seven
               Service Press    Classes of Washington Mutual Asset           classes and affirmed the ratings of eight classes of
                  Release       Securities Corp., Series 2003-C12            Washington Mutual Asset Securities Corp., Series 2003-
                                                                             C1.
3/27/2008       Reuters News    RESEARCH ALERT-Lehman triples                NEW YORK, March 27 (Reuters) - Washington Mutual
                                Washington Mutual 2008 loss view             Inc's expected 2008 loss was more than tripled on
                                                                             Thursday by Lehman Brothers Inc analyst Bruce
                                                                             Harting, who also boosted his forecast for credit losses at
                                                                             the largest U.S. savings and ... . . . .


3/28/2008       Reuters News    Lender WaMu is safe for at least 2008-       NEW YORK, March 27 (Reuters) - Mortgage lender
                                CreditSights                                 Washington Mutual should have enough funds and
                                                                             financing to last through at least 2008, but its situation in
                                                                             2009 is less certain, research firm CreditSights said on
                                                                             Thursday. . . . .
 4/1/2008         Mortgage      WaMu Gets Downgraded2                        Citing a worse mortgage market than expected even two              Business Wire   WaMu Set to Become Largest U.S. Issuer of   WaMu expects to issue 12-15 million Debit MasterCard
               Servicing News                                                months ago, Standard & Poor's has lowered the long-                                Debit MasterCard® with PayPass™             with PayPass cards in 2008, making it the nation’s
                                                                             term counterparty credit ratings of Washington Mutual                                                                          largest issuer (as of Q42007 there are more than 23
                                                                             Inc., Seattle, and Washington Mutual Bank. WaMu's                                                                              million PayPass cards and devices in circulation
                                                                             counterparty rating was downgraded from BBB                                                                                    globally).


 4/2/2008     Associated Press Analyst: Banks must raise capital or face     NEW YORK (AP) - The rapid pace of asset quality
                Newswires      regulatory review as non-performing assets    deterioration may force some banks to raise capital fast,
                               rise                                          or face regulatory review, a Friedman, Billings, Ramsey
                                                                             analyst said Wednesday. . . . .
 4/3/2008       PR Newswire     CtW Inv Grp Welcomes Glass Lewis             WASHINGTON, April 3, 2008 /PRNewswire-
                   (U.S.)       Recommendation Against Two WaMu              USNewswire/ -- The CtW Investment Group announced
                                Directors                                    today that Glass Lewis, a leading independent proxy
                                                                             voting advisory service, has recommended that its
                                                                             clients withhold their votes from nominees Mary E. ... . .
                                                                             ..
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Market Date      Source 1                     Headline 1                                             News Clip 1                                  Source 2                     Headline 2                                          News Clip 2
 4/4/2008     Dow Jones News Egan-Jones Advises WaMu Holders Vote             DOW JONES NEWSWIRES Egan-Jones Proxy Services
                  Service    Against 3 Directors                              recommended Washington Mutual Inc. (WM)
                                                                              shareholders withhold votes from three nominated
                                                                              directors and approve a shareholder proposal related to
                                                                              the director election process. . . . .


 4/7/2008      Reuters News     Washington Mutual sinks on mortgage loss      NEW YORK, April 4 (Reuters) - Washington Mutual Inc               Reuters News   UPDATE 4- Washington Mutual near $5 bln     (Adds updated shares, comments, CtW investment)
                                worries                                       shares fell 11.5 percent on Friday after an analyst said                         TPG deal - sources                          NEW YORK, April 7 (Reuters) - Washington Mutual
                                                                              mortgage and other credit problems will lead to a bigger                                                                     Inc, the largest U.S. savings and loan, is close to
                                                                              2008 loss, and may keep the largest U.S. savings and                                                                         obtaining a $5 billion injection from investors led by
                                                                              loan from making ... . . . .                                                                                                 private equity firm TPG Inc, ... . . . .


 4/8/2008      Reuters News     WaMu finalising capital injection plan - WSJ NEW YORK, April 8 (Reuters) - Washington Mutual Inc ow Jones News ServiWaMu Lays Off 3,000 Home-Loan Staff At                 NEW YORK (Dow Jones)-- Washington Mutual Inc.
                                                                             and its advisers on Monday were working out the final                  186 Locations                                          (WM) said it has closed 186 home loan centers
                                                                             details of the plan for capital injection from investors                                                                      nationwide, and on Monday notified 3,000 employees
                                                                             led by private equity firm TPG, the Wall Street Journal                                                                       that their jobs will be eliminated in the near future. . . . .
                                                                             reported online ... . . . .


 4/9/2008     Associated Press Moody's no longer considering downgrading NEW YORK (AP) - Moody's Investors Service is no             ociated Press NewswAnalyst cuts WaMu rating, says $7B capital         NEW YORK (AP) - Friedman, Billings, Ramsey & Co.
                Newswires      Washington Mutual                         longer considering cutting Washington Mutual Inc.'s                            infusion will not cover mounting credit            slashed its price target on Washington Mutual Inc. on
                                                                         credit rating because the bank raised $7 billion by selling                    losses                                             Wednesday, saying the national bank's recent $7 billion
                                                                         stock, the ratings service said Tuesday. . . . .                                                                                  capital infusion does not provide enough to counter
                                                                                                                                                                                                           mounting credit losses. . . . .
4/11/2008      Reuters News     UPDATE 2-WaMu faces $14 bln losses,           (Adds Goldman's role in capital-raising, Washington
                                should be shorted-GS                          Mutual unavailable for comment; updates shares)NEW
                                                                              YORK, April 11 (Reuters) - Washington Mutual Inc may
                                                                              have to set aside $14 billion this year for credit losses,
                                                                              according to a Goldman ... . . . .


4/14/2008       Seattle Post-   WAMU'S BATTLES INTENSIFY ; NO                 The ongoing confrontation between Washington Mutual ociated Press NewswWashington Mutual expects $1.1 billion 1st-           NEW YORK (AP) - Washington Mutual Inc. reports
                Intelligencer   FEWER THAN 16 LAWSUITS FILED SO               Inc.'s directors and executives and its investors unhappy              quarter loss, raising new capital                     earnings for the fiscal first quarter on Tuesday. The
                                FAR AGAINST LENDER                            with the company's financial and stock-market                                                                                following is a summary of key developments and
                                                                              performance over the past six months will get a very                                                                         analyst opinion related to the period. . . . .
                                                                              public airing at Tuesday's ... . . . .


4/15/2008      Business Wire    WaMu Closes $7 Billion Equity Issuance,       SEATTLE - (BUSINESS WIRE) - On Apr. 14, WaMu
                                Strengthening Capital Position ; WaMu         (NYSE:WM) closed the previously announced $7 billion
                                Reports First Quarter Net Loss Per Share of   capital issuance to TPG Capital and to other investors,
                                $1.40, Reflecting Elevated Loan Loss          including many of WaMu’s top institutional
                                Provisioning but Stable Revenues Declares     shareholders. With the proceeds of the ... . . . .
                                Cash Dividend of...

4/16/2008      Reuters News     WaMu sees $12 bln-$19 bln in 1-family         NEW YORK, April 15 (Reuters) - Washington Mutual                  Reuters News   UPDATE 2-Analysts widen '08 loss estimates (Adds details, Bear Stearns, Credit Suisse and UBS
                                charge-offs                                   Inc , the largest U.S. savings and loan, expects to charge                       on WaMu                                    comments) April 16 (Reuters) - At least seven
                                                                              off $12 billion to $19 billion of its $187 billion portfolio of                                                             brokerages, including Punk Ziegel and Friedman
                                                                              single-family residential home loans in three to four                                                                       Billings Ramsey, widened their 2008 loss-per-share view
                                                                              years, Chief ... . . . .                                                                                                    on Washington Mutual Inc on Wednesday, ... . . . .
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                                                                                                     APPENDIX C
                                                                                          News Articles During the Class Period
                                                                               Samples From Each Day Coded as Having WaMu Related News
Market Date      Source 1                       Headline 1                                           News Clip 1                          Source 2   Headline 2   News Clip 2
 4/17/2008    Associated Press WaMu directors narrowly re-elected in         SEATTLE (AP) - Washington Mutual Inc. shareholders
                Newswires      shareholder vote                              re-elected its entire board, despite efforts by some
                                                                             groups to oust the directors responsible for managing
                                                                             the thrift's exposure to risky subprime mortgages. . . . .


4/22/2008      Reuters News     Short Stocks: Bets build against WaMu, Gap   NEW YORK, April 21 (Reuters) - Short interest on the
                                                                             New York Stock Exchange rose 0.3 percent in mid-April,
                                                                             the exchange said on Monday, suggesting a slight
                                                                             increase in bearish sentiment in the stock market. . . . .


4/30/2008     Associated Press WaMu replaces chief risk officer              SEATTLE (AP) - Washington Mutual Inc., hit hard by
                Newswires                                                    delinquencies and defaults, named a new chief risk
                                                                             officer Tuesday to help steer the nation's largest savings
                                                                             and loan through the fallout of the mortgage and credit
                                                                             crises. . . . .
 5/1/2008      Business Wire    Fitch Affirms Ratings on 30 Washington       NEW YORK - (BUSINESS WIRE) - Fitch Ratings affirms
                                Mutual Credit Card ABS Classes               30 classes of securities issued from the Washington
                                                                             Mutual Master Note Trust and the Washington Mutual
                                                                             Master Trust. The affirmation of these tranches
                                                                             completes the portfolio review that ... . . . .


 5/5/2008        Dow Jones      Washington Mutual Registers Shares For       DOW JONES NEWSWIRESWashington Mutual Inc.
              Corporate Filings Holders                                      (WM) on Monday filed with the Securities and Exchange
                   Alert                                                     Commission to allow for the sale of up to 36,642 shares
                                                                             of Series S convertible preferred stock from time to time
                                                                             by selling shareholders. . . . .


 5/6/2008     Moody's Investors Moody's Downgrades Certain WMALT Alt-        Moody's Investors Service has downgraded the ratings
               Service Press    A deals                                      of 82 tranches from 18 Alt-A transactions issued by
                  Release                                                    Washington Mutual. Thirty nine tranches remain on
                                                                             review for possible further downgrade. Additionally,
                                                                             150 tranches were placed on ... . . . .


 5/7/2008     Dow Jones News Some Banks' Loan-Loss Estimates Use Rose-       NEW YORK (Dow Jones)--Wachovia Corp.'s (WB) and
                 Service     Tinted Housing Data                             Washington Mutual Inc.'s (WM) embrace of a
                                                                             government home-price index may help their reports of
                                                                             expected mortgage losses appear less dire than
                                                                             competitors'. . . . .
5/14/2008     Dow Jones News WaMu COO: '08 Loan-Loan Provisions To           DOW JONES NEWSWIRES Washington Mutual Inc.
                 Service     Exceed Charge-Offs                              (WM) failed to foresee the speed and severity of the
                                                                             decline in U.S. house prices as the housing-market
                                                                             meltdown rocked the giant thrift, its president and
                                                                             operating chief said Wednesday. . . . .


5/16/2008      Reuters News     Gates Foundation reports Washington          WASHINGTON, May 15 (Reuters) - Microsoft Corp
                                Mutual stake                                 Chairman Bill Gates reported on Thursday that his
                                                                             foundation holds a 3 million share stake in Washington
                                                                             Mutual Inc and has doubled its stake in American
                                                                             International Group Inc . . . . .
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                                                                                 Samples From Each Day Coded as Having WaMu Related News
Market Date   Source 1                         Headline 1                                      News Clip 1                                        Source 2                      Headline 2                                       News Clip 2
 5/21/2008 Moody's Investors Moody's downgrades WaMu's Covered Bond Euro 6 billion of securities downgradedMoody's
            Service Press    rating to A2 on review, direction uncertain downgraded the rating of the Covered Bonds issued by
               Release                                                   WM Covered Bond Program (the Program) to A2, on
                                                                         review, with direction uncertain from Aa1 under review
                                                                         for possible downgrade. The downgrade ... . . . .


 5/22/2008      Seattle Post-    WARNING FROM WAMU:                            Washington Mutual Inc., the biggest U.S. savings and
                Intelligencer                                                  loan, said Wednesday that provisions for bad loans
                                                                               related to the collapse of the subprime mortgage market
                                                                               will reach their highest point this year. "2008 will be the
                                                                               peak year for us in ... . . . .
 6/2/2008      Reuters News      UPDATE 4-WaMu strips CEO Killinger of         (Adds analyst comment)NEW YORK (Reuters) -                    attle Post-IntelligencWAMU DROPS TO NEARLY $9 A SHARE ; Washington Mutual Inc. stock narrowly avoided closing
                                 chairman role                                 Washington Mutual Inc, a national bank and home                                     STOCK'S CLOSING PRICE REGISTERS AS below $9 a share in trading Friday, but the company's
                                                                               lender struggling to rebound after heavy mortgage                                   LOWEST SINCE APRIL 1995            shares are still down sharply not only from last year's
                                                                               losses, said Monday that it would strip Chief Executive                                                                prices but also from a mini rally they staged earlier this
                                                                               Kerry Killinger of his title of chairman ... . . . .                                                                   year. . . . .


 6/3/2008      The Wall Street   Wachovia and WaMu Feel the Credit Pinch --- Stocks slid as the credit crunch returned, claiming an
                  Journal        Massey and Tesoro Lead Energy Gains;        executive at bank Wachovia and hurting British lender
                                 General Motors Rises                        Bradford & Bingley and U.S. lender Washington Mutual.
                                                                             and U.S. lender . . . .
 6/4/2008     Dow Jones News Michael Solender Named WaMu's Chief               DOW JONES NEWSWIRES Washington Mutual Inc.
                 Service     Legal Officer                                     (WM) named Michael S. Solender, former Bear Stearns
                                                                               Cos. general counsel, as executive vice president and
                                                                               chief legal officer. . . . .
 6/6/2008        AFX Asia        Washington Mutual falls to 13-yr low; other   Shares of Washington Mutual tumbled to a 13-year low
                                 mortgage lenders decline2                     Friday, amid increased concerns over the outlook for the
                                                                               U.S. consumer following disappointing jobs data and the
                                                                               latest spike in crude oil prices.


 6/9/2008      Reuters News      Washington Mutual shares drop on new          BOSTON (Reuters) - U.S. mortgage lender Washington              Reuters News     UPDATE 2-Bank shares tumble as analysts    (For more on analysts' outlook for U.S. financial
                                 housing fears                                 Mutual Inc's shares tumbled as much as 17 percent on                             see higher losses                          institutions, double click on [ID:nBNG327142]) (Recasts;
                                                                               Friday to a 16-year low as investors feared the housing                                                                     adds details, Washington Mutual, analyst comments,
                                                                               crisis would deepen in the wake of new disappointing                                                                        stock prices, dateline, bylines) . . . .
                                                                               economic data. . . . .


 6/10/2008    Dow Jones News US Stocks: Lehman, WaMu Lead Financials           Commodity stocks such as Alcoa helped the Dow Jones
                 Service     Slide; Dow Bounces                                Industrial Average recover some losses, but the credit
                                                                               crunch burned again on Wall Street, with losses for
                                                                               Lehman Brothers Holdings, and on Main Street, with
                                                                               fears about Washington Mutual.Shares of Wa


 6/11/2008     Reuters News      WaMu stock falls on loss worries -analyst     NEW YORK, June 11 (Reuters) - Shares of Washington
                                                                               Mutual fell nearly 10 percent on Wednesday on concern
                                                                               about the extent of losses at the largest U.S. savings and
                                                                               loan, an analyst said. . . . .
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                                                                                                    APPENDIX C
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                                                                              Samples From Each Day Coded as Having WaMu Related News
Market Date       Source 1                       Headline 1                                       News Clip 1                               Source 2                     Headline 2                                     News Clip 2
 6/12/2008     Associated Press Washington Mutual denies regulatory         SEATTLE (AP) - After watching its shares reach a 16-
                 Newswires      enforcement action                          year low Wednesday, Washington Mutual Corp. issued
                                                                            a statement denouncing speculation that it is the subject
                                                                            of any regulatory enforcement actions. . . . .


6/17/2008       PR Newswire     With WaMu Shareholders Set to Vote On       WASHINGTON, June 17 /PRNewswire-USNewswire/ --
                   (U.S.)       TPG-Led Buyout On June 24th, New            Private equity powerhouse Texas Pacific Group (TPG) is
                                Information Raises Concerns That TPG-Led    leading a $7 billion investment into troubled financial
                                Investment Could Pose...                    institution Washington Mutual (WaMu) which could
                                                                            drive up financial risks to ... . . . .


6/18/2008     The Boston Globe Banks have a bad day after analysts weigh in MONEY & MARKETS / MASS. MOVERSBoston-based
                                                                            Wainwright Bank & Trust Co. and other banks fell
                                                                            yesterday after Goldman Sachs Group analysts said
                                                                            credit losses won't peak until 2009, the cost of new
                                                                            capital will climb, and potential ... . . . .


6/19/2008       Business Wire   WaMu Commits an Additional $1 Billion in    SEATTLE - (BUSINESS WIRE) - Washington Mutual              ow Jones News ServiWashington Mutual Ends 2 Types Of      DOW JONES NEWSWIRES Washington Mutual Inc.
                                Assistance to Help Borrowers ; Company      (NYSE:WM) today announced that it is dedicating an                            Complex Mortgages                      (WM) will discontinue two complex mortgage products
                                Also Announces Streamlined Product Suite    additional $1 billion as part of its borrowers' assistance                                                           as it cuts back on riskier loans amid the subprime
                                                                            program designed to help WaMu homeowners with                                                                        mortgage mess and falling home prices. . . . .
                                                                            subprime mortgage loans stabilize ... . . . .


6/24/2008       Reuters News    UPDATE 1-WaMu may face $30 bln credit       (Adds details, share movement)June 24 (Reuters) -             Business Wire   Fitch Affirms Washington Mutual's      CHICAGO - (BUSINESS WIRE) - Fitch Ratings affirms
                                losses through 2011-Lehman                  Washington Mutual Inc may set aside as much as $30                            Commercial Mortgage Servicer Ratings   Washington Mutual's commercial mortgage-backed
                                                                            billion for credit losses through 2011, according to                                                                 securities (CMBS) primary servicer rating at 'CPS3+', its
                                                                            Lehman Brothers Inc analyst Bruce Harting, who                                                                       master servicer rating at 'CMS3', and its special servicer
                                                                            increased his forecast for losses this ... . . . .                                                                   rating at 'CSS3'. The ... . . . .


6/25/2008       Reuters News    UPDATE 1-WaMu may avoid more capital        (Recasts, adds details)June 25 (Reuters) - Washington
                                raise - Bove                                Mutual Inc may be able to withstand estimated losses of
                                                                            $36 billion and remain in business, and avoid an
                                                                            additional capital raise, said Ladenburg Thalmann
                                                                            analyst Richard Bove, who ... . . . .


6/26/2008         Dow Jones      JPMorgan Has Compiled List For Possible    DOW JONES NEWSWIRESJP Morgan Chase & Co.
              International News Bank Acquisition -NY Post                  (JPM) has compiled a list of banks for a potential
                                                                            acquisition, with Washington Mutual Inc. (WM) and
                                                                            SunTrust Banks Inc. (STI) at the top, the New York Post
                                                                            reported on its Web site Thursday, ... . . . .


 7/1/2008      Associated Press Washington Mutual replaces retail banking   SEATTLE (AP) - Washington Mutual Inc., the nation's
                 Newswires      exec                                        largest savings and loan, said Monday it replaced the
                                                                            president of its retail banking division, James Corcoran. .
                                                                            ...
 7/2/2008       Business Wire   WaMu Announces Conversion of Series S       SEATTLE - (BUSINESS WIRE) - Washington Mutual,
                                and Series T Preferred Stock                Inc. (NYSE:WM) announced the conversion of its Series
                                                                            S and Series T Contingent Convertible Perpetual Non-
                                                                            Cumulative Preferred Stock into common stock
                                                                            following the overwhelming approval by ... . . . .
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                                                                                Samples From Each Day Coded as Having WaMu Related News
Market Date      Source 1                        Headline 1                                           News Clip 1                              Source 2                     Headline 2                                        News Clip 2
 7/10/2008    Chicago Tribune Banking on new technology; Washington           Seattle-based Washington Mutual is the latest financial
                              Mutual among institutions adding mobile         institution to join the mobile-banking movement,
                              services to directly link phones, money2        announcing on Wednesday new services that use text-
                                                                              messaging to help customers check account balances and
                                                                              view recent transactions.


7/14/2008      Maeil Business   Many More Bank Failures Likely after          U.S. banks may fail in far greater numbers following the
                Newspaper       IndyMac                                       collapse of the big mortgage lender IndyMac Bancorp
                                                                              Inc, straining a financial system seeking stability after
                                                                              years of lending excesses, reported Reuters. . . . .


7/15/2008     Dow Jones News Washington Mutual Provides Statement On          DOW JONES NEWSWIRESWashington Mutual Inc.             ones Capital Markets Washington Mutual Credit Protection Costs     NEW YORK (Dow Jones)--Credit derivatives traders
                 Service     The Strength Of Its Cap And Liquidity            (WM), responding to uncertainty in the marketplace,                        Hit Record High                               sent the cost of credit protection on embattled bank
                             Position                                         said it significantly exceeds all regulatory "well-                                                                      Washington Mutual Inc. (WM) to a record high Tuesday
                                                                              capitalized" minimums for depository institutions and                                                                    even as the stock of the nation's largest thrift rallied 18%.
                                                                              has excess liquidity of more than $40 ... . . . .                                                                        ....


7/16/2008      Business Wire    Fitch Places Certain Washington Mutual     Fitch Ratings has today placed two certificates from the The News Tribune Washington Mutual rebounds slightly after         Shares of Washington Mutual recovered a bit Tuesday
                                Credit Card Notes on Rating Watch Negative Washington Mutual Master Trust and two notes from                         reassurance                                       from the biggest drop in more than two decades after the
                                                                           Washington Mutual Master Note Trust on Rating Watch                                                                         thrift told investors that it's "well-capitalized."
                                                                           Negative.The rating actions are a result of a significant
                                                                           increase in delinquencies and charg


7/17/2008     Associated Press Washington Mutual shares rise sharply          NEW YORK (AP) - . . . .
                Newswires
7/22/2008     Moody's Investors Moody's reviews WaMu for downgrade            Moody's Investors Service placed the ratings of
               Service Press                                                  Washington Mutual, Inc. (senior unsecured rating of
                  Release                                                     Baa3) and Washington Mutual Bank (financial strength
                                                                              rating of C-, long term deposit rating of Baa2, and short
                                                                              term rating of Prime-2) under ... . . . .


7/23/2008      Business Wire    WaMu Reports Significant Build-Up of          SEATTLE - (BUSINESS WIRE) - WaMu (NYSE:WM)                     Reuters News   S&P cuts Washington Mutual to just above   NEW YORK, July 23 (Reuters) - Standard & Poor's on
                                Reserves Contributing to Second Quarter Net   today announced a second quarter 2008 net loss of $3.33                       junk                                       Wednesday cut its counterparty credit rating on
                                Loss of $3.3 Billion ; Company Increases      billion as it significantly increased its loan loss reserves                                                             Washington Mutual Inc to just a notch above junk on the
                                Capital Levels Company...                     by $3.74 billion to $8.46 billion. The quarter’s loss                                                                    thrift's higher than expected second-quarter losses. . . . .
                                                                              compares with the first ... . . . .
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             Appendix C
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                                                     UNITED STATES DISTRICT COURT
                                                    WESTERN DISTRICT OF WASHINGTON
                                                              AT SEATTLE

    IN RE WASHINGTON MUTUAL, INC.
    SECURITIES LITIGATION                                                      No. 2:08-md-1919 MJP
                                                                               Lead Case No. C08-387 MJP
    This Document Relates to: ALL ACTIONS

                                 NOTICE OF (I) PENDENCY OF CLASS ACTION AND PROPOSED
                          SETTLEMENTS, (II) SETTLEMENT FAIRNESS HEARING, AND (III) MOTION FOR AN
                         AWARD OF ATTORNEYS’ FEES AND REIMBURSEMENT OF LITIGATION EXPENSES
                           A Federal Court Authorized This Notice. This is not a solicitation from a lawyer.1
NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that your rights may be affected by a class action lawsuit (the
“Action”) pending in the United States District Court for the Western District of Washington at Seattle (the “Court”) if, during the period
from October 19, 2005 to July 23, 2008 (the “Class Period”), you purchased or otherwise acquired any of the following securities (the
“WMI Class Securities”) issued by Washington Mutual, Inc. (“WMI” or the “Company”) or its subsidiaries, and were damaged thereby:
              WMI common stock (CUSIP 939322103)
              Floating Rate Notes due August 24, 2009, offered in August 2006
                   (CUSIP 939322AW3) (“Floating Rate Notes”)
              7.250% Subordinated Notes due November 1, 2017, offered in October 2007
                   (CUSIP 939322AY9) (“7.250% Notes”)
              7.75% Series R Non-Cumulative Perpetual Convertible Preferred Stock, offered in December 2007 (CUSIP
                   939322814) (“Series R Stock”)
              Washington Mutual Capital Trust 2001’s 5.375% Trust Preferred Income Equity Redeemable Securities (PIERS)
                  Units, maturing July 1, 2041 (CUSIP 939322848) (“Capital Trust Unit Preferred”)
NOTICE OF SETTLEMENTS: Please also be advised that the Court-appointed Lead Plaintiff, Ontario Teachers’ Pension Plan Board,
on behalf of itself and the Class (defined in paragraph 28 below), has reached three proposed all-cash settlements of the Action, as
follows: (i) a $105 million settlement with the Individual Defendants (identified in paragraph 1 below) whereby WMI is also a Settling
Defendant (the “D&O/WMI Settlement”); (ii) an $85 million settlement with the Underwriter Defendants (identified in paragraph 1 below)
(the “Underwriters Settlement”); and (iii) an $18.5 million settlement with Deloitte & Touche LLP (“Deloitte”) (the “Deloitte Settlement”)
(collectively, the “Settlements”). The total amount of the Settlements is $208.5 million, plus interest thereon. If all of the Settlements
are approved by the Court, they will resolve all claims in the Action by Class Members against the Settling Defendants (including WMI)
as well as other Released Defendant Parties, as defined in paragraph 73 below and the Bankruptcy Claims against WMI in the Chapter
11 Cases (as described in paragraphs 13 and 72 below).
PLEASE READ THIS NOTICE CAREFULLY. This Notice explains important rights you may have, including the possible
receipt of cash from each of the three Settlements if each is approved by the Court. If you are a Class Member, your legal
rights will be affected whether or not you act.
          1.      Overview of the Action and the Class: This Notice relates to three separate proposed Settlements of claims in a
pending class action brought by investors alleging that the prices of WMI’s securities were artificially inflated during the Class Period as
a result of false statements, non-disclosures, and fraudulent conduct in violation of the federal securities laws. A more detailed
description of the Action is set forth in paragraphs 14 – 27 below. The “Settling Defendants” are: (a) Kerry K. Killinger, Thomas W.
Casey, Stephen J. Rotella, Ronald J. Cathcart, David C. Schneider, John F. Woods, Melissa J. Ballenger, Anne V. Farrell, Stephen E.
Frank, Thomas C. Leppert, Charles M. Lillis, Phillip D. Matthews, Regina Montoya, Michael K. Murphy, Margaret Osmer McQuade,
Mary E. Pugh, William G. Reed, Jr., Orin C. Smith, James H. Stever and Willis B. Wood, Jr. (the “Individual Defendants”); (b) Goldman,
Sachs & Co., Morgan Stanley & Co. Incorporated (now known as Morgan Stanley & Co. LLC), Credit Suisse Securities (USA) LLC,
Deutsche Bank Securities Inc., UBS Securities LLC, J.P. Morgan Securities Inc., Barclays Capital Inc., Keefe, Bruyette & Woods, Inc.,
Cabrera Capital Markets, LLC, The Williams Capital Group, L.P., Citigroup Global Markets, Inc., Greenwich Capital Markets, Inc. (now
known as RBS Securities Inc.), BNY Mellon Capital Markets LLC (successor to BNY Capital Markets, Inc.), and Samuel A. Ramirez &
Company, Inc. (the “Underwriter Defendants”); (c) Deloitte, and (d) WMI.2
        The proposed Settlements each provide for the release of claims against the Settling Defendants in the respective Settlements
and others as specified in (i) “Stipulation and Agreement of Settlement with Individual Officer and Director Defendants and with
Washington Mutual, Inc.” dated June 30, 2011 (the “D&O/WMI Stipulation”); (ii) “Stipulation and Agreement of Settlement with the
Underwriter Defendants” dated June 30, 2011 (the “Underwriters Stipulation”); and (iii) “Stipulation and Agreement of Settlement with

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   All capitalized terms that are not defined in this Notice have the meaning ascribed to them in the respective Stipulations and Agreements of Settlement
(the “Stipulations”), which are available on the website established for the Settlements at www.WashingtonMutualSecuritiesLitigationSettlement.com and
on Lead Counsel’s website www.blbglaw.com.
2
  WMI was named as a defendant in the Action but, because it filed a petition for bankruptcy, the Action was automatically stayed against it under the
Bankruptcy Code, 11 U.S.C. § 362(a). Lehman Brothers Inc. (“Lehman”) was also named as a defendant in the Action, but on September 19, 2008, a
proceeding was commenced under the Securities Investor Protection Act of 1970 (SIPA) with respect to Lehman and, as a result, all proceedings
against it have also been stayed. Lehman is not a Settling Defendant and is not being released pursuant to the terms of the Settlements.
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Defendant Deloitte & Touche LLP” dated June 30, 2011 (the “Deloitte Stipulation”). All persons and entities who purchased or
otherwise acquired WMI Class Securities during the Class Period and were damaged thereby, except for certain persons and entities
who are excluded from the Class by definition (see paragraph 28 below) or persons and entities who validly elect to exclude themselves
from the Class (see paragraphs 82 - 84 below), will be affected by the Settlements, if they are approved by the Court, and may be
eligible to receive a payment from some or all of the Settlements.
          2.         The Class’s Recovery: Subject to approval by the Court, and with respect to the D&O/WMI Settlement, entry of the
Bankruptcy Court Approval Order by the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) and such
order becoming Final (as discussed in paragraph 13 below) and as described more fully below, Lead Plaintiff, on behalf of itself and the
Class, has agreed to settle all claims based on the allegations asserted in the Action that were or could have been asserted against the
Settling Defendants and other Released Defendant Parties and/or that relate to the purchase, acquisition or holding during the Class
Period of the WMI Class Securities and certain other WMI securities as to which claims were asserted in the Action but were dismissed
               3
by the Court, in exchange for a total of $208.5 million in cash. Lead Plaintiff has agreed to settle with the Individual Defendants and
include WMI as a Settling Defendant for $105 million in cash, with the Underwriter Defendants for $85 million in cash, and with Deloitte
for $18.5 million in cash. The claims asserted against the Individual Defendants were brought pursuant to both the Securities Act of
1933 (the “Securities Act”) and the Securities Exchange Act of 1934 (the “Exchange Act”) while the claims against the Underwriter
Defendants and Deloitte were asserted pursuant only to the Securities Act. Subject to certain contingencies explained in the Plan of
Allocation set forth below, only those Class Members who are entitled to assert Securities Act claims will be eligible to participate in the
Net Settlement Funds created by the Settlements with the Underwriter Defendants and Deloitte, and only those Class Members who
are entitled to assert Exchange Act claims will be eligible to participate in the Net Settlement Fund created by the D&O/WMI Settlement.
The Settlement Amounts for each of the Settlements will be deposited into separate interest-bearing escrow accounts for the benefit of
Class Members (the “Settlement Funds”). The respective Net Settlement Funds (the Settlement Funds less any Taxes, any Notice and
Administration Costs and any attorneys’ fees and Litigation Expenses awarded by the Court) will be distributed in accordance with the
plan of allocation that is approved by the Court, which will determine how the Net Settlement Funds shall be allocated among members
of the Class who, by virtue of the claims they could assert, are eligible to participate in the distribution of the respective Net Settlement
Funds and who submit timely and valid Proof of Claim and Release Forms (a “Claim Form”). The proposed plan of allocation (the “Plan
of Allocation”) is included in this Notice at pages 7 to 12.
           3.      Estimate of Average Amount of Recovery Per Share or Note: Lead Plaintiff’s damages expert estimates that
approximately 1.433 billion shares of WMI common stock, 461,900 Floating Rate Notes, 625,750 7.250% Notes, 10.227 million shares
of Series R Stock, and 37,483,400 units of Capital Trust Unit Preferred purchased during the Class Period may have been affected by
the conduct at issue in the Action. Because the number of affected common stock shares is so large – exceeding 1.4 billion shares – if
all eligible Class Members elect to participate in the Settlements and all of the Settlements are approved, the estimated average
recovery per eligible share, note or unit would be approximately $0.07 per share of common stock; $0.33 per $100 face value of
Floating Rate Notes; $0.47 per $100 face value of 7.250% Notes; $9.68 per share of Series R Stock; and $0.10 per unit of Capital Trust
Unit Preferred before the deduction of Court-awarded attorneys’ fees and expenses, and the costs of providing notice and administering
the Settlements. Class Members should note, however, that these are only estimates based on the overall number of potentially
affected shares, notes and units. Some Class Members may recover more or less than these estimated amounts.
         4.        Average Amount of Damages Per Share: The parties do not agree on the average amount of damages per share
that would be recoverable if Lead Plaintiff were to prevail in the Action. The Settling Defendants do not agree with the assertion that
they engaged in any actionable conduct under the federal securities laws or that any damages were suffered by any members of the
Class as a result of their conduct.
          5.      Attorneys’ Fees and Expenses Sought: Plaintiffs’ Counsel, who have been prosecuting this Action on a wholly
contingent basis since its inception in 2008, have not received any payment of attorneys’ fees for their representation of the Class and
they have advanced the funds to pay expenses necessarily incurred to prosecute the Action. Lead Counsel will apply to the Court for
an award of attorneys’ fees for all Plaintiffs’ Counsel in the amount of 22.5% of each Settlement Fund. In addition, Lead Counsel will
apply for reimbursement of Litigation Expenses paid or incurred in connection with the prosecution and resolution of the claims against
the Settling Defendants, in an amount not to exceed $5.8 million (which may include an application for reimbursement of the reasonable
costs and expenses incurred by Plaintiffs directly related to their representation of the Class). Any fees and expenses awarded by the
Court will be paid from the Settlement Funds. Class Members are not personally liable for any such fees or expenses. If all the
Settlements are approved, and Lead Counsel’s fee and expense application is granted, the average cost per share, note or unit of
these fees and expenses will be approximately $0.02 per share of common stock; $0.08 per $100 face value of Floating Rate Notes;
                                                                                                                                  4
$0.12 per $100 face value of 7.250% Notes; $2.45 per share of Series R Stock; and $0.03 per unit of Capital Trust Unit Preferred.
        6.       Identification of Attorneys’ Representative: Lead Plaintiff and the Class are being represented by Hannah G.
Ross, Esq. of Bernstein Litowitz Berger & Grossmann LLP. Any questions regarding the Action or the Settlements should be directed
to Ms. Ross at Bernstein Litowitz Berger & Grossmann LLP, 1285 Avenue of the Americas, New York, NY 10019, (800) 380-8496,
blbg@blbglaw.com.




3
  The additional securities as to which Class Members’ claims are being released with respect to their purchases, acquisitions or holdings during the
Class Period are the 5.50% Notes due August 24, 2011 offered in WMI’s August 2006 Offering (CUSIP 939322AX1) (“5.50% Notes”) and the Series K
perpetual non-cumulative preferred stock offered in WMI’s September 2006 Offering (CUSIP 939322830) (“Series K Stock”). The WMI Class Securities
and the additional securities as to which claims are being released are referred to as the “WMI Released Securities.”
4
  Should the Court approve less than all the Settlements, attorneys’ fees will be paid only on the Settlement Fund(s) created by the approved
Settlement(s). The Litigation Expenses approved by the District Court will be paid from the Settlement Fund(s) created by the approved Settlement(s).


                                                                         2
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                                               YOUR LEGAL RIGHTS AND OPTIONS IN THESE SETTLEMENTS:
 SUBMIT A CLAIM FORM BY                                            This is the only way to be eligible to get a payment from the Settlements. If you are
 DECEMBER 8, 2011.                                                 a Class Member and you remain in the Class, you will be bound by the Settlements
                                                                   as approved by the Court and you will give up any “Settled Claims” (as defined
                                                                   below) that you have against the Settling Defendants and the other “Released
                                                                   Defendant Parties” (as defined below), so, if you remain in the Class, it is in your
                                                                   interest to submit a Claim Form.
  EXCLUDE YOURSELF FROM THE                                        If you exclude yourself from the Class, you will not be eligible to get any payment
  CLASS BY SUBMITTING A WRITTEN                                    from any of the Settlement Funds. This is the only option that allows you ever to be
  REQUEST FOR EXCLUSION SO THAT IT                                 part of any other lawsuit against any of the Settling Defendants or the other
  IS RECEIVED NO LATER THAN                                        Released Defendant Parties concerning the Settled Claims.
  OCTOBER 10, 2011.
  OBJECT TO THE SETTLEMENTS BY                                     If you do not like one or more of the proposed Settlements, the proposed Plan of
  SUBMITTING A WRITTEN OBJECTION                                   Allocation, or the request for attorneys’ fees and reimbursement of Litigation
  SO THAT IT IS RECEIVED NO LATER                                  Expenses, you may write to the Court and explain why you do not like them. You
  THAN OCTOBER 10, 2011.                                           cannot object to the Settlements, the Plan of Allocation or the fee and expense
                                                                   request unless you are a Class Member and do not exclude yourself.
  GO TO A HEARING ON NOVEMBER 4,                                   Filing a written objection and notice of intention to appear allows you to speak in
  2011 AT 9:00 A.M., AND FILE A NOTICE                             Court about the fairness of the Settlements, the Plan of Allocation, and/or the
  OF INTENTION TO APPEAR SO THAT IT                                request for attorneys’ fees and reimbursement of Litigation Expenses. If you submit
  IS RECEIVED NO LATER THAN                                        a written objection, you may (but you do not have to) attend the hearing and speak
  OCTOBER 15, 2011.                                                to the Court about your objection.
  DO NOTHING.                                                      If you are a member of the Class and you do not submit a Claim Form by
                                                                   December 8, 2011, you will not be eligible to receive any payment from any of the
                                                                   Settlements. You will, however, remain a member of the Class, which means that
                                                                   you give up your right to sue about the claims that are resolved by the Settlements
                                                                   and you will be bound by any Judgments or Orders entered by the Court in this
                                                                   Action.

                                                                             [END OF COVER PAGE]

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                                                                         WHY DID I GET THIS NOTICE?

           7.      This Notice is being sent to you pursuant to an Order of the United States District Court for the Western District of
Washington because you or someone in your family or an investment account for which you serve as a custodian may have purchased
or otherwise acquired WMI Class Securities (defined on page 1) during the Class Period. The Court has directed us to send you this
Notice because, as a potential Class Member, you have a right to know about your options before the Court rules on the proposed
Settlements. Additionally, you have the right to understand how a class action lawsuit may generally affect your legal rights. If the
Court approves the Settlements and the Plan of Allocation (or some other plan of allocation), the Claims Administrator selected by Lead
Plaintiff and approved by the Court will make payments pursuant to the Settlements and the Court-approved plan of allocation after any
objections and appeals are resolved.
         8.         In a class action lawsuit, the court selects one or more people, known as class representatives, to sue on behalf of all
people with similar claims, commonly known as the class or the class members. A class action is a type of lawsuit in which the claims
of a number of individuals are resolved together, thus providing the class members with both consistency and efficiency. Once the
class is certified, the court must resolve all issues on behalf of the class members, except for any persons who choose to exclude

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themselves from the class. In this Action, the Court appointed Ontario Teachers’ Pension Plan Board to serve as “Lead Plaintiff” under
a federal law governing lawsuits such as this one, and approved Lead Plaintiff’s selection of the law firm of Bernstein Litowitz Berger &
Grossmann LLP (“Lead Counsel”) to serve as Lead Counsel in the Action. The Court certified the Action to proceed as a class action
and certified Lead Plaintiff and additional named plaintiffs Pompano Beach Police and Firefighters’ Retirement System, Brockton
Contributory Retirement System, and Police and Fire Retirement System of the City of Detroit (collectively, “Plaintiffs”) as
representatives for the Class. (For more information on excluding yourself from the Class, please read “What If I Do Not Want To
Participate In The Settlements? How Do I Exclude Myself?,” on page 14 below.)
          9.         The court in charge of this case is the United States District Court for the Western District of Washington, and the
case is known as In re Washington Mutual, Inc. Securities Litigation, No 2:08-md-1919 MJP, Lead Case No. C08-387 MJP. The Judge
presiding over this case is the Honorable Marsha J. Pechman, United States District Judge. The persons or entities that are suing are
called plaintiffs, and those who are being sued are called defendants. If all three proposed Settlements are approved, they will resolve
all claims in the Action by Class Members against the Settling Defendants and will bring the Action to an end.
         10.     This Notice explains the lawsuit, the Settlements, your legal rights, what benefits are available, who is eligible for
them, and how to get them. The purpose of this Notice is to inform you of this case, that it is a class action, how you might be affected,
and how to exclude yourself from the Class if you wish to so do. It is also being sent to inform you of the terms of the proposed
Settlements, and of a hearing to be held by the Court to consider the fairness, reasonableness, and adequacy of the Settlements, the
proposed Plan of Allocation and the motion by Lead Counsel for attorneys’ fees and reimbursement of Litigation Expenses (the
“Settlement Hearing”).
         11.     The Settlement Hearing will be held on November 4, 2011 at 9:00 a.m., before the Honorable Marsha J. Pechman at
the United States District Court for the Western District of Washington, United States Courthouse, 700 Stewart Street, Seattle, WA
98101 to determine:
         (a)      whether the proposed Settlements are fair, reasonable and adequate and should be approved by the Court;
         (b)      whether all claims asserted in the Action against the Settling Defendants should be dismissed with prejudice and all
                  Settled Claims against the Settling Defendants and the other Released Defendant Parties should be released as set
                  forth in the respective Stipulations;
         (c)      whether the proposed Plan of Allocation is fair and reasonable, and should be approved by the Court; and
         (d)      whether Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation Expenses should be
                  approved by the Court.
          12.      This Notice does not express any opinion by the Court concerning the merits of any claim in the Action, and the Court
still has to decide whether to approve each of the Settlements. If the Court approves the Settlements and a plan of allocation,
payments to Authorized Claimants will be made after any appeals are resolved, and after the completion of all claims processing.
Please be patient.
         13.     The D&O/WMI Settlement also is conditioned on the entry of the Bankruptcy Court Approval Order by the Bankruptcy
Court (and on such Order becoming Final) which is overseeing WMI’s bankruptcy case, jointly administered in the Bankruptcy Court
with the bankruptcy case of WMI Investment Corp. as In re Washington Mutual Inc., Case No. 08-12229 (MFW) (collectively the
“Chapter 11 Cases”). The Bankruptcy Court Approval Order will, among other things, authorize, to the extent necessary, the use of
proceeds from officers’ and directors’ insurance policies for the payment and funding of the $105,000,000 Settlement Amount of the
D&O/WMI Settlement. If the Bankruptcy Court Approval Order is not entered or does not become Final, the D&O/WMI Settlement will
not go forward and the parties to the D&O/WMI Stipulation will be restored to their respective positions as of March 23, 2011.

                                   WHAT IS THE CASE ABOUT? WHAT HAS HAPPENED SO FAR?

         14.      The Action is a class action alleging violations of the federal securities laws by various persons, including WMI, the
Individual Defendants, the Underwriter Defendants, and Deloitte.
          15.      Beginning in November 2007, class action complaints on behalf of purchasers of certain WMI securities were filed in
the United States District Court for the Southern District of New York against WMI and certain of its officers and directors alleging
violations of the Exchange Act with respect to public disclosures concerning the lending practices and financial condition of WMI. In
early 2008, pursuant to an order of the United States Judicial Panel on Multidistrict Litigation, these actions, together with a number of
related actions, were transferred to the United States District Court for the Western District of Washington. On May 7, 2008, the Court
entered an Order consolidating the transferred actions and any related pending or subsequently filed securities actions into this Action;
appointed Ontario Teachers’ Pension Plan Board as Lead Plaintiff, Bernstein Litowitz Berger & Grossmann LLP as Lead Counsel and
Byrnes Keller Cromwell LLP as Liaison Counsel for Plaintiffs; and ordered that Lead Plaintiff file an amended complaint.
          16.       On August 5, 2008, Lead Plaintiff filed the Consolidated Class Action Complaint (the “Consolidated Complaint”),
which included Brockton Contributory Retirement System as an additional named plaintiff. The Consolidated Complaint asserted
claims against WMI and certain of the Individual Defendants under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934
(the “Exchange Act”) and Rule 10b-5 promulgated thereunder, alleging that these defendants made, or controlled others who made,
materially false and misleading statements about the effectiveness of WMI’s risk management procedures, the fairness and reliability of
the appraisals received in connection with WMI’s loans, the quality of WMI’s mortgage underwriting practices and WMI’s financial
results, including the appropriate allowances for its loan losses, and that these false and misleading statements had caused the prices
of WMI’s securities to be artificially inflated during the Class Period. The Consolidated Complaint also asserted claims against WMI,
the Underwriter Defendants, Deloitte and certain of the Individual Defendants under Section 11 of the Securities Act of 1933 (the
“Securities Act”); against WMI and the Underwriter Defendants under Section 12(a)(2) of the Securities Act; and against certain of the
Individual Defendants under Section 15 of the Securities Act alleging that the defendants named in the Securities Act claims were

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statutorily liable for materially untrue statements and misleading omissions in the registration statement and offering documents for
several public securities offerings that WMI conducted during the Class Period.
        17.      On September 26, 2008, WMI filed a petition for bankruptcy under chapter 11 of the Bankruptcy Code in the
Bankruptcy Court, causing the Action to be stayed against it pursuant to 11 U.S.C. § 362(a).
          18.      On December 8, 2008, all of the Settling Defendants (other than WMI, against which the Action had been stayed)
filed motions to dismiss the Consolidated Complaint. Lead Plaintiff opposed the motions and, on May 15, 2009, the Court entered an
order granting in part and denying in part the motions to dismiss and ordering that certain claims be re-pled.
          19.      On June 15, 2009, Lead Plaintiff filed the Amended Consolidated Class Action Complaint (the “Amended Complaint”).
In addition to Lead Plaintiff and named plaintiff Brockton Contributory Retirement System, the Amended Complaint included Pompano
Beach Police and Firefighters’ Retirement System, Mr. Harlan Seymour, and Police and Fire Retirement System of the City of Detroit as
additional named plaintiffs. Like the Consolidated Complaint, the Amended Complaint asserted claims under Sections 10(b), 20(a) of
the Exchange Act and Rule 10b-5 promulgated thereunder; and under Sections 11, 12(a)(2) and 15 of the Securities Act and alleged
claims substantially similar to those in the Consolidated Complaint.
         20.       On July 17, 2009, all of the Settling Defendants (other than WMI) moved to dismiss the Amended Complaint. The
motions were fully briefed and argued to the Court and, on October 27, 2009, the Court entered an Order sustaining the Exchange Act
claims against all the Defendants against whom they were asserted but dismissed certain of the Securities Act claims.
         21.       On January 15, 2010, all of the Settling Defendants (other than WMI) filed answers to the Amended Complaint.
           22.   On April 30, 2010, Lead Plaintiff filed a motion for class certification which was fully briefed and argued to the Court.
On October 12, 2010, the Court entered an Order certifying the Action as a class action, certifying Lead Plaintiff and additional named
plaintiffs Pompano Beach Police and Firefighters’ Retirement System, Brockton Contributory Retirement System, and Police and Fire
Retirement System of the City of Detroit as class representatives, and appointing Lead Counsel as Class Counsel. The Court excluded
one named plaintiff from the class and the Series K Stock from the Class.5 The definition of the Class is set forth in paragraph 28
below.
         23.      On December 1, 2010, the Underwriter Defendants moved for judgment on the pleadings, a motion in which all other
Settling Defendants (other than WMI) joined, contending that the remaining Securities Act claims relating to the August 2006 and the
December 2007 offerings were barred by the statute of limitations. The Court, after hearing oral argument, denied the motion on
January 28, 2011.

        24.     Pursuant to the Court’s Order dated November 25, 2009, the parties were directed to engage in mediation to
determine whether a consensual resolution of the Action could be achieved.

          25.      Lead Plaintiff and the Settling Defendants (other than WMI) engaged in extensive arm’s-length negotiations that
included participation by their respective counsel in multiple mediation sessions in February and March 2011 with an experienced
mediator, a former Federal District Judge, Layn R. Phillips. With Judge Phillips’ assistance, Lead Plaintiff reached agreements-in-
principle to settle with the Individual Defendants on March 23, 2011; with Deloitte on March 24, 2011; and with the Underwriter
Defendants on March 30, 2011.
          26.      Before agreeing to the Settlements, Lead Counsel had conducted an extensive investigation into the events and
transactions underlying the claims alleged in the Amended Complaint and had also conducted extensive discovery. Lead Counsel
analyzed the evidence adduced during its investigation and through discovery, which included almost 500 witness interviews, review of
over 23 million pages of documents produced by Defendants and others, and dozens of depositions; consulted with numerous experts,
including experts in accounting and auditing, risk management, loss reserve modeling, statistical analysis and damages; and
researched the applicable law with respect to the claims of Lead Plaintiff and the Class against the Settling Defendants and their
potential defenses. At the time the agreements to settle were reached, Lead Counsel had a thorough understanding of the strengths
and weaknesses of Lead Plaintiff’s and the Settling Defendants’ positions based on the extensive investigation and discovery, the
briefing of the multiple motions to dismiss and the class certification motion, and the preparation of several detailed mediation
statements as well as the review of mediation statements prepared by Settling Defendants. Lead Counsel and Lead Plaintiff believe
that each of the proposed Settlements is fair, reasonable and adequate, and in the best interests of the Class.
         27.       On July 21, 2011, the Court entered an Order Preliminarily Approving Proposed Settlements and Providing for Notice,
which preliminarily approved the Settlements, authorized this Notice be sent to potential Class Members, and scheduled the Settlement
Hearing to consider whether to grant final approval to the Settlements.

                                      HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENTS?

        28.        If you are a member of the Class, you are subject to the Settlements, unless you timely request to be excluded. The
Class consists of:
         All persons and/or entities who purchased or otherwise acquired the following securities issued by WMI and its
         subsidiaries: WMI common stock (CUSIP 939322103); Floating Rate Notes offered in WMI’s August 2006 Offering
         (CUSIP 939322AW3); the 7.250% Notes offered in WMI’s October 2007 Offering (CUSIP 939322AY9); the 7.75%


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  Former defendant Banc of America Securities LLC (“BOA”), which was sued as one of the Underwriter Defendants, underwrote only the Series K
Stock offering, was dismissed from the Action as a result of the District Court’s October 12, 2010 Order. BOA is a Released Defendant Party in the
Underwriters Settlement.


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          Series R Non-Cumulative Perpetual Convertible Preferred Stock offered in WMI’s December 2007 Offering (CUSIP
          939322814); and Washington Mutual Capital Trust 2001’s 5.375% Trust Preferred Income Equity Redeemable
          Securities (PIERS) Units, maturing 7/1/2041 (“Capital Trust Unit Preferred”) (CUSIP 939322848) (collectively, the
          “WMI Class Securities”) from October 19, 2005 to July 23, 2008 (the “Class Period”), and were damaged thereby.
          Excluded from the Class are (i) Defendants; (ii) members of the Immediate Family of each Individual Defendant; (iii)
          any other person who was an officer or director of WMI, Deloitte, any of the Underwriter Defendants, Lehman, or BOA
          during the Class Period; (iv) any firm, trust, corporation, or other entity in which any Defendant has or had a controlling
          interest; (v) any person who participated in the wrongdoing alleged in the Action; (vi) TPG Capital and other
          purchasers of equity securities issued by WMI in connection with the $7 billion capital issuance pursuant to the
          agreements entered into by and among TPG Capital and WMI and other investors, announced by the Company on
          April 8, 2008 (the “TPG Deal”), to the extent that such purchasers exercised distinct rights and diligence opportunities
          afforded them in connection with the TPG Deal; and (vii) the legal representatives, agents, affiliates, heirs,
          beneficiaries, successors-in-interest, or assigns of any such excluded party, provided that any Investment Vehicle shall
                                                                        6
          not be deemed an excluded person or entity by definition. Also excluded from the Class are any persons or entities
          who exclude themselves by filing a request for exclusion in accordance with the requirements set forth in this Notice.
          See “What if I Do Not Want to Participate in the Settlements? How Do I Exclude Myself?,” on page 14 below.
PLEASE NOTE: RECEIPT OF THIS NOTICE DOES NOT MEAN THAT YOU ARE A CLASS MEMBER OR THAT YOU WILL BE
ENTITLED TO RECEIVE PROCEEDS FROM THE SETTLEMENTS. IF YOU ARE A CLASS MEMBER AND YOU WISH TO BE
ELIGIBLE TO PARTICIPATE IN THE DISTRIBUTION OF PROCEEDS FROM THE SETTLEMENTS, YOU ARE REQUIRED TO
SUBMIT THE CLAIM FORM THAT IS BEING DISTRIBUTED WITH THIS NOTICE AND THE REQUIRED SUPPORTING
DOCUMENTATION AS SET FORTH THEREIN POSTMARKED NO LATER THAN DECEMBER 8, 2011.

                                   WHAT ARE LEAD PLAINTIFF’S REASONS FOR THE SETTLEMENTS?

           29.     Lead Plaintiff and Lead Counsel believe that the claims asserted against the Settling Defendants have merit. Lead
Plaintiff and Lead Counsel recognize, however, the expense and length of continued proceedings necessary to pursue their claims
against these defendants through trial and appeals, as well as the difficulties in establishing liability and damages at trial. Lead Plaintiff
and Lead Counsel have also taken into account the possibility that the claims asserted in the Amended Complaint might have been
dismissed in response to the Settling Defendants’ anticipated motions for summary judgment, and have considered issues that would
have been decided by a jury in the event of a trial of the Action, including whether certain of the Settling Defendants acted with an intent
to mislead investors, whether all of Class Members’ losses were caused by the alleged misrepresentations or omissions and the
amount of damages. Lead Plaintiff and Lead Counsel have considered the uncertain outcome and trial risk in complex lawsuits like this
one, and that, even if they were successful, after the resolution of the appeals that were certain to be taken (which could take years to
resolve), certain of the Settling Defendants may not have been able to pay an amount significantly larger than their respective
Settlement Amount or even as much as the Settlement Amount. The Action has been stayed against WMI because of the Company’s
filing for bankruptcy and the Individual Defendants’ ability to pay as well as the limited potential for any recovery from the Bankruptcy
Claims asserted in the Chapter 11 Cases were significant factors that Lead Plaintiff had to take into account, given the fact that the
insurance coverage provided to these defendants by the directors’ and officers’ policies was a “wasting asset” which would have
continued to be depleted by the costs of this and other ongoing litigation.
          30.        In light of the amount of the Settlements and the immediacy of recovery to the Class, Lead Plaintiff and Lead Counsel
believe that the proposed Settlements are fair, reasonable and adequate. Indeed, Lead Plaintiff and Lead Counsel believe that the
Settlements achieved are excellent results and in the best interests of the Class. The Settlements, which total $208.5 million in cash
(less the various deductions described in this Notice), individually and collectively provide substantial benefits now as compared to the
risk that a similar, smaller, or no recoveries would be achieved after a trial and appeals, possibly years in the future.
         31.       The Settling Defendants have denied the claims asserted against them in the Action and deny having engaged in any
wrongdoing or violation of law of any kind whatsoever. The Settling Defendants have agreed to the Settlements solely to eliminate the
burden and expense of continued litigation. Accordingly, the Settlements may not be construed as an admission of any wrongdoing by
any of the Settling Defendants.

                                       WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENTS?

          32.      If there were no Settlements and Plaintiffs failed to establish any essential legal or factual element of their claims
against the Settling Defendants, neither they nor the Class would recover anything from the Settling Defendants. Also, if the Settling
Defendants were successful in proving any of their defenses, the Class could recover substantially less than the amounts provided in
the Settlements, or nothing at all. Additionally, with respect to the D&O/WMI Settlement in particular, even if Plaintiffs prevailed at trial,
and obtained a judgment in excess of the Settlement Amount, recovery on the judgment would have been unlikely. The insurance
coverage available to the Individual Defendants is a wasting asset and any recovery out of the Chapter 11 Cases is unlikely. The
ongoing prosecution of the Action against the Individual Defendants as well as other costs being paid from these policies in connection
with other ongoing litigation and investigations is fast depleting the amount of insurance coverage. Even if Lead Plaintiff prevailed at
trial and on the appeal that was sure to follow, by the time Lead Plaintiff could seek to enforce the judgment, the coverage would have

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   “Investment Vehicle” means any investment company or pooled investment fund, including but not limited to, mutual fund families, exchange-traded
funds, fund of funds and hedge funds, in which any Underwriter Defendant, BOA or Lehman has or may have a direct or indirect interest, or as to which
its affiliates may act as an investment advisor but in which the Underwriter Defendant, BOA or Lehman or any of their respective affiliates is not a
majority owner or does not hold a majority beneficial interest. This definition does not bring into the Class any of the Underwriter Defendants, BOA or
Lehman.


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been seriously depleted, if not exhausted entirely. Thus, a victory at trial or on appeal against these defendants could well have
resulted in a smaller recovery or no recovery at all.

                                                   HOW MUCH WILL MY PAYMENT BE?

        33.        At this time, it is not possible to make any determination as to how much a Class Member may receive from the
Settlements.
          34.      Pursuant to the Settlements, the Contributing Insurers have agreed to pay $105 million in cash with respect to the
D&O/WMI Settlement; the Underwriter Defendants have agreed to pay $85 million in cash; and Deloitte has agreed to pay $18.5 million
in cash. The Settlement Amounts will be deposited into interest-bearing escrow accounts (the “Settlement Funds”). If the Settlements
are approved by the Court, the Net Settlement Funds (i.e., the Settlement Funds less (a) all federal, state and local taxes on any
income earned by the Settlement Funds and the reasonable costs incurred in connection with determining the amount of and paying
taxes owed by the Settlement Funds (including reasonable expenses of tax attorneys and accountants); (b) the costs and expenses
incurred in connection with providing Notice to Class Members and administering the Settlements on behalf of Class Members; and (c)
any attorneys’ fees and expenses awarded by the Court) will be distributed to Class Members as set forth in the proposed plan of
allocation (the “Plan of Allocation”) or such other plan as the Court may approve.
         35.      After approval of the Settlements by the Court and upon satisfaction of the other conditions to the Settlements, the
Net Settlement Funds will be distributed to Authorized Claimants in accordance with the plan of allocation approved by the Court. The
Net Settlement Funds will not be distributed until the Court has approved a plan of allocation, and the time for any petition for rehearing,
appeal or review, whether by certiorari or otherwise, has expired.
         36.       Neither Settling Defendants nor any other person or entity that paid any portion of the Settlement Amounts on any of
their behalves are entitled to get back any portion of the respective Settlement Funds once the Court’s Order or Judgment approving
the relevant Settlement becomes Final. Settling Defendants shall not have any liability, obligation or responsibility for the administration
of the Settlements or disbursement of the Net Settlement Funds or the Plan of Allocation.
         37.        Approval of the Settlements is independent from approval of the plan of allocation. Any determination with respect to
the plan of allocation will not affect the Settlements, if approved.
          38.    Only those Class Members who purchased or otherwise acquired WMI Class Securities during the Class Period AND
WERE DAMAGED AS A RESULT OF SUCH PURCHASES OR ACQUISITIONS, will be eligible to share in the distribution of the Net
Settlement Funds. Each person wishing to participate in the distribution must timely submit a valid Claim Form establishing
membership in the Class, and including all required documentation, postmarked on or before December 8, 2011 to the address set forth
in the Claim Form that accompanies this Notice.
          39.       Unless the Court otherwise orders, any Class Member who fails to submit a Claim Form postmarked on or before
December 8, 2011 shall be fully and forever barred from receiving payments pursuant to the Settlements but will in all other respects
remain a Class Member and be subject to the provisions of the Stipulations and Settlements that are approved, including the terms of
any Judgments entered and releases given. This means that each Class Member releases the applicable Settled Claims (as defined in
paragraph 73 below) against the applicable Released Defendant Parties (as defined in paragraph 73 below) and will be enjoined and
prohibited from filing, prosecuting, or pursuing any of the applicable Settled Claims against any of the applicable Released Defendant
Parties regardless of whether or not such Class Member submits a Claim Form.
         40.      Information Required on the Claim Form: Among other things, each Claim Form must state and provide sufficient
documentation for each Claimant’s position in WMI Class Securities as of the beginning of the Class Period, their transactions during
the Class Period, and their closing positions on the dates specified in the Claim Form.
          41.        Participants and beneficiaries in the WaMu Savings Plan should not include any information relating to their
transactions within the plan in any Claim Form that they may submit in this Action. Claims based on the WaMu Savings Plan’s
purchases of WMI Class Securities during the Class Period may be made by the plan’s trustees. To the extent any of the Defendants
or any of the other persons or entities excluded from the Class are participants in the plan, such persons or entities shall not receive,
either directly or indirectly, any portion of the recovery that may be obtained from these Settlements by the WaMu Savings Plan.
         42.       The Court has reserved jurisdiction to allow, disallow or adjust the Claim of any Class Member on equitable grounds.
        43.       Each Claimant shall be deemed to have submitted to the jurisdiction of the United States District Court for the
Western District of Washington with respect to his, her or its Claim Form.
          44.       Persons and entities that are excluded from the Class by definition or that exclude themselves from the Class will not
be eligible to receive a distribution from the Net Settlement Funds and should not submit Claim Forms.
                                                  PROPOSED PLAN OF ALLOCATION7
          45.      The objective of the Plan of Allocation is to equitably distribute the settlement proceeds to Class Members who
suffered economic losses as a result of the alleged violations of the federal securities laws as opposed to losses caused by market or
industry factors or Company specific factors unrelated to the alleged violations of law. The Plan of Allocation reflects Lead Plaintiff’s
damages expert’s analysis undertaken to that end, including a review of publicly available information regarding WMI and statistical


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   The Settling Defendants take no position on the Plan of Allocation and, as stated above, continue to deny that WMI Class Securities were ever
artificially inflated in price, or that any Class Members suffered any damages.



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analyses of the price movements of the WMI Class Securities and the price performance of relevant market and industry indices during
the Class Period. The Plan of Allocation, however, is not a formal damage analysis.
          46.      The calculations made pursuant to the Plan of Allocation are not intended to be estimates of, nor indicative of, the
amounts that Class Members might have been able to recover after a trial. Nor are the calculations pursuant to the Plan of Allocation
intended to be estimates of the amounts that will be paid to Authorized Claimants pursuant to the Settlements. The computations under
the Plan of Allocation are only a method to weigh the claims of Authorized Claimants against one another for the purposes of making
pro rata allocations of the Net Settlement Funds.
         47.      As noted above, claims were asserted under both the Exchange Act and the Securities Act.8 For purposes of the
Exchange Act claims, Lead Plaintiff’s damages expert estimated the alleged artificial inflation in the Common Stock and the Capital
Trust Unit Preferred which is shown in Table A. For purposes of the Securities Act claims, the Plan of Allocation is generally based
upon application of the statutory damages formula under Section 11 of the Securities Act with respect to transactions in Series R Stock,
Floating Rate Notes and 7.250% Notes.
         48.      Subject to certain contingencies set forth below, the Net Settlement Fund created by the D&O/WMI Settlement (the
“Exchange Act Fund”) will be distributed to Authorized Claimants with respect to their Recognized Loss Amounts based on their Class
Period purchases of Common Stock and Capital Trust Unit Preferred (their “Exchange Act Loss”) and the Net Settlement Funds created
by the Settlements with the Underwriter Defendants and Deloitte (the “Securities Act Fund”) will be distributed to Authorized Claimants
with respect to their Recognized Loss Amounts based on their Class Period purchases of Series R Stock, Floating Rate Notes and
7.250% Notes (their “Securities Act Loss”).
         49.       A Securities Act Loss or Exchange Act Loss will be calculated for each eligible purchase or acquisition of the WMI
Class Securities that is listed in the Claim Form, and for which adequate documentation is provided. The calculation will depend upon
several factors, including (i) which type of WMI Class Securities were purchased or otherwise acquired; (ii) when the WMI Class
Securities were purchased or otherwise acquired; and (iii) whether the securities were sold and, if so, when they were sold.
        50.        Calculation of Exchange Act Losses will be based on the change in the level of alleged artificial inflation in the price of
the WMI Common Stock and Capital Trust Unit Preferred at the time of purchase or acquisition and at the time of sale. In this case,
Lead Plaintiff alleges that the Individual Defendants violated the Exchange Act by making false statements and omitting material facts
between October 19, 2005 through and including July 22, 2008, which had the effect of artificially inflating the prices of these securities.
Defendants deny all such allegations.
          51.       In order to have recoverable damages under the Exchange Act claims, plaintiffs must prove that disclosure of the
alleged misrepresentations is the cause of the decline in the price of the security. Alleged corrective disclosures that removed the
alleged artificial inflation from the prices of the Common Stock and Capital Trust Unit Preferred occurred on October 18, 2007,
November 2, 2007, November 7, 2007, December 11, 2007, December 21, 2007, March 7, 2008 and before the beginning of trading on
July 23, 2008. Accordingly, in order to have a compensable loss:
              (a)      Common Stock and Capital Trust Unit Preferred purchased or otherwise acquired from October 19, 2005 through
       October 17, 2007 must have been held until at least the beginning of trading on October 18, 2007, the day of the first corrective
       disclosure; and
             (b)      Common Stock and Capital Trust Unit Preferred purchased or otherwise acquired after the start of trading on
       October 18, 2007 through and including July 22, 2008, must have been held at least until the next corrective disclosure as listed
       above.
          52.      To the extent an Exchange Act Claimant does not satisfy either of the conditions set forth in the preceding paragraph,
his, her or its Recognized Loss Amount for those transactions will be zero.
         53.        Calculation of Securities Act Losses will be generally based upon the statutory measure of damages for claims based
on material misrepresentations in registration statements. As noted above, the calculation of Recognized Loss Amounts pursuant to
the Plan of Allocation is not intended to be an estimate of, nor indicative of, the amount that a Class Member might have been able to
recover after a trial.
                                                CALCULATION OF SPECIFIC LOSS AMOUNTS
          54.     Based on the formulas set forth below, a “Recognized Loss Amount” shall be calculated for each purchase or
acquisition of the WMI Class Securities listed in the Proof of Claim form and for which adequate documentation is provided. If a
Recognized Loss Amount results in a negative number, that Recognized Loss Amount shall be zero.
         55.      Exchange Act Claims Recognized Loss Amount Calculations - For the Common Stock and the Capital Trust Unit
Preferred, the Recognized Loss Amount per share or unit shall be calculated as follows:
          (a)       Common Stock
                    For each share of Common Stock purchased or acquired between October 19, 2005 and July 22, 2008, inclusive,
                    and:
                    1)        Sold prior to the close of trading on October 17, 2007, the Recognized Loss Amount is $0.00.


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  The determination as to which claims should be brought against any given defendant was based on Plaintiffs’ analysis of the relevant law and the facts
as known at the time the claims were asserted.



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                2)      Sold at a loss from October 18, 2007 through the close of trading on July 22, 2008, the Recognized Loss
                        Amount shall be the lesser of: (i) the amount of artificial inflation per share as set forth in Table A on the
                        date of purchase minus the amount of artificial inflation per share as set forth in Table A on the date of the
                        sale; or (ii) purchase/acquisition price minus the sale price.
                3)      Sold at a loss from July 23, 2008 through the close of trading on October 20, 2008, the Recognized Loss
                        Amount shall be the least of: (i) the amount of artificial inflation per share as set forth in Table A on the
                        date of purchase minus the amount of artificial inflation per share as set forth in Table A on the date of the
                        sale; or (ii) purchase/acquisition price minus the sale price; or (iii) the purchase price minus the average
                        closing price between July 23, 2008 and the date of sale as shown in Table B.
                4)      Held as of the close of trading on October 20, 2008, the Recognized Loss Amount shall be the lesser of: (i)
                        the amount of artificial inflation per share as set forth in Table A on the date of purchase; or (ii) the
                        purchase/acquisition price minus $2.86, the average closing price for the Common Stock between July 23,
                        2008 and October 20, 2008 as shown at the end of Table B.
        (b)     Capital Trust Unit Preferred
                For each unit of Capital Trust Unit Preferred purchased or acquired between October 19, 2005 and July 22, 2008,
                inclusive, and:
                1)      Sold prior to the close of trading on October 17, 2007, the Recognized Loss Amount is $0.00.
                2)      Sold at a loss from October 18, 2007 through the close of trading on July 23, 2008, the Recognized Loss
                        Amount shall be the lesser of: (i) the amount of artificial inflation per unit as set forth in Table A on the date
                        of purchase minus the amount of artificial inflation per unit as set forth in Table A on the date of the sale; or
                        (ii) purchase/acquisition price minus the sale price.
                3)      Sold at a loss from July 24, 2008 through the close of trading on October 21, 2008, the Recognized Loss
                        Amount shall be the least of: (i) the amount of artificial inflation per unit as set forth in Table A on the date
                        of purchase minus the amount of artificial inflation per unit as set forth in Table A on the date of the sale; or
                        (ii) purchase/acquisition price minus the sale price; or (iii) the purchase price minus the average closing
                        price between July 24, 2008 and the date of sale as shown in Table C.
                4)      Held as of the close of trading on October 21, 2008, the Recognized Loss Amount shall be the lesser of: (i)
                        the amount of artificial inflation per unit as set forth in Table A on the date of purchase; or (ii) the
                        purchase/acquisition price minus $13.04, the average closing price for the Capital Trust Unit Preferred
                        between July 24, 2008 and October 21, 2008 as shown at the end of Table C.
          56.     Securities Act Claims Recognized Loss Amount Calculations – For the Series R Stock, the 7.250% Notes and
the Floating Rate Notes, the Recognized Loss Amount per share or note shall be calculated as follows:
        (a)     Series R Stock
                For each share of Series R Stock purchased or otherwise acquired prior to the close of trading on July 22, 2008,
                inclusive, and:
                1)      Sold at a loss prior to the close of trading on August 5, 2008 (the date of suit), the Recognized Loss Amount
                        shall be the lesser of:
                                 (x) the purchase/acquisition price minus the sale price; or
                                 (y) $1,000 (issue price) minus the sale price.
                2)      Sold at a loss from August 6, 2008 through the close of trading on May 13, 2011, the Recognized Loss
                        Amount shall be the lesser of:
                                 (x) the purchase/acquisition price minus the greater of (i) the sale price or (ii) $465.00, the closing
                                 price on August 5, 2008; or
                                 (y) $1,000 (issue price) minus the greater of (i) the sale price or (ii) $465.00, the closing price on
                                 August 5, 2008.
                3)      Held as of close of trading on May 13, 2011, the Recognized Loss Amount shall be the lesser of:
                                 (x) the purchase/acquisition price minus $465.00, the closing price on August 5, 2008 (the date of
                                 suit); or
                                 (y) $1,000 (issue price) minus $465.00, the closing price on August 5, 2008 (the date of suit).
        (b)     Floating Rate Notes
                (i)     For each $100 in face value of Floating Rate Notes purchased or otherwise acquired prior to the close of
                        trading on May 13, 2008, and:
                        1)       Sold at a loss prior to the close of trading on May 13, 2008 (the date of suit), the Recognized Loss
                                 Amount shall be the lesser of:
                                           (x) the purchase/acquisition price minus the sale price; or

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                                            (y) $100 (issue price) minus the sale price.
                          2)       Sold at a loss from May 14, 2008 through the close of trading on May 13, 2011, the Recognized
                                   Loss Amount shall be the lesser of:
                                            (x) the purchase/acquisition price minus the greater of (i) the sale price or (ii) $93.50, the
                                            closing price on May 13, 2008 (the date of suit); or
                                            (y) $100 (issue price) minus the greater of (i) the sale price or (ii) $93.50, the closing price
                                            on May 13, 2008 (the date of suit).
                          3)       Held as of the close of trading on May 13, 2011, the Recognized Loss Amount shall be $0.00.
                 (ii)     For each $100 in Floating Rate Notes purchased or otherwise acquired from May 14, 2008 through the close
                          of trading on July 22, 2008, inclusive, and:
                          1)       Sold at a loss prior to the close of trading on May 13, 2011, the Recognized Loss Amount shall be
                                   the lesser of:
                                            (x) the purchase/acquisition price minus the greater of (i) the sale price or (ii) $93.50, the
                                            closing price on May 13, 2008 (the date of suit); or
                                            (y) $100 (issue price) minus the greater of (i) the sale price or (ii) $93.50, the closing price
                                            on May 13, 2008 (the date of suit).
                          2)       Held as of the close of trading on May 13, 2011, the Recognized Loss Amount shall be $0.00.
        (c)      7.250% Notes
                   (i)    For each $100 in face value of 7.250% Notes purchased or otherwise acquired prior to the close of trading
                          on May 13, 2008 and:
                          1)       Sold at a loss prior to the close of trading on May 13, 2008 (the date of suit), the Recognized Loss
                                   Amount shall be the lesser of:
                                            (x) the purchase/acquisition price minus the sale price; or
                                            (y) $99.377 (issue price) minus the sale price.
                          2)       Sold at a loss from May 14, 2008 through the close of trading on May 13, 2011, the Recognized
                                   Loss Amount shall be the lesser of:
                                            (x) the purchase/acquisition price minus the greater of (i) the sale price or (ii) $84.47, the
                                            closing price on May 13, 2008 (the date of suit); or
                                            (y) $99.377 (issue price) minus the greater of (i) the sale price or (ii) $84.47, the closing
                                            price on May 13, 2008 (the date of suit).
                          3)       Held as of the close of trading on May 13, 2011, the Recognized Loss Amount shall be $0.00.
                  (ii)    For each $100 in face value of 7.250% Notes purchased or otherwise acquired from May 14, 2008 through
                          the close of trading on July 22, 2008, inclusive, and:
                          1)       Sold at a loss prior to the close of trading on May 13, 2011, the Recognized Loss Amount shall be
                                   the lesser of:
                                            (x) the purchase/acquisition price minus the greater of (i) the sale price or (ii) $84.47, the
                                            closing price on May 13, 2008 (the date of suit); or
                                            (y) $99.377 (issue price) minus the greater of (i) the sale price or (ii) $84.47, the closing
                                            price on May 13, 2008 (the date of suit).
                          2)       Held as of the close of trading on May 13, 2011, the Recognized Loss Amount shall be $0.00
         57.      The sum of a Claimant’s Recognized Loss Amounts based on his, her or its purchases or acquisitions of Common
Stock and Capital Trust Unit Preferred (as calculated in paragraph 55 above) shall be the Claimant’s Exchange Act Loss. The sum of a
Claimant’s Recognized Loss Amounts based on his, her or its purchases or acquisitions of Series R Stock, Floating Rate Notes and
7.250% Notes (as calculated in paragraph 56 above) shall be the Claimant’s Securities Act Loss. The sum of a Claimant’s Securities
Act Loss and Exchange Act Loss is referred to as his, her or its Recognized Claim.

                                                    ADDITIONAL PROVISIONS
         58.     The Net Settlement Funds will be allocated among all Authorized Claimants whose Distribution Amount (defined
below in paragraph 61) is $20.00 or greater.
         59.      If the sum total of the Exchange Act Losses of all Authorized Claimants is greater than the Exchange Act Fund, each
Authorized Claimant with an Exchange Act Loss shall receive a pro rata share of the Exchange Act Fund, which shall be the Authorized
Claimant’s Exchange Act Loss divided by the total of all Exchange Act Losses, multiplied by the total amount in the Exchange Act Fund.
If the sum total of the Securities Act Losses of all Authorized Claimants is greater than the Securities Act Fund, each Authorized


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Claimant with a Securities Act Loss shall receive a pro rata share of the Securities Act Fund, which shall be the Authorized Claimant’s
Securities Act Loss divided by the total of all Securities Act Losses, multiplied by the total amount in the Securities Act Fund.
          60.      While it is unlikely that the Exchange Act Fund will exceed the total amount of the Exchange Act Losses, should that
happen, the excess amount in the Exchange Act Fund shall become available to compensate Authorized Claimants for their Securities
Act Losses if the Securities Act Fund is not sufficient to pay the total amount of Securities Act Losses, up to the amount necessary to
pay those losses. Should there be any excess remaining after the total amount of Securities Act Losses have been paid, the excess
will be distributed pro rata to Authorized Claimants based on their Exchange Act Losses. In like manner, should the amount in the
Securities Act Fund exceed the total Securities Act Losses, the excess will become available to compensate Authorized Claimants for
their Exchange Act Losses if the amount in the Exchange Act Fund is not sufficient to pay the total amount of the Exchange Act Losses,
up to the amount necessary to pay those losses, with any remaining balance being distributed pro rata to Authorized Claimants based
on their Securities Act Losses.
         61.       The Distribution Amount paid to an Authorized Claimant will be the sum of (i) his, her or its pro rata share of the
Exchange Act Fund; and (ii) his, her or its pro rata share of the Securities Act Fund. If an Authorized Claimant’s Distribution Amount
calculates to less than $20.00, no distribution will be made to that Authorized Claimant.
          62.      If a Class Member has more than one purchase/acquisition or sale of WMI Class Securities during the Class Period,
all purchases/acquisitions and sales of like securities shall be matched on a First In, First Out (“FIFO”) basis. Sales will be matched
first against any holdings of WMI Class Securities of the same security type held at the beginning of the Class Period, and then against
purchases/acquisitions of the same security in chronological order, beginning with the earliest purchase/acquisition made during the
Class Period.
          63.      Purchases or acquisitions and sales of WMI Class Securities shall be deemed to have occurred on the “contract” or
“trade” date as opposed to the “settlement” or “payment” date. The receipt or grant by gift, inheritance or operation of law of WMI Class
Securities during the Class Period shall not be deemed a purchase, acquisition or sale of WMI Class Securities for the calculation of an
Authorized Claimant’s Securities Act Loss or Exchange Act Loss nor shall the receipt or grant be deemed an assignment of any claim
relating to the purchase/acquisition of any WMI Class Securities unless (i) the donor or decedent purchased or otherwise acquired such
WMI Class Securities during the Class Period; (ii) no Claim Form was submitted by or on behalf of the donor, on behalf of the decedent,
or by anyone else with respect to such WMI Class Securities; and (iii) it is specifically so provided in the instrument of gift or
assignment.
         64.       The date of covering a “short sale” is deemed to be the date of purchase or acquisition of WMI Class Securities. The
date of a “short sale” is deemed to be the date of sale of WMI Class Securities. Under the Plan of Allocation, however, the Securities
Act Loss and Exchange Act Loss on all “short sales” is zero. In the event that there is an opening short position in any WMI Class
Security, the earliest Class Period purchases of like security shall be matched against such opening short position, and not be entitled
to a recovery, until that short position is fully covered.
         65.     Option contracts are not securities eligible to participate in the Settlements. With respect to WMI Class Securities
purchased or sold through the exercise of an option, the purchase/sale date of the WMI Class Security is the exercise date of the option
and the purchase/sale price of the WMI Class Security is the exercise price of the option.
          66.      To the extent a Claimant had a market gain with respect to his, her, or its purchases/acquisitions of WMI Class
Securities during the Class Period, the value of the Claimant’s Securities Act Loss and Exchange Act Loss will both be zero. Such
Claimants will in any event be bound by the Settlements. To the extent that a Claimant suffered an overall market loss with respect to
his, her, or its purchases/acquisitions of WMI Class Securities during the Class Period, but that market loss was less than the total
Recognized Claim calculated above, then the Claimant’s Recognized Claim shall be limited to the amount of the actual market loss and
the Claimant’s Securities Act Loss and Exchange Act Loss will be reduced proportionally.
         67.      For purposes of determining whether a Claimant had a market gain with respect to his, her, or its
purchases/acquisitions of WMI Class Securities during the Class Period or suffered a market loss, the Claims Administrator shall
                                                               9                                                    10
determine the difference between (i) the Total Purchase Amount and (ii) the sum of the Total Sales Proceeds and Total Holding
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Value. This difference will be deemed a Claimant’s market gain or loss with respect to his, her, or its overall purchases/acquisitions of
WMI Class Securities during the Class Period.

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   The “Total Purchase Amount” is the total amount the Claimant paid (excluding commissions and other charges) for all WMI Class Securities
purchased or acquired during the Class Period.
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    The Claims Administrator shall match any sales of Common Stock and Capital Trust Unit Preferred during the period from October 19, 2005 through
and including October 20, 2008 (for Common Stock) and October 21, 2008 (for Capital Trust Unit Preferred), first against the Claimant’s opening position
in the like security (the proceeds of those sales will not be considered for purposes of calculating market gains or losses). For Series R Stock, Floating
Rate Notes, and 7.250% Notes there are no opening positions since they were issued during the Class Period. The total amount received (excluding
commissions and other charges) for (i) sales of Common Stock sold during the period from October 19, 2005 through and including October 20, 2008 (if
the sale can be matched against a Class Period purchase/acquisition); (ii) sales of the Capital Trust Unit Preferred sold during the period from October
19, 2005 through and including October 21, 2008 (if the sale can be matched against a Class Period purchase/acquisition); and (iii) sales of Series R
Stock, Floating Rate Notes, and 7.250% Notes sold during the period from the offering date of the security through and including May 13, 2011 (if the
sale can be matched against a Class Period purchase/acquisition) shall be the “Total Sales Proceeds”.
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   The Claims Administrator shall ascribe a holding value to the WMI Class Securities purchased or acquired during the Class Period and still held as of
the close of trading on October 20, 2008 (for Common Stock), October 21, 2008 (for Capital Trust Unit Preferred), and May 13, 2011 (for Series R Stock,
Floating Rate Notes, and 7.250% Notes) (the “Holding Value”) as follows: $0.08 per share of WMI Common Stock; $1.10 per unit of Capital Trust Unit
Preferred; $14.01 per share of Series R Stock; $100.188 per $100 face value of the Floating Rate Notes; and $114.00 per $100 face value of the
7.250% Notes.



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         68.       If any funds remain in the Net Settlement Funds because of uncashed distributions or other reasons, then, after the
Claims Administrator has made reasonable and diligent efforts to have Authorized Claimants cash their distribution checks, any balance
remaining in the Net Settlement Funds one (1) year after the initial distribution of such funds shall be redistributed to Authorized
Claimants who have cashed their initial distribution and who would receive at least $20.00 from such redistribution, after payment of
any unpaid costs or fees incurred in administering the funds, including for such redistribution. Additional redistributions to Authorized
Claimants who have cashed their prior distribution checks and who would receive at least $20.00 on such additional redistributions,
subject to the conditions previously noted, may occur thereafter if Lead Counsel, in consultation with the Claims Administrator,
determines that additional redistribution, after the deduction of any additional fees and expenses that would be incurred with respect to
such redistributions, is cost-effective. At such time as it is determined that the redistribution of funds remaining in the Net Settlement
Funds is not cost-effective, the remaining balance of the Net Settlement Funds shall be contributed to non-sectarian, not-for-profit
501(c)(3) organizations recommended by Lead Counsel and approved by the Court.
          69.      Payment pursuant to the Plan of Allocation, or such other plan as may be approved by the Court, shall be conclusive
against all Authorized Claimants. No person shall have any claim against Lead Plaintiff, Lead Counsel, Liaison Counsel for Plaintiffs,
Settling Defendants and their respective counsel or any of the other Released Defendant Parties, or the Claims Administrator or other
agent designated by Lead Counsel arising from distributions made substantially in accordance with the Stipulations, the plan of
allocation approved by the Court, or further Orders of the Court. Lead Plaintiff, Settling Defendants and their respective counsel, and all
other Released Defendant Parties shall have no responsibility or liability whatsoever for the investment or distribution of the Settlement
Funds, the Net Settlement Funds, the Plan of Allocation, or the determination, administration, calculation, or payment of any Claim
Form or nonperformance of the Claims Administrator, the payment or withholding of taxes owed by the Settlement Funds, or any losses
incurred in connection therewith.
         70.     The Plan of Allocation set forth herein is the plan that is being proposed by Lead Plaintiff and Lead Counsel to the
Court for approval. The Court may approve this plan as proposed or it may modify the Plan of Allocation without further notice to the
Class.     Any Orders regarding a modification of the Plan of Allocation will be posted on the settlement website,
www.WashingtonMutualSecuritiesLitigationSettlement.com.

                                      WHAT RIGHTS AM I GIVING UP BY REMAINING IN THE CLASS?

          71.      If you remain in the Class, you will be bound by any orders issued by the Court. For example, as to each Settlement
that is approved, the Court will enter a judgment (the “Judgment”). The Judgment will dismiss with prejudice the claims against the
applicable Settling Defendants and will provide that, upon the Effective Date of the Settlement, Lead Plaintiff and each of the other
members of the Class on behalf of themselves, their respective heirs, executors, administrators, predecessors, successors and
assigns, shall be deemed by operation of law to have released, waived, discharged and dismissed each and every Settled Claim (as
defined in paragraph 73 below) as against all of the applicable Released Defendant Parties (as defined in paragraph 73 below) and
shall forever be enjoined from prosecuting any or all Settled Claims against any Released Defendant Parties.
         72.       In addition, in the D&O/WMI Settlement (if approved), upon the Effective Date, Lead Plaintiff and all of the other
members of the Class on behalf of themselves, their respective heirs, executors, administrators, predecessors, successors, assigns
and agents, shall be deemed by operation of law to have irrevocably, absolutely and unconditionally, fully, finally and forever released,
waived, discharged and dismissed the Bankruptcy Claims as against WMI. The “Bankruptcy Claims” are certain claims filed in the
Chapter 11 Cases with respect to the claims asserted in this Action. While the Bankruptcy Claims and the other Settled Claims are
being released, the Settlements will not release any claims that individual Class Members might have in the Chapter 11 Cases based
solely upon their status as holders or owners of various WMI debt or equity securities (as described in paragraph 76 below).
          73.   As described in more detail below, the Settled Claims include any claims that (i) were asserted in the Action or that
could have been asserted in this Action relating to the various claims and allegations that were or could have been alleged in the
Amended Complaint and/or (ii) relate to the purchase, acquisition or holding of any of the WMI Class Securities (listed on page one),
5.50% notes due August 24, 2011 offered in WMI’s August 2006 offering or Series K perpetual non-cumulative floating rate preferred
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stock.
         “Settled Claims” means: any and all claims, rights, demands, liabilities, or causes of action of every nature and description
         whatsoever (including, but not limited to, any claims for damages, interest, attorneys’ fees, expert or consulting fees, and any
         other costs, expenses or liabilities whatsoever), to the fullest extent that the law permits their release in this Action (or, with
         respect to the D&O/WMI Settlement, in the Chapter 11 Cases), by or on behalf of Lead Plaintiff or any other Class Members
         against any of the Released Defendant Parties that have been alleged or could have been alleged in the Action (or, with
         respect to the D&O/WMI Settlement, in the Chapter 11 Cases, including without limitation, the Bankruptcy Claims) whether
         based on federal, state, local, statutory or common law or any other law, rule or regulation, whether known claims or Unknown
         Claims, whether class or individual in nature, whether fixed or contingent, accrued or un-accrued, liquidated or unliquidated,
         whether at law or in equity, matured or unmatured, that (i) are based on, relate to or arise out of the allegations, transactions,
         facts, matters, events, disclosures, statements, occurrences, representations, acts or omissions or failures to act that have
         been or could have been alleged in the Action (or, with respect to the D&O/WMI Settlement, in the Chapter 11 Cases with
         respect to the Bankruptcy Claims or otherwise) and/or (ii) relate to or arise out of Lead Plaintiff’s or any other Class Member’s


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   The 5.50% notes due August 24, 2011 offered in WMI’s August 2006 offering (CUSIP 939322AX1) (“5.50% Notes”) and Series K perpetual non-
cumulative preferred stock offered in WMI’s September 2006 offering (CUSIP 939322830) (“Series K Stock”) are not WMI Class Securities, however, if
you are a Class Member and purchased those securities, then, as part of the Settlements, you will also be releasing the Settled Claims with respect to
those securities. If you are not a Class Member, your claims with respect to these securities are not affected.



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          purchase, acquisition or holding of WMI Released Securities during the Class Period insofar as it relates in any way to any
                                                                     13
          other matter covered in this definition of Settled Claims.
          “Unknown Claims” means any Settled Claims which Lead Plaintiff or other Class Members do not know or suspect to exist in
          his, her or its favor at the time of the release of the Released Defendant Parties, and any Released Defendant Parties’ Claims
          which any Released Defendant Party does not know or suspect to exist in his, her, or its favor at the time of the release of
          Lead Plaintiff, Plaintiffs’ Counsel, the other Class Members and their respective attorneys, which, if known by him, her or it,
          might have affected his, her or its decision(s) with respect to the Settlements. With respect to any and all Settled Claims and
          Released Defendant Parties’ Claims, the Settling Parties stipulate and agree that, upon the Effective Date, Lead Plaintiff and
          each of the Settling Defendants shall expressly waive, and each of the other Class Members and each of the other Released
          Defendant Parties shall be deemed to have waived, and by operation of the Judgment shall have expressly waived, any and
          all provisions, rights, and benefits conferred by any law of any state or territory of the United States, or principle of common
          law or foreign law, which is similar, comparable, or equivalent to California Civil Code § 1542, which provides:
                     A general release does not extend to claims which the creditor does not know or suspect to exist in his or her
                     favor at the time of executing the release, which if known by him or her must have materially affected his or
                     her settlement with the debtor.
          Lead Plaintiff and each of the Settling Defendants acknowledge, and each of the other Class Members and each of the other
          Released Defendant Parties shall be deemed by operation of law to have acknowledged, that the foregoing waiver was
          separately bargained for as a key element of the Settlement.
          “Released Defendant Parties” means as to the respective Settlements:
                     The D&O/WMI Settlement: any and all of the Individual Defendants and WMI pursuant to that Settlement and each
                     of their respective Related Parties, i.e., (i) with respect to each Individual Defendant, his or her assigns, attorneys,
                     advisors (other than the Underwriter Defendants), representatives, members of his or her Immediate Family, heirs,
                     executors, estates, administrators, insurers, including, without limitation, the Contributing Insurers and reinsurers, (ii)
                     with respect to WMI, its predecessors, successors, past, present or future parents, subsidiaries, affiliates, and each of
                     their respective past or present officers, directors, agents, partners, principals, members, employees, attorneys,
                     advisors (other than the Underwriter Defendants), auditors and accountants (other than Deloitte), insurers, including,
                     without limitation, the Contributing Insurers, and reinsurers; (iii) with respect to all Individual Defendants and WMI,
                     any firm, trust, corporation, or other entity in which any of them has or had a controlling interest.
                     The Underwriters Settlement: any and all of the Underwriter Defendants, BOA and each of their respective Related
                     Parties, i.e., with respect to each Underwriter Defendant and BOA, its predecessors, successors, past, present or
                     future parents, subsidiaries, affiliates, and each of their respective past or present officers, directors, shareholders,
                     agents, partners, principals, members, employees, attorneys, advisors, auditors and accountants (other than
                     Deloitte), insurers and reinsurers, and any firm, trust, corporation, or other entity in which any of the Underwriter
                     Defendants or BOA has or had a controlling interest.
                     The Deloitte Settlement: Deloitte and each of its Related Parties, i.e., as to Deloitte & Touche LLP, Deloitte LLP,
                     Deloitte Consulting LLP, Deloitte Financial Advisory Services LLP, Deloitte Tax LLP, Deloitte Services LP, all of their
                     and Deloitte & Touche LLP’s respective past, present and future parent companies, subsidiaries, affiliates, divisions,
                     joint venturers, subcontractors, agents, attorneys, insurers, subrogees, co-insurers and reinsurers, and each of their
                     respective past and present officers, directors, employees, members, partners, principals, shareholders and owners.
Notwithstanding the foregoing, as to each individual Settlement, the Related Parties do not include any of the Defendants who are
parties to one of the other Settlements or any person or entity that would be a Related Party of one of
those Other Defendant parties as defined in the applicable Stipulation. Thus, if any of the Settlements is not approved, a person or
entity who or which is a “Settling Defendant” or a “Related Party” pursuant to the terms of that Settlement will not be released.
           74.        The Judgments will also provide that, upon the Effective Date of each Settlement, each of the applicable Settling
Defendants and each of the other applicable Released Defendant Parties, on behalf of themselves, their respective heirs, executors,
administrators, predecessors, successors and assigns, shall be deemed by operation of law to have released, waived, discharged and
dismissed any and all claims, rights, demands, liabilities or causes of action of every nature and description whatsoever (including, but
not limited to, any claims for damages, interest, attorneys’ fees, expert or consulting fees, and any other costs, expenses or liabilities
whatsoever), whether based on federal, state, local, statutory or common law or any other law, rule or regulation, including both known
claims and Unknown Claims, that have been or could have been asserted in the Action or in this or any other forum against Lead
Plaintiff, Plaintiffs’ Counsel, any other Class Member or any of their respective attorneys, which arise out of or relate in any way to the


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   Settled Claims, generally, do not include, release, bar, waive, impair or otherwise impact (i) any claims to enforce the Settlement; (ii) any claims of the
Class or any Class Member against any of the Other Defendants; (iii) the rights of any Class Members to recover moneys from the settlement of the
action styled In re Washington Mutual Inc. ERISA Litig., Lead Case No. 07-cv-1874; (iv) any claims asserted in the actions styled: In re Washington
Mutual, Inc. California Securities Litigation, No. 09-664 (W.D. Wash.), Flaherty & Crumrine Preferred Income Fund Incorporated, et al. v. Killinger, et al.,
No. C09-1756 MJP (W.D. Wash.), Boilermakers National Annuity Trust Fund v. WaMu Mortgage Pass-Through Certificates et al., 09-37 (W.D. Wash.),
and Allstate Bank, et al. v. JPMorgan Chase Bank, NA, et al., Index No. 650398/2011 (N.Y. Supreme); (v) any claim or right to recovery of any Class
Member individually in the Chapter 11 Cases based solely upon his, her or its status as a holder or beneficial owner of a WMI debt or equity security with
respect to their rights to participate in the distribution of funds in the Chapter 11 Cases upon confirmation of a plan of reorganization or otherwise solely
to the extent that such distribution is being made on account of such debt or equity security; or (vi) Lead Plaintiff’s and each other Class Member’s right
to participate in the distribution of any funds recovered from any of the Defendants by any governmental or regulatory agency.


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institution, prosecution, or settlement of the Action (except for claims to enforce the Settlements), and shall forever be enjoined from
prosecuting any such claims against Lead Plaintiff, Plaintiffs’ Counsel, every other Class Member and each of their respective
attorneys.
          75.      In addition, each of the Judgments will provide for a “Bar Order” that will bar certain claims for contribution or other
related claims by or against the Settling Defendants or the other Released Defendant Parties. The specific terms of the Bar Orders that
will be sought are set forth in the respective Stipulations. Each Judgment will further provide that if the Class or any Class Member
later obtains a judgment against a person subject to the Bar Order, such judgment shall be reduced by the greater of an amount that
corresponds to the percentage of responsibility of the Settling Defendants for common damages or the amount paid by or on behalf of
the Settling Defendants to the Class or Class Member for common damages.

         WILL THE SETTLEMENTS AFFECT ANY INDIVIDUAL CLAIM THAT I MIGHT HAVE IN THE CHAPTER 11 CASES?

         76.        The Settlements will affect only the Settled Claims, including the Bankruptcy Claims filed in the Chapter 11 Cases.
The Settlements shall not in any way release, impair or otherwise impact any claim or right to recovery of any Class Member
individually in the Chapter 11 Cases based solely upon his, her or its status as a holder or beneficial
owner of a WMI debt or equity security with respect to their rights to participate in the distribution of funds in the Chapter 11 Cases upon
confirmation of a plan of reorganization or otherwise solely to the extent that such distribution is being made on account of such debt or
equity security in addition to any recovery that they may be entitled to receive under these Settlements.

            WHAT PAYMENT ARE THE ATTORNEYS FOR THE CLASS SEEKING? HOW WILL THE LAWYERS BE PAID?

         77.      Plaintiffs’ Counsel have not received any payment for their services in pursuing claims against the Settling
Defendants on behalf of the Class, nor have they been reimbursed for their out-of-pocket expenses. Before final approval of the
Settlements, Lead Counsel will apply to the Court for an award of attorneys’ fees on behalf of all Plaintiffs’ Counsel in the amount of
22.5% of each of the Settlement Funds. At the same time, Lead Counsel also intend to apply for reimbursement of Litigation Expenses
to be paid proportionately from the Settlement Funds in an amount not to exceed $5.8 million (which may include an application for
reimbursement of the reasonable costs and expenses incurred by Plaintiffs directly related to their representation of the Class). Should
the Court approve less than all the Settlements, attorneys’ fees will be paid only with respect to the Settlements that are approved and
the Litigation Expenses approved by the Court will be paid proportionately from the Settlement Funds created by the approved
Settlements.

                            HOW DO I PARTICIPATE IN THE SETTLEMENTS? WHAT DO I NEED TO DO?

         78.      To be eligible for a payment from the proceeds of the Settlements, you must be a member of the Class and you must
timely complete and return the Claim Form with adequate supporting documentation postmarked no later than December 8, 2011. A
Claim Form is included with this Notice, or you may obtain one from the website maintained by the Claims Administrator for the
Settlements, www.WashingtonMutualSecuritiesLitigationSettlement.com, or from Lead Counsel’s website, www.blbglaw.com, or you
may request that a Claim Form be mailed to you by calling the Claims Administrator toll free at 1-888-588-3788. If you request
exclusion from the Class or do not submit a timely and valid Claim Form, you will not be eligible to share in any of the Net Settlement
Funds. Please retain all records of your ownership of and transactions in WMI Class Securities, as they may be needed to document
your Claim.
          79.      As a Class Member you are represented by Lead Plaintiff and Lead Counsel, unless you enter an appearance
through counsel of your own choice at your own expense. You are not required to retain your own counsel, but if you choose to do so,
such counsel must file a notice of appearance on your behalf and must serve copies of his or her appearance on the attorneys listed in
the section entitled, “When and Where Will the Court Decide Whether to Approve the Settlements?,” below.
         80.       If you are a Class Member and do not wish to remain a Class Member, you may exclude yourself from the Class by
following the instructions in the section entitled, “What If I Do Not Want to Participate in the Settlements? How Do I Exclude Myself?,”
below.
        81.      If you are a Class Member and you wish to object to any of the Settlements, to the Plan of Allocation, or to Lead
Counsel’s application for attorneys’ fees and reimbursement of Litigation Expenses, and if you do not exclude yourself from the Class,
you may present your objections by following the instructions in the section entitled, “When and Where Will the Court Decide Whether
to Approve the Settlements?,” below.

               WHAT IF I DO NOT WANT TO PARTICIPATE IN THE SETTLEMENTS? HOW DO I EXCLUDE MYSELF?

          82.      Each Class Member will be bound by all determinations and judgments in this lawsuit, whether favorable or
unfavorable, unless such person or entity mails or delivers a written Request for Exclusion from the Class, addressed to In re
Washington Mutual, Inc. Securities Litigation, EXCLUSIONS, c/o The Garden City Group, Inc., P.O. Box 91310, Seattle, WA 98111-
9410. The exclusion request must be received no later than October 10, 2011. You will not be able to exclude yourself from the Class
after that date. Each Request for Exclusion must (a) state the name, address and telephone number of the person or entity requesting
exclusion; (b) state that such person or entity “requests exclusion from the Class in In re Washington Mutual, Inc. Securities Litigation,
No. 2:08-md-1919 MJP, Lead Case No. C08-387 MJP”; (c) state the number of each WMI Class Security (in terms of shares, notes or
units) that the person or entity requesting exclusion purchased and/or sold during the Class Period, as well as the dates and prices of
each such purchase and sale; (d) state whether the person or entity requesting exclusion sold or disposed of any: WMI common stock
between July 23, 2008 and October 20, 2008, inclusive; units of Capital Trust Unit Preferred between July 23, 2008 and October 21,
2008, inclusive; and/or Floating Rate Notes, 7.250% Notes or Series R Preferred Stock on or after July 23, 2008, and if so, state the

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number of shares, units or notes sold, the date(s) of such sale(s) and the amount of money received for each such sale; and (e) be
signed by such person or entity requesting exclusion or an authorized representative. A Request for Exclusion shall not be effective
unless it provides all the information called for in this paragraph and is received within the time stated above, or is otherwise accepted
by the Court.
          83.       If you do not want to be part of the Class, you must follow these instructions for exclusion even if you have pending,
or later file, another lawsuit, arbitration, or other proceeding relating to any Settled Claim against any of the Released Defendant
Parties.
        84.      If you ask to be excluded from the Class, you will not be eligible to receive any payment out of any of the Net
Settlement Funds, or any other benefit provided for in the Stipulations.
           85.     The Settling Defendants have the right to terminate their respective Settlements if valid requests for exclusion are
received from persons and entities entitled to be members of the Class in an amount that exceeds an amount agreed to by Lead
Plaintiff and the applicable Settling Defendants.

         WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE SETTLEMENTS? DO I HAVE TO
             COME TO THE HEARING? MAY I SPEAK AT THE HEARING IF I DON’T LIKE THE SETTLEMENTS?

        86.     Class Members do not need to attend the Settlement Hearing. The Court will consider any submission made
in accordance with the provisions below even if the Class Member does not attend the hearing. You can participate in the
Settlements without attending the Settlement Hearing.
         87.     The Settlement Hearing will be held on November 4, 2011 at 9:00 a.m. before the Honorable Marsha J. Pechman, at
the United States District Court for the Western District of Washington, United States Courthouse, 700 Stewart Street, Seattle, WA
98101. The Court reserves the right to approve the Settlements at or after the Settlement Hearing without further notice to the
members of the Class.
          88.      Any Class Member who does not request exclusion may object to one or more of the Settlements, the proposed Plan
of Allocation or Lead Counsel’s request for an award of attorneys’ fees and reimbursement of Litigation Expenses. Objections must be
in writing. You must file any written objection, together with copies of all other papers and briefs supporting the objection, with the
Clerk’s Office at the United States District Court for the Western District of Washington at the address set forth below on or before
October 10, 2011. You must also serve the papers on Lead Counsel for the Class and on counsel for the relevant Settling Defendants
at the addresses set forth below for their respective counsel so that the papers are received on or before October 10, 2011.

                             Clerk’s Office                                       Lead Counsel for the Class
                   United States District Court for the                              Hannah G. Ross, Esq.
                    Western District of Washington                                  Bernstein Litowitz Berger
                           Clerk of the Court                                         & Grossmann LLP
                       United States Courthouse                                   1285 Avenue of the Americas
                          700 Stewart Street                                         New York, NY 10019
                          Seattle, WA 98101

        Representative Counsel for the                        Counsel for the                               Counsel for
            Individual Defendants                          Underwriter Defendants                      Deloitte & Touche LLP
           Ronald L. Berenstain, Esq.                       Jonathan C. Dickey, Esq.                     Peter A. Wald, Esq.
               Perkins Coie LLP                           Gibson, Dunn & Crutcher LLP                  Latham & Watkins LLP
              1201 Third Avenue                                200 Park Avenue                         505 Montgomery Street
                   Suite 4800                                 New York, NY 10166                      San Francisco, CA 94111
            Seattle, WA 98101-3099

          89.      Any objection to any of the Settlements (a) must contain a statement of the Class Member’s objection or objections,
and the specific reasons for each objection, including any legal and evidentiary support the Class Member wishes to bring to the Court’s
attention; and (b) must include documents sufficient to prove the number (in terms of shares, notes or units) of each WMI Class
Security that the objecting Class Member purchased and sold during the Class Period, as well as the dates and prices of each such
purchase and/or sale, and with respect to WMI common stock sold between July 23, 2008 and October 20, 2008 inclusive, Capital
Trust Unit Preferred sold between July 23, 2008 and October 21, 2008 inclusive, and Floating Rate Notes, 7.250% Notes or Series R
Preferred Stock sold on or after July 23, 2008, state the number of shares, units or notes sold, the date(s) of such sale(s) and the
amount of money received for each such sale. You may not object to any of the Settlements, the Plan of Allocation or the motion for
attorneys’ fees and reimbursement of expenses if you excluded yourself from the Class or if you are not a member of the Class.
        90.      You may file a written objection without having to appear at the Settlement Hearing. You may not, however, appear
at the Settlement Hearing to present your objection unless you first filed and served a written objection in accordance with the
procedures described above, unless the Court orders otherwise.
         91.       If you wish to be heard orally at the hearing in opposition to the approval of any of the Settlements, the Plan of
Allocation or Lead Counsel’s request for an award of attorneys’ fees and reimbursement of expenses, and if you file and serve a timely
written objection as described above, you must also file a notice of appearance with the Clerk’s Office and serve it on Lead Counsel
and counsel for the Settling Defendants at the addresses set forth above so that it is received on or before October 15, 2011. Persons



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who intend to object and desire to present evidence at the Settlement Hearing must include in their written objection or notice of
appearance the identity of any witnesses they may call to testify and exhibits they intend to introduce into evidence at the hearing.
          92.       You are not required to hire an attorney to represent you in making written objections or in appearing at the
Settlement Hearing. If you decide to hire an attorney, which will be at your own expense, however, he or she must file a notice of
appearance with the Court and serve it on Lead Counsel and Counsel for the Settling Defendants at the addresses set forth above so
that the notice is received on or before October 15, 2011.

         93.      The Settlement Hearing may be adjourned by the Court without further written notice to the Class. If you intend to
attend the Settlement Hearing, you should confirm the date and time with Lead Counsel.
Unless the Court orders otherwise, any Class Member who does not object in the manner described above will be deemed to
have waived any objection and shall be forever foreclosed from making any objection to the proposed Settlements, the
proposed Plan of Allocation or Lead Counsel’s request for an award of attorneys’ fees and reimbursement of expenses.
Class Members do not need to appear at the Settlement Hearing or take any other action to indicate their approval.

                         WHAT IF I BOUGHT SHARES, NOTES OR UNITS ON SOMEONE ELSE’S BEHALF?

          94.       If you purchased or otherwise acquired any of the WMI Class Securities (listed on page 1 of this Notice) during the
Class Period for the beneficial interest of persons or organizations other than yourself, you must either (a) send a copy of this Notice
and the enclosed Claim Form to the beneficial owners of such securities, postmarked no later than fourteen (14) days after you receive
this Notice, or (b) provide the names and addresses of such persons or entities no later than fourteen (14) days after you receive this
Notice to In re Washington Mutual, Inc. Securities Litigation, c/o The Garden City Group, Inc., P.O. Box 91310, Seattle, WA 98111-
9410. If you choose the second option, the Claims Administrator will send a copy of the Notice and the Claim Form to the beneficial
owners. Upon full compliance with these directions, such nominees may seek reimbursement of their reasonable expenses actually
incurred, by providing the Claims Administrator with proper documentation supporting the expenses for which reimbursement is sought.
Copies of this Notice and the Claim Form can be obtained from the website maintained by the Claims
Administrator, www.WashingtonMutualSecuritiesLitigationSettlement.com, by calling the Claims Administrator toll-free at
1-888-588-3788, or from Lead Counsel’s website, www.blbglaw.com.

                         CAN I SEE THE COURT FILE? WHOM SHOULD I CONTACT IF I HAVE QUESTONS?

        95.      This Notice contains only a summary of the terms of the proposed Settlements. For more detailed information about
the matters involved in this Action, you are referred to the papers on file in the Action, including the Stipulations, which may
be inspected during regular office hours at the Office of the Clerk, United States District Court, Western District of Washington,
United States Courthouse, 700 Stewart Street, Seattle, WA 98101. Additionally, copies of the Stipulations and any related
orders entered by the Court will be posted on the website maintained by the Claims Administrator,
www.WashingtonMutualSecuritiesLitigationSettlement.com. All inquiries concerning this Notice should be directed to:

         In re Washington Mutual, Inc. Securities Litigation                                       Hannah G. Ross, Esq.
                 c/o The Garden City Group, Inc.                                              BERNSTEIN LITOWITZ BERGER
                         P.O. Box 91310                                   and/or                   & GROSSMANN LLP
                     Seattle, WA 98111-9410                                                     1285 Avenue of the Americas
                         (888) 588-3788                                                            New York, NY 10019
      www.WashingtonMutualSecuritiesLitigationSettlement.com                                          (800) 380-8496
                                                                                                    blbg@blbglaw.com


                    DO NOT CALL OR WRITE THE COURT OR THE OFFICE OF THE CLERK OF THE COURT
                                            REGARDING THIS NOTICE.

Dated: August 10, 2011                                                             By Order of the Clerk of the Court
                                                                                   United States District Court
                                                                                   Western District of Washington




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                       TABLE A – WMI Securities Inflation per share by Period

                                                                   Inflation Per Share

                                                              Common           Capital
                                 Period
                                                               Stock          Trust Unit
            October 19, 2005 to October 17, 2007                  $5.80          $5.06
            October 18, 2007 to November 1, 2007                  $4.87          $4.15
            November 2, 2007 to November 6, 2007                  $4.54          $4.06
            November 7, 2007 to December 10, 2007                 $2.83          $3.22
            December 11, 2007 to December 20, 2007                $2.38          $3.74
            December 21, 2007 to March 6, 2008                    $1.57          $1.71
            March 7, 2008 to July 22, 2008                        $0.97          $0.79
            July 23, 2008 Onwards                                 $0.00          $0.00


                     TABLE B – Common Stock Average 90 Day Lookback Price

                                 Average                                                     Average
  Date       Closing Price                                 Date           Closing Price
                               Closing Price                                               Closing Price
7/23/2008         $4.64             $4.64                9/8/2008            $4.12            $4.34
7/24/2008         $4.02             $4.33                9/9/2008            $3.30            $4.31
7/25/2008         $3.83             $4.16                9/10/2008           $2.32            $4.25
7/28/2008         $3.94             $4.11                9/11/2008           $2.83            $4.21
7/29/2008         $4.43             $4.17                9/12/2008           $2.73            $4.17
7/30/2008         $4.74             $4.27                9/15/2008           $2.00            $4.11
7/31/2008         $5.33             $4.42                9/16/2008           $2.32            $4.07
8/1/2008          $5.32             $4.53                9/17/2008           $2.01            $4.02
8/4/2008          $4.87             $4.57                9/18/2008           $2.99            $3.99
8/5/2008          $5.22             $4.63                9/19/2008           $4.25            $4.00
8/6/2008          $5.30             $4.69                9/22/2008           $3.33            $3.98
8/7/2008          $4.97             $4.72                9/23/2008           $3.20            $3.96
8/8/2008          $4.58             $4.71                9/24/2008           $2.26            $3.93
8/11/2008         $4.74             $4.71                9/25/2008           $1.69            $3.88
8/12/2008         $4.30             $4.68                9/26/2008           $0.16            $3.80
8/13/2008         $4.12             $4.65                9/29/2008           $0.03            $3.72
8/14/2008         $4.36             $4.63                9/30/2008           $0.08            $3.65
8/15/2008         $4.55             $4.63                10/1/2008           $0.14            $3.58
8/18/2008         $4.21             $4.60                10/2/2008           $0.12            $3.51
8/19/2008         $4.10             $4.58                10/3/2008           $0.16            $3.44
8/20/2008         $4.10             $4.56                10/6/2008           $0.14            $3.38
8/21/2008         $3.90             $4.53                10/7/2008           $0.11            $3.32
8/22/2008         $3.83             $4.50                10/8/2008           $0.11            $3.26
8/25/2008         $3.60             $4.46                10/9/2008           $0.09            $3.20
8/26/2008         $3.59             $4.42               10/10/2008           $0.08            $3.15
8/27/2008         $3.53             $4.39               10/13/2008           $0.09            $3.10
8/28/2008         $3.87             $4.37               10/14/2008           $0.10            $3.05
8/29/2008         $4.05             $4.36               10/15/2008           $0.10            $3.00
9/2/2008          $4.24             $4.35               10/16/2008           $0.10            $2.95
9/3/2008          $4.40             $4.36               10/17/2008           $0.09            $2.90
9/4/2008          $4.04             $4.35               10/20/2008           $0.08            $2.86
9/5/2008          $4.27             $4.34


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             TABLE C – Capital Trust Unit Preferred Average 90 Day Lookback Price

                              Average                                                 Average
  Date      Closing Price                               Date        Closing Price
                            Closing Price                                           Closing Price
7/24/2008      $18.25          $18.25                  9/9/2008         $16.00         $19.36
7/25/2008      $18.00          $18.13                 9/10/2008         $13.00         $19.17
7/28/2008      $19.00          $18.42                 9/11/2008         $14.00         $19.03
7/29/2008      $19.00          $18.56                 9/12/2008         $16.75         $18.96
7/30/2008      $20.32          $18.91                 9/15/2008         $13.00         $18.80
7/31/2008      $23.50          $19.68                 9/16/2008         $10.25         $18.58
8/1/2008       $21.50          $19.94                 9/17/2008         $10.50         $18.37
8/4/2008       $22.00          $20.20                 9/18/2008         $15.00         $18.29
8/5/2008       $21.20          $20.31                 9/19/2008         $18.00         $18.28
8/6/2008       $21.50          $20.43                 9/22/2008         $16.50         $18.24
8/7/2008       $20.93          $20.47                 9/23/2008         $13.40         $18.12
8/8/2008       $21.85          $20.59                 9/24/2008         $11.05         $17.96
8/11/2008      $20.72          $20.60                 9/25/2008         $6.00          $17.70
8/12/2008      $20.62          $20.60                 9/26/2008         $0.02          $17.31
8/13/2008      $19.38          $20.52                 9/29/2008         $0.70          $16.96
8/14/2008      $19.38          $20.45                 9/30/2008         $0.40          $16.61
8/15/2008      $20.50          $20.45                 10/1/2008         $1.05          $16.30
8/18/2008      $19.85          $20.42                 10/2/2008         $1.10          $15.99
8/19/2008      $19.00          $20.34                 10/3/2008         $1.75          $15.71
8/20/2008      $18.50          $20.25                 10/6/2008         $2.01          $15.45
8/21/2008      $18.10          $20.15                 10/7/2008         $1.95          $15.20
8/22/2008      $18.30          $20.06                 10/8/2008         $1.90          $14.95
8/25/2008      $18.20          $19.98                 10/9/2008         $1.80          $14.71
8/26/2008      $18.00          $19.90                 10/10/2008        $1.75          $14.48
8/27/2008      $17.50          $19.80                 10/13/2008        $1.66          $14.25
8/28/2008      $17.90          $19.73                 10/14/2008        $1.80          $14.04
8/29/2008      $18.60          $19.69                 10/15/2008        $1.50          $13.83
9/2/2008       $18.50          $19.65                 10/16/2008        $1.50          $13.62
9/3/2008       $18.70          $19.61                 10/17/2008        $1.60          $13.42
9/4/2008       $18.40          $19.57                 10/20/2008        $1.60          $13.23
9/5/2008       $17.75          $19.51                 10/21/2008        $1.10          $13.04
9/8/2008       $18.00          $19.47




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